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                                       UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF NEW YORK

Scott Powers, individually, as Representative of the                                   Case No.:
Estate of Erika Zak, and as the natural guardian of                                    1:20-cv-02625 (LGS)
L.P., a minor,

                            Plaintiff,
       vs.
Constantinos Sofocleous and Memorial Sloan
Kettering Cancer Center,

                                            Defendants.

                                PROPOSED JOINT FINAL PRETRIAL ORDER

           In accordance with §IV(B)(2) of Your Honor’s Individual Rules, the parties respectfully

submit the following Proposed Joint Final Pretrial Order in the above matter:


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(a) Full caption of the action

Scott Powers, individually, as Representative of the                               Case No.:
Estate of Erika Zak, and as the natural guardian of                                1:20-cv-02625 (LGS)
L.P., a minor,

                                          Plaintiff,
          vs.

Constantinos Sofocleous and Memorial Sloan
Kettering Cancer Center,

                                          Defendants.

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(c) Basis for subject matter jurisdiction

Plaintiff Scott Powers is a resident of Oregon. Defendant Constantinos Sofocleous is a resident of
New York and is licensed to practice medicine in New York. Defendant Memorial Sloan Kettering
Cancer Center is a New York corporation with its principal place of business in New York.

This Court has diversity subject matter jurisdiction over this lawsuit under 28 U.S.C. § 1332(a)(1)
because Plaintiff is a citizen of Oregon, Defendants are citizens of New York, and the amount in
controversy exceeds $75,000.

(d) (1)A brief summary of the claims and defenses that remain to be tried

Plaintiff’s Summary of Claims:

A. Medical Malpractice
   1. Dr. Constantinos Sofocleous committed medical malpractice by failing to use his best
      judgment when he proceeded with the ablation procedure.

   2. Dr. Constantinos Sofocleous committed medical malpractice by failing to use ordinary
      and reasonable care, diligence, or skill in the performance of the ablation.


B. Lack of Informed Consent
       1. Dr. Constantinos Sofocleous failed to obtain Erika Zak’s informed consent before
       proceeding with the ablation procedure on April 10, 2017. See N.Y. Pub. Health Law §
       2805-d.
C. Wrongful Death
       1. The wrongful acts of Defendants caused Erika Zak’s death, and therefore her
       distributes suffered pecuniary loss.
D. Plaintiff’s Derivative Action
       1. Plaintiff suffered the loss of support and society, and economic loss as the result of the
       injuries Defendants caused Erika Zak.
Defendants’ Summary of Claims and Defenses:


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A. Medical Malpractice: Dr. Sofocleous departed from the standard of care in his performance
   of the ablation on April 10, 2017.
           a. Defense: Dr. Sofocleous’ performance of the ablation was in accordance with the
               standards of care.

B. Lack of Informed Consent: Dr. Sofocleous did not obtain Ms. Zak’s informed consent on
   March 22, 2017 for the April 10, 2017 ablation. See N.Y. PHL §2805-d.
          a. Defenses: Dr. Sofocleous properly obtained informed consent from Ms. Zak, and
              even if not, Ms. Zak would have proceeded with the ablation anyway.

C. Wrongful Death: Dr. Sofocleous’ departure from the standard of care in his performance of
   the ablation on April 10, 2017 resulted in Ms. Zak’s death.
           a. Defense: Dr. Sofocleous’ performance of the ablation was in accordance with the
               standards of care, and there is no causal nexus between the ablation and Ms. Zak’s
               death.

(d) (2) A brief summary of defenses previously asserted that are not to be tried
Defendants agreed to withdraw the below six affirmative defenses with prejudice, and they were
dismissed with prejudice. Dkt No. 201:
   A. Defendants’ Second Affirmative Defense: “That the plaintiff lacks legal capacity to bring
      one or more of the causes of action set forth in Plaintiff’s Complaint.”

   B. Defendants’ Third Affirmative Defense: “That the cause(s) of action herein may not be
      maintained because it is barred by the applicable Statute of Limitations prescribed by the
      CPLR and the laws of the State of New York.”

   C. Defendants’ Eighth Affirmative Defense: “If upon trial, it may appear that some or all of
      the damages claimed by plaintiff herein were brought about or contributed to by reason of
      plaintiff/plaintiff-decedent’s own acts, actions or negligence; and if so, plaintiff’s
      damages, if any must be diminished accordingly.”

   D. Defendants’ Ninth Affirmative Defense: “Plaintiff/plaintiff-decedent failed to mitigate,
      obviate, diminish or otherwise act to lessen or reduce the injuries, damages and
      disabilities as alleged in Plaintiff’s Complaint.”

   E. Defendants’ Tenth Affirmative Defense: “That the plaintiff lacks standing to commence
      this action.”

   F. Defendants’ Eleventh Affirmative Defense: “Plaintiff’s claim for lack of informed
      consent is barred by reason of the applicable provisions of Section 2805(d) of the Public
      Health Law.”




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(e) Number of trial days needed with jury

Plaintiff:

Plaintiff respectfully requests a jury trial. Plaintiff anticipates that his case in chief will take 6 full
days of trial or 30 hours based on the Court’s representation that each trial day is 5 hours. This
estimate applies to Plaintiff’s case in chief and does not include time utilized by Defendants.
Defendant:
Defendants anticipate their case taking 5-7 days depending on what information Plaintiff brings
out and whether covered in Defendants’ cross-examination.

(f) Whether all parties have consented to trial by a magistrate judge

The parties have not consented to trial by a magistrate judge.

(g) A list of trial witnesses each party genuinely intends to call in its case in chief, and a
separate list “identifying those whom the party may call if the need arises” (Fed. R. Civ. P.
26(a)(3)), including a short description and estimate of the length of each witness’s testimony;

Plaintiff’s List of Trial Witnesses:
Witnesses Plaintiff expects to call in his case in chief:

    1. Dr. Constantinos Sofocleous (by prior deposition testimony offered in this case as the party
       opponent)
Dr. Sofocleous will testify to his training, background, and experience as an interventional
radiologist and interventional oncologist; his peer-reviewed publications, speaking presentations,
and other recorded statements regarding interventional radiology, including procedures performed;
and his treatment of Erika Zak in this case.
Dr. Sofocleous’s testimony is expected to last 1 to 2 hours in Plaintiff’s case in chief, not including
time for Defendants’ counter-designations.
    2. Dr. Nancy Kemeny (by prior deposition testimony offered in this case as an employee
       representative of party opponent Memorial Sloan Kettering)
Dr. Kemeny will testify to her training, background, and experience as an oncologist; practice
treating patients with cancer in the liver; and her treatment of Erika Zak.
Dr. Kemeny’s testimony is expected to last 1 to 2 hours in Plaintiff’s case in chief, not including
time for Defendants’ counter-designations.
    3. Scott Powers
Scott Powers is the Plaintiff on behalf of the Estate of his late wife, Erika Zak; of his and Erika
Zak’s minor biological daughter, L.P.; and of himself. Plaintiff intends to testify to all aspects of
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his life together with Erika, including the birth of their daughter, Erika’s cancer diagnosis and
treatment, the subject ablation procedure, and Erika’s subsequent spiral into liver failure
necessitating transplant. He will also testify to Erika Zak’s career and talent as a textile and
clothing designer and artist, the financial dynamics of their family, and the guidance Erika
provided their daughter. Scott Powers is expected to testify regarding his own damages, including
his expenses and loss of consortium, Erika’s physical and emotional damages that he observed
over time as a result of her physical deterioration and emotional and mental anguish and depression
as a result of the damage inflicted by the Defendants’ ablation procedure, and the effect of the
harm and damages that the loss of her mother has had on his minor child L.P based on what he has
observed since April 10, 2017 to the date of his testimony.
Scott Power’s testimony is expected to last 1 hour in Plaintiff’s case in chief, not including time
for Defendants’ cross.
   4. Kathy Zak
Plaintiff expects Kathy Zak to testify to her daughter, Erika Zak’s, cancer treatment and care that
she received at Memorial Sloan Kettering. Kathy Zak accompanied Erika to medical appointments
and has first-hand accounts of Erika’s interactions with the Memorial Sloan Kettering’s physicians.
Kathy Zak may also testify as to the family dynamic and Erika’s condition before and after the
subject ablation.
Kathy Zak’s testimony is expected to take 15 minutes in Plaintiff’s case in chief, not including
time for Defendants’ cross.
   5. Chloe Metz
Chloe Metz accompanied Erika Zak to the subject procedure’s consent meeting. Plaintiff expects
her to testify regarding that meeting and the effect that the alation procedure had on Erika socially
and physically.
Chloe Metz’s testimony is expected to take 30 minutes in Plaintiff’s case in chief, not including
time for Defendants’ cross.
   6. Dr. Ronald DeMatteo
Dr. Ronald DeMatteo was Erika Zak’s treating surgical oncologist at Memorial Sloan Kettering
and Plaintiff intends to call him as an expert in this case as well as a treating physician. Plaintiff
expects him to testify that the decision to proceed with the ablation violated the medical standard
of care because it constituted such poor judgment, that a reasonable physician would have
discussed and suggested several viable alternatives including the NanoKnife or radioembolization
instead of microwave ablation, and the benefit that consulting other physicians, including himself,
before proceeding with the ablation would have had for Erika Zak.
Plaintiff expects Dr. DeMatteo’s testimony to last 3–5 hours in Plaintiff’s case in chief, not
including time for Defendants’ cross.


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   7. Dr. Charles Lopez (via prior testimony given in this case)
Dr. Charles Lopez was Erika Zak’s treating oncologist at Oregon Health Science University in
Portland. He participated in her care during and after the time the defendants treated her. Plaintiffs
intend to call him as treating physician to testify about his treatment of Erika and response to such
treatment, as well as the basis for such treatment and the availability of such treatment, including
immunotherapy, during the time the defendants were Erika Zak’s primary cancer care treating
physicians. Plaintiff also expects Dr. Lopez to testify whether any of the defendants or physicians
in their employ consulted him about Erika’s course of treatment and about his evaluation of Erika
for the treatment he prescribed after she transferred her care to doctors at Oregon Health Science
University, including Dr. Lopez.
Plaintiff expects Dr. Lopez’s testimony to last 1 hour in Plaintiff’s case in chief, not including time
for Defendants’ cross.
   8. Dr. Rakesh Navuluri
Dr. Rakesh Navuluri is an expert in interventional radiology and a practicing physician at the
University of Chicago. Plaintiffs expect him to testify in this case that the decision to proceed with
a microwave ablation given the specific circumstances of Erika’s case violated the medical
standard of care and the performance of the ablation procedure violated the medical standard of
care. Plaintiff expects Dr. Navuluri to also testify that the defendants should have presented a case
as complex as Erika Zak’s case to a multidisciplinary tumor board before deciding to proceed with
a microwave ablation. Plaintiffs expect him to testify that several viable alternatives existed to
microwave ablation that defendants should have discussed with Erika Zak because they would
have provided effective disease control and would not have posed the risks to Erika Zak associated
with thermal ablation. Plaintiff also expects Dr. Navuluri will testify that defendants should have
consulted a radiation oncologist about external beam radiation as a possible treatment alternative
for Erika Zak. He will also testify about why discussion of all the specific risks posed by a
microwave ablation procedure with Erika including the specific risks of irreparable damage to the
critical structures of her liver and the consequences of such damage was a necessary part of the
informed consent process. Plaintiff also expects Dr. Navuluri to testify about medical anatomy,
physiology, and the function of internal organs and associated structures, including the liver,
insofar as it is relevant to Erika’s case. Plaintiff also expects Dr. Navuluri to explain the various
procedures available to interventional radiologists to address cancer tumors of the liver, and to
generally educate the Court and the Jury about radio-frequency ablation, microwave ablation, and
other treatment modalities available to interventional radiologist treating patients such as Erika
Zak, and to assist the Court and the Jury to understand the medical vernacular that the evidence
will include in this case.
Plaintiff expects Dr. Navuluri’ s testimony is expected to last 5–7 hours in Plaintiff’s case in chief,
not including time for Defendants’ cross.




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    9. Dr. Skye Mayo (via prior testimony given in this case)
Dr. Skye Mayo is a surgical oncologist at Oregon Health Science University was one of Erika
Zak’s treating physician was Erika Zak’s treating oncologist at Oregon Health Science University
in Portland. He participated in her care during and after the time the defendants treated her.
Plaintiffs intend to call him as treating physician to testify by his prior deposition about his care of
Erika and what he observed regarding her physical, emotional, and psychological response to such
treatment, as well as the basis for such treatment. Plaintiff also expects Dr. Mayo to testify about
his personal remarks about Erika’s cancer treatment journey that he witnessed and the prospect for
her survival of her cancer, and the specific damage to her liver sustained during the ablation that
required her to seek a liver transplant as her only remaining option to survive. Dr. Mayo will also
testify about the extent to which any of the defendants or physicians in their employ consulted him
for his opinion and input about Erika’s course of treatment.
Plaintiff expects Dr. Mayo’s testimony to last 30 minutes in Plaintiff’s case in chief, not including
time for Defendants’ cross.
    10. Dr. Fergus Coakley*
Dr. Fergus Coakley is an expert diagnostic radiologist and the Chair of the Department of
Radiology at Oregon Health Science University. Plaintiff expects Dr. Coakley to testify to that the
lesion was only 4 mm away from the critical structures in Erka’s liver. Plaintiff retained Dr.
Coakley after defendants first disclosed their defense that the central lesion was a full 12 mm away
from the critical structures in Erika Zak’s liver. Plaintiff further expects Dr. Coakley to testify
about Erika’s pre and post ablation radiological films demonstrate the extent of the damage the
ablation caused to Erka’s liver and the critical structures of the liver, why this damage led to her
liver failure. Plaintiff also expect Dr. Coakley to testify on the radiological appearances of the
catastrophic complications that followed the damaging ablation procedure, and how these injuries
lead to Erika’s liver failure and ultimate demise.
Plaintiff expects Dr. Coakley’s testimony to last 2 hours in Plaintiff’s case in chief, not including
time for Defendants’ cross.
*Defendants object to Dr. Coakley’s testimony as cumulative to Dr. DeMatteo and Dr. Navuluri.
    11. Dr. Manan Shah
Dr. Manan Shah is a gastroenterologist and hepatologist. Plaintiff expects Dr. Shah to testify that
Erika’s pre and post lab test measurements of her liver function contradict the defendants’ theories
for Erika’s liver failure, including that Erika Zak was progressing into liver failure before the
ablation procedure and that Erika’s eventual clinical course was caused by her hepatic arterial
infusion pump.
Plaintiff expects Dr. Shah’s testimony is expected to last 3 to 5 hours in Plaintiff’s case in chief,
not including time for Defendants’ cross.



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   12. Julia Ziegler-Haynes*
Julia Ziegler Haynes was a close friend of Erika Zak’s since college and accompanied her to
medical appointments at Memorial Sloan Kettering, including appointments in the months leading
up to the ablation procedure. Plaintiff expects Julia to testify about what she witnessed defendants’
physicians tell Erika about her condition leading up to the subject procedure and what she
witnessed regarding the defendants’ consultations with Erika regarding her treatment. Plaintiff also
expects she will testify to what she observed in Erika Zak’s physical abilities and mental outlook
regarding her cancer prior to the ablation and how she witnessed that Erka’s physical condition
mental outlook changed after the ablation procedure.
Plaintiff expects Julia’s testimony to last 15 minutes in Plaintiff’s case in chief, not including time
for Defendants’ cross.
*Defendants object to Ms. Ziegler-Haynes as cumulative damages testimony.
   13. Ariel Dunitz-Johnson*
Ariel Dunitz-Johnson was friends with Erika Zak since high school. Plaintiff expects her to testify
to the impact the ablation procedure had on Erika herself, specifically how her injury inspired her
to advocate for others.
Plaintiff expects Ariel’s testimony to last 15 minutes in Plaintiff’s case in chief, not including time
for Defendants’ cross.
*Defendants object to Ms. Dunitz-Johnson as cumulative damages testimony.
   14. Claire Cain Miller*
Claire Cain Miller and Erika Zak were friends since they were 14-years-old. Plaintiff expects
Claire to testify about what she witnessed regarding the physical and emotional toll that Erika’s
injuries caused her, Erika’s aspirations for her life and family, and her final wishes once she
believed her death was imminent.
Plaintiff expects Claire’s testimony to last 15 minutes in Plaintiff’s case in chief, not including
time for Defendants’ cross.
*Defendants object to Ms. Cain Miller as cumulative damages testimony.
   15. Mickael Romaine*
Mickael Romaine was friends with Erika Zak since 2004 and had children six months apart.
Plaintiff expects Mickael to testify about Erika’s life before the subject procedure, including
Erika’s experience as an artist and mother.
Mickael’s testimony is expected to last 15 minutes in Plaintiff’s case in chief, not including time
for Defendants’ cross.

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*Defendants object to Ms. Romaine as cumulative damages testimony.
   16. Doug Ulman*
Doug Ulman is a close friend of Plaintiff Scott Powers from college and a cancer survivor. He
was in close contact with Scott after the April 2017 ablation and is personally familiar with Scott
and Erika’s extraordinary efforts to seek a liver transplant to save her life. Plaintiff expects him to
testify about how the stress from the irreparable damage the ablation caused Erika affected her and
Scott mentally and emotionally and how those changes impacted Erika’s family. Doug may also
testify about his own experience as a cancer patient and survivor and the importance to him as a
cancer patient to understand all the risks and alternative treatments available to make informed
decisions about treatment.
Plaintiff expects Doug’s testimony to last 30 minutes in Plaintiff’s case in chief, not including time
for Defendants’ cross.
*Defendants object to Mr. Ulman as cumulative damages testimony.
   17. Stan Smith
Stan Smith is an expert economist and Plaintiff expects to testify regarding Erika Zak’s past lost
earnings and Erika’s future earning potential.
Plaintiff expects Dr. Smith’s testimony to last 30 minutes in Plaintiff’s case in chief, not including
time for Defendants’ cross.
   18. S. Nahum Goldberg (via prior testimony given in this case)*
Dr. Goldberg is Defendants’ expert witness whom Plaintiff intends to call via prior testimony as
detailed below. Plaintiff expects this testimony to include Dr. Goldberg’s impressions and expert
opinions regarding the available alternatives; the treatment Erika received at Memorial Sloan
Kettering, including the ablation procedure; Erika’s resulting injury; and Erika’s condition before
and after the ablation.

Plaintiff expects Dr. Goldberg’s testimony to last 1 hour.

*Defendants have no objections to Dr. Goldberg’s substantive testimony, but object to any
impeachment testimony and any testimony regarding claims dismissed by the Court’s rulings on
the motions in limine (e.g., MDTB).

Witnesses Plaintiff may call if the need arises:
L.P.
L.P. is the biological child of Erika Zak and Scott Powers and is a party to this case as a minor
distributee of Erika Zak’s Estate. Plaintiff anticipates calling L.P. to testify to the loss of Erika’s
guidance and training, and to authenticate her journal regarding how the loss of her mother has
impacted her emotionally, if necessary.

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Stephen Powers
Stephen Powers is Scott Powers’ brother and may testify as to the emotional impact he has
witnessed the loss of Erika’s life has had on Scott and his niece L.P. He may also testify to the
physical deterioration and disfigurement he witnessed Erika endure as a result of the damage
inflicted on her by the defendants’ ablation procedure.
Suzanne Kelson (subject to Plaintiff’s offer of proof)*
Suzanne Kelson is Memorial Sloan Kettering Cancer Center’s corporate representative. She has
been designated to testify regarding the Memorial Sloan Kettering Cancer Center’s practices in
recording and maintaining its electronic medical record.
*Defendants object as this testimony was excluded pursuant to the Court’s MIL Order. See Doc.
409, No. 15a.
Caroline Macuiba
Caroline Macuiba is a social worker at Oregon Health & Science University who attended to Erika
Zak while she underwent care. She can testify to Erika’s physical state and mental state of mind
as she dealt with the day-to-day burdens of attending to her biliary drains she needed as a result of
the damage caused by the ablation of April 10, 2017. She may also testify as to other difficulties
and challenges Erika faced from day to day as a result of the damage Erika sustained from the
April 10, 2017 ablation.
Dr. John Kaufman, M.D.
Dr. Kaufman is an interventional radiologist at Oregon Health Science University. He performed
an emergency embolization of Erika’s hepatic artery after it ruptured on July 4, 2017 due to the
damage the April 10, 2017 ablation caused to her hepatic artery, saving her life as she faced the
risk of bleeding to death.
Dr. Charles Martin III, M.D.
Dr. Charles Martin III is a diagnostic radiologist at the Cleveland Clinic. He is a treating physician
of Erika Zak. He may testify to his treatment, including the causes of her liver failure necessitating
transplant.
Dr. Koji Hashimoto
Dr. Koji Hashimoto is a transplant surgeon at the Cleveland Clinic. He is a treating physician of
Erika Zak. He may testify to his treatment of Erika Zak, including the causes of her liver failure
necessitating transplant and the transplant surgery.




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Defendants’ List of Trial Witnesses:
   1. Dr. Constantinos Sofocleous
          a. Dr. Sofocleous will testify to his care and treatment of Ms. Zak, and testify as to all
             claims alleged against him. He will testify that the location of the tumor did not
             contradict the ablation. He will also testify as to matters of causation as to the
             subsequent bleed and liver failure. He will testify that ablation was the most
             effective alternative and that any other alternatives were previously tried and were
             unsuccessful or were inferior. He will testify as to the condition of plaintiff’s
             hepatic arteries prior to the ablation.
          b. Length: 1 full day not including time for cross

   2. Dr. Aaron Fischman
          a. Dr. Fischman is Defendants’ expert interventional radiologist. Dr. Fischman will
             testify on matters of standard of care, causation and damages in response to
             Plaintiff’s claims of medical malpractice, wrongful death and lack of informed
             consent as asserted against Dr. Sofocleous. He will testify that the location of the
             tumor was not a contraindication to its removal. He will testify as to the condition
             of plaintiff’s hepatic arteries prior to the ablation. He will testify consistent with
             his report and deposition.
          b. Length: 1 full day not including time for cross

   3. Dr. David Bernstein*
          a. Dr. Bernstein is Defendants’ expert hepatologist. He will testify that the clinical,
             radiologic and pathologic aspects of Ms. Zak’s condition indicated that her liver
             failure was due to the HAI pump treatment, and that the location and timing of the
             bleed indicated it was due to the pump.
          b. Length: 3 hours not including time for cross
          Plaintiff objects to the extent Dr. Bernstein’s testimony exceeds the scope of his written
          report.
   4. Dr. Neil Theise*
          a. Dr. Theise is Defendants’ expert liver pathologist. Dr. Theise will testify on matters
             of causation and damages in response to all of Plaintiff’s claims. He will testify in
             accordance with his report and deposition.
          b. Length: 3-4 hours not including time for cross

       Plaintiff objects to Dr. Theise’s testimony as cumulative of Dr. Bernstein.
Defendants’ List of Witnesses – if need arises:
   1. Dr. Nancy Kemeny
          a. Dr. Kemeny was Ms. Zak’s primary treating oncologist at Memorial and referred
             Ms. Zak for the ablations performed by Dr. Sofocleous. Dr. Kemeny will testify as
             to her care and treatment of Ms. Zak, and will testify as to the claims alleged. She
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          will also testify as to matters of causation as to the subsequent bleed and liver
          failure. She will testify that ablation was the most effective alternative and that
          other alternatives were previously tried and were unsuccessful or were inferior.
       b. Length: ½ day not inclusive of time for cross

2. Dr. Michael Sadler
       a. Dr. Sadler is Defendants’ expert diagnostic radiologist. He will testify as to the
          condition of plaintiff’s hepatic arteries prior to the ablation.
       b. Length: 1 hour not inclusive of time for cross

3. Dr. Douglas Rubinson
       a. Dr. Rubinson is Defendants’ expert medical oncologist. He will also testify
          regarding Ms. Zak’s cancer diagnosis, treatment, and prognosis.
       b. Length: 1 hour not inclusive of time for cross

4. Dr. S. Nahum Goldberg
       a. Dr. Goldberg is Defendants’ second interventional radiology expert. He will testify
           consistent with Dr. Fischman as stated above and in accordance with his report and
           deposition.
       b. Length: 2 hours not inclusive of time for cross

5. Dr. Amy Deipolyi
       a. Dr. Deipolyi was Ms. Zak’s subsequent treating interventional radiologist at
          Memorial. Dr. Deipolyi will testify that subsequent to the ablation there was no
          hepatic artery bleed, and that Ms. Zak’s condition improved. She will also testify
          concerning her review of the pre-ablation imaging.
       b. Length: 1-2 hours not inclusive of time for cross

6. Stephen Powers
      a. Mr. Powers was present during prior visits with Dr. Sofocleous, and will testify
          regarding those interactions.
      b. Length: 1 hours not inclusive of time for cross

7. Caroline Macuiba, LCSW (via prior video testimony in this case)
      a. LCSW Macuiba was Ms. Zak’s licensed clinical social worker at OHSU during her
          cancer care and medical treatment pre and post ablation and will testify regarding
          those interactions.
      b. Length: 1-2 hours

8. Leah M. Keller, RN
      a. RN Keller was Dr. Sofocleous’ nurse at Memorial. RN Keller was present during
         the consent visit on March 22, 2017. RN Keller will testify regarding the consent
         visit and her involvement in Ms. Zak’s care.

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           b. Length: 1-2 hours not inclusive of time for cross

(h) Designations of all deposition testimony the parties anticipate offering as part of their
respective cases in chief.

Plaintiff’s Designations:
Plaintiff designates deposition testimony from Dr. Constantinos Sofocleous, Dr. Nancy Kemeny,
Dr. S. Nahum Goldberg, Suzanne Kelson, Dr. Skye Mayo, and Dr. Charles Lopez.
Witness:              Dr. Constantinos Sofocleous
Title or Role:        Defendant interventional radiologist at Memorial Sloan Kettering
Deposition Date:      December 8, 2020
Summary:              Dr. Sofocleous will testify to his training, background, and experience as an
                      interventional radiologist and interventional oncologist; his peer-reviewed
                      publications, speaking presentations, and other recorded statements
                      regarding interventional radiology, including procedures performed; and his
                      treatment of Erika Zak in this case.
Reason:               Dr. Sofocleous is a party. Fed. R. Civ. Pro. 32(a)(3) (“An adverse party may
                      use for any purpose the deposition of a party or anyone who, when deposed,
                      was the party's officer, director, managing agent, or designee under Rule
                      30(b)(6) or 31(a)(4)”).
Counter-Designations: Defendants will provide counter-designations in accordance with the
                   Court’s Order. See Doc. 414.


Witness:              Dr. Nancy Kemeny
Title or Role:        Oncologist and employee of Defendant Memorial Sloan Kettering
Deposition Date:      December 17, 2020
Summary:              Dr. Kemeny will testify to her training, background, and experience as an
                      oncologist; practice treating patients with cancer in the liver; and her
                      treatment of Erika Zak.
Reason:               Dr. Kemeny has been identified as Defendant Memorial Sloan Kettering’s
                      agent. Fed. R. Civ. Pro. 32(a)(3) (“An adverse party may use for any
                      purpose the deposition of a party or anyone who, when deposed, was the
                      party's officer, director, managing agent, or designee under Rule 30(b)(6)
                      or 31(a)(4)”).
Counter-Designations: Defendants will provide counter-designations in accordance with the
                   Court’s Order. See Doc. 414.
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Witness:            Dr. S. Nahum Goldberg
Title or Role:      Defendants’ expert interventional radiologist
Deposition Date:    March 16, 2021 and March 20, 2021
Summary:            Dr. Goldberg is Defendants’ expert witness whom Plaintiff intends to call
                    via prior testimony as detailed below. Plaintiff expects this testimony to
                    include Dr. Goldberg’s impressions and expert opinions regarding the
                    available alternatives; the treatment Erika received at Memorial Sloan
                    Kettering, including the ablation procedure; Erika’s resulting injury; and
                    Erika’s condition before and after the ablation.

Reason:             Dr. Goldberg is located more than 100 miles away from the place of trial.
                    Fed. R. Civ. Pro. 32(a)(4)(B).
Counter-Designations: Defendants will provide counter-designations in accordance with the
                   Court’s Order. See Doc. 414.


Witness:            Suzanne Kelson (subject to Plaintiff’s offer of proof)*
Title or Role:      Defendant Memorial Sloan Kettering’s designated representative
Deposition Date:    November 16, 2020
Summary:            Suzanne Kelson is Memorial Sloan Kettering Cancer Center’s corporate
                    representative. She has been designated to testify regarding the Memorial
                    Sloan Kettering Cancer Center’s practices in recording and maintaining its
                    electronic medical record.
Reason:             Suzanne Kelson is Defendant’s designated Federal Rule 30(b)(6) witness.
                    Fed. R. Civ. Pro. 32(a)(3) (“An adverse party may use for any purpose the
                    deposition of a party or anyone who, when deposed, was the party's officer,
                    director, managing agent, or designee under Rule 30(b)(6) or 31(a)(4)”).
*Objections:        Defendants object to this designation as the testimony has been excluded
                    pursuant to the Court’s MIL Order as irrelevant, prejudicial, a waste of time
                    and confusing to the jury. See Doc. 409, No. 15a.


Witness:            Dr. Skye Mayo
Title or Role:      Erika Zak’s treating surgical oncologist at Oregon Health Science
                    University
Deposition Date:    October 8, 2020
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Summary:            Dr. Skye Mayo is a surgical oncologist at Oregon Health Science University
                    was one of Erika Zak’s treating physician was Erika Zak’s treating
                    oncologist at Oregon Health Science University in Portland. He
                    participated in her care during and after the time the defendants treated her.
                    Plaintiffs intend to call him as treating physician to testify by his prior
                    deposition about his care of Erika and what he observed regarding her
                    physical, emotional, and psychological response to such treatment, as well
                    as the basis for such treatment. Plaintiff also expects Dr. Mayo to testify
                    about his personal remarks about Erika’s cancer treatment journey that he
                    witnessed and the prospect for her survival of her cancer, and the specific
                    damage to her liver sustained during the ablation that required her to seek a
                    liver transplant as her only remaining option to survive. Dr. Mayo will also
                    testify about the extent to which any of the defendants or physicians in their
                    employ consulted him for his opinion and input about Erika’s course of
                    treatment.
Reason:             Dr. Mayo is located more than 100 miles away from the place of trial. Fed.
                    R. Civ. Pro. 32(a)(4)(B).
Counter-Designations: Defendants will provide counter-designations in accordance with the
                   Court’s Order. See Doc. 414.


Witness:            Dr. Charles Lopez
Title or Role:      Erika Zak’s treating oncologist at Oregon Health Science University
Deposition Date:    November 5, 2020
Summary:            Dr. Charles Lopez was Erika Zak’s treating oncologist at Oregon Health
                    Science University in Portland. He participated in her care during and after
                    the time the defendants treated her. Plaintiffs intend to call him as treating
                    physician to testify about his treatment of Erika and response to such
                    treatment, as well as the basis for such treatment and the availability of such
                    treatment, including immunotherapy, during the time the defendants were
                    Erika Zak’s primary cancer care treating physicians. Plaintiff also expects
                    Dr. Lopez to testify whether any of the defendants or physicians in their
                    employ consulted him about Erika’s course of treatment and about his
                    evaluation of Erika for the treatment he prescribed after she transferred her
                    care to doctors at Oregon Health Science University, including Dr. Lopez.
Reason:             Dr. Lopez is located more than 100 miles away from the place of trial. Fed.
                    R. Civ. Pro. 32(a)(4)(B).
Counter-Designations: Defendants will provide counter-designations in accordance with the
                   Court’s Order. See Doc. 414.
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Defendants’ Designations
   1. Dr. Mayo – if plaintiff does not designate Dr. Mayo during his case in chief

   2. Dr. Lopez – if plaintiff does not designate Dr. Lopez during his case in chief

   3. Caroline Macuiba, LCSW – defendants may designate Ms. Macuiba because she is
      located more than 100 miles away from the place of trial and is unavailable.

   4. Stephen Powers – defendants may designate Mr. Powers if he is deemed unavailable. Mr.
      Powers is Plaintiff’s brother and under his control.

(i) A list of all proposed exhibits and demonstrative aids for each party’s case in chief,
marked with one star for no authenticity objection and two stars for no objections at all;
For exhibits with objections other than authenticity, a statement of the nature of the objection and
the Federal Rule of Evidence that is the basis for the objection. Any objections not made shall be
deemed waived, and any exhibits not objected to shall be deemed admissible at trial;

Plaintiff:
Plaintiff reserves the right to use software to view radiological images in evidence at trial.
 No.          Title                                                          Objections
       P-1.   Bates Number: Kemeny Emails_001 May 30, 2017;                  ★★
              Emails between Dr. Nancy Kemeny and Dr. Skye Mayo.
       P-2.   Bates Number: Kemeny Emails_003–04 June 1, 2017;               ★★
              Emails between Dr. Nancy Kemeny and Dr. Skye Mayo.
       P-3.   Bates Number: Kemeny Emails_005–006 - September                ★★
              22, 2017; Emails between Dr. Nancy Kemeny and Dr.
              Skye Mayo.
       P-4.   Bates Number: Kemeny Emails_007–008 - February 13,             ★★
              2018; Emails between Dr. Nancy Kemeny and Dr. Skye
              Mayo.
       P-5.   Bates Number: Kemeny Emails_009–011 - July 6, 2017;            ★★
              Emails between Dr. Nancy Kemeny, Dr. Skye Mayo, and
              Dr. John Kaufman.
       P-6.   Bates Number MHCAD Emails 0001–04 - April 12,                  ★
              2017 – April 14, 2017; Emails from Dr. Amy Deipolyi,           Redact – 002 – “I am
              Dr. Constantinos Sofocleous, Dr. Josephine Cool, and           away from the center
              Dr. Chhavi Kumar.                                              but” as irrelevant see
                                                                             Court’s MIL Order
                                                                             (Doc. 409, No. 15c).
       P-7.   Bates Number MHCAD EMAILS 0009 - June 1, 2017;                 ★★
              Emails between Dr. Nancy Kemeny and Dr. Neil Segal.

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P-8.    Bates Number MHCAD EMAILS 0017–18, MHCAD                 ★★
        EMAILS 0045 - April 21, 2017; Emails from Jonathan
        Silverman, Sandra Arida, Helen Loumeau, and Dr.
        Nancy Kemeny.
P-9.    Bates Number MHCAD EMAILS 0021–0022 - April 3,           ★★
        2017; Emails from Daphne Conseillant and Leah Keller.
P-10.   Bates Number MHCAD EMAILS 0025–0029 - April 12,         ★
        2017 – April 14, 2017, May 9, 2017; Emails from Dr.     Redact – 026 – “I am
        Amy Deipolyi, Dr. Constantinos Sofocleous, Dr.          away from the center
        Josephine Cool, Dr. Chhavi Kumar, and Leah Keller.      but” as irrelevant see
                                                                Court’s MIL Order
                                                                (Doc. 409, No. 15c).
P-11.   Bates Number MHCAD Emails 0031–34, MHCAD                ★
        Emails 0093, MHCAD Emails 109-11 - April 12, 2017 – Redact – 032 and 109
        April 14, 2017; Emails from Dr. Amy Deipolyi, Dr.       – “I am away from
        Constantinos Sofocleous, Dr. Josephine Cool, Dr. Chhavi the center but” as
        Kumar, and Dr. Nancy Kemeny.                            irrelevant see Court’s
                                                                MIL Order (Doc.
                                                                409, No. 15c).
P-12.   Bates Number: MHCAD Emails 0039 - April 19, 2017;       ★★
        Emails between Dr. Nancy Kemeny and Dr. Hans
        Gerdes.
P-13.   Bates Number: Exhibit L_01–03 - May 5, 2017, May 7,     ★
        2017; Emails between Dr. Sofocleous, and Erika Zak,     Irrelevant,
        Lyn Brody, and Jorge Capote.                            misleading,
                                                                prejudicial. Also,
                                                                inadmissible hearsay,
                                                                irrelevant re Dr.
                                                                Sofocleous being
                                                                away. See Court’s
                                                                MIL Order (Doc.
                                                                409, No. 15c).
P-14.   10669434_1_7C547D2F-43 (Baby LP waiving to Erika. ★
        9/1/2014)                                               Cumulative
                                                                Prejudicial – 1 of 10
                                                                pre-ablation family
                                                                videos.
P-15.   11175416_9_B565FD23-53 (Family at the park, LP goes ★
        down slide. 4/18/2015)                                  Cumulative
                                                                Prejudicial – 1 of 10
                                                                pre-ablation family
                                                                videos.
P-16.   11638133_6_41AB997B-56 (Baby LP in tub. 6/13/2015) ★
                                                                Irrelevant
                                                                Prejudicial
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                                                               Cumulative - 1 of 10
                                                               pre-ablation family
                                                               videos.
P-17.   11918649_8_508427A8-55 (Erika and baby LP dancing      ★
        at a park. 9/8/2015)                                   Cumulative
                                                               Prejudicial – 1 of 10
                                                               pre-ablation family
                                                               videos.
P-18.   12344532_5_ED304DBC-52 (Family teaching LP to          ★
        kick a ball. 12/5/2015)                                Cumulative
                                                               Prejudicial – 1 of 10
                                                               pre-ablation family
                                                               videos.
P-19.   12551643_1_ECDBFEAB-46 (LP blowing out the             ★
        candle at her 2nd birthday. 12/29/2014)                Cumulative
                                                               Prejudicial – 1 of 10
                                                               pre-ablation family
                                                               videos.
P-20.   13610055_1_F7BD3E30-50 (LP and Erika at a parade.      ★
        7/4/2016)                                              Cumulative
                                                               Prejudicial – 1 of 10
                                                               pre-ablation family
                                                               videos.
P-21.   13827892_1_AC823F1E-46 (Erika laughing as LP puts      ★
        on lipstick. 7/24/2016)                                Cumulative
                                                               Prejudicial – 1 of 10
                                                               pre-ablation family
                                                               videos.
P-22.   14253228_1_CD49412D-62 (LP and Erika playing dress     ★
        up. 9/3/2016)                                          Cumulative
                                                               Prejudicial – 1 of 10
                                                               pre-ablation family
                                                               videos.
P-23.   16328899_2_49905352-36 (Video of LP eating a cookie,   ★
        1/28/2017)                                             Cumulative
                                                               Prejudicial – 1 of 10
                                                               pre-ablation family
                                                               videos.
P-24.   18031779_2_FE3519-60 (Video of LP, 4/19/2017)          ★
                                                               Cumulative
                                                               Prejudicial – 1 of 6
                                                               post-ablation videos.
P-25.   ZakCSV0000000115 (Erika’s social media – Poem for      Hearsay. See Court’s
        LP, 5/16/2017)                                         MIL Order (Doc.
                                                               409, No. 13b).
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                                                              Cumulative
                                                              Prejudicial
P-26.   35817062_4_B549E10A-58 (Video of LP swimming,         ★
        7/2/2018)                                             Irrelevant
                                                              Prejudicial.
                                                              Cumulative
P-27.   46144366_2_A6E5FA5C-59 (Erika’s art – “Don’t give     Hearsay. See Court’s
        up the ship”, 11/18/2018)                             MIL Order (Doc.
                                                              409, No. 13b).
                                                              Cumulative
                                                              Prejudicial
P-28.   68578135_1_1C166C74-23 (Erika’s social media re       Hearsay. See Court’s
        being scared, week of 8/9/2019)                       MIL Order (Doc.
                                                              409, No. 13b).
                                                              Cumulative
                                                              Prejudicial
P-29.   68669800_4_EFDB25DC-3, ZakCSV0000000116               Hearsay. See Court’s
        (Erika’s social media re regrets, week of 8/9/2019)   MIL Order (Doc.
                                                              409, No. 13b).
                                                              Cumulative
                                                              Prejudicial
P-30.   68816957_3_7857BEB3-1 (Erika’s social media re        Hearsay. See Court’s
        swollen feet), week od                                MIL Order (Doc.
                                                              409, No. 13b).
                                                              Cumulative
                                                              Prejudicial
P-31.   1.jpg (Erika’s art for Loie, 2014–2019)               ★
                                                              Cumulative
                                                              Prejudicial – 1 of 15
                                                              of Ms. Zak’s art.
                                                              Irrelevant (lost
                                                              earnings)
P-32.   2.jpg (Erika’s art – Silhouette, 2017)                ★
                                                              Cumulative
                                                              Prejudicial – 1 of 15
                                                              of Ms. Zak’s art.
                                                              Irrelevant (lost
                                                              earnings)
P-33.   13828805_1_97F402AF-46 (Erika’s art, 7/27/2016)       ★
                                                              Cumulative
                                                              Prejudicial – 1 of 15
                                                              of Ms. Zak’s art.
                                                              Irrelevant (lost
                                                              earnings)


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P-34.   Bees (Erika's art, poster project possibly created in     ★
        school or while living in SF. Collage to try variety of   Cumulative
        techniques, prior to 2009)                                Prejudicial – 1 of 15
                                                                  of Ms. Zak’s art.
                                                                  Irrelevant (lost
                                                                  earnings)
P-35.   Building print (Erika’s art, 3/31/2009)                   ★
                                                                  Cumulative
                                                                  Prejudicial – 1 of 15
                                                                  of Ms. Zak’s art.
                                                                  Irrelevant (lost
                                                                  earnings)
P-36.   Cups (Erika’s art, 1994)                                  ★
                                                                  Cumulative
                                                                  Prejudicial – 1 of 15
                                                                  of Ms. Zak’s art.
                                                                  Irrelevant (lost
                                                                  earnings)
P-37.   Hearts (Erika’s art, 2016)                                ★
                                                                  Cumulative
                                                                  Prejudicial – 1 of 15
                                                                  of Ms. Zak’s art.
                                                                  Irrelevant (lost
                                                                  earnings)
P-38.   Houses sketch (Erika’s art, 4/17/2009)                    ★
                                                                  Cumulative
                                                                  Prejudicial – 1 of 15
                                                                  of Ms. Zak’s art.
                                                                  Irrelevant (lost
                                                                  earnings)
P-39.   Ikat floral calm2 (Erika’s art, 7/28/2008)                ★
                                                                  Cumulative
                                                                  Prejudicial – 1 of 15
                                                                  of Ms. Zak’s art.
                                                                  Irrelevant (lost
                                                                  earnings)
P-40.   Jackalope repeat lime (Erika’s art, 3/16/2009)            ★
                                                                  Cumulative
                                                                  Prejudicial – 1 of 15
                                                                  of Ms. Zak’s art.
                                                                  Irrelevant (lost
                                                                  earnings)
P-41.   Legs (Erika’s art, prior to 2009)                         ★
                                                                  Cumulative

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                                                            Prejudicial – 1 of 15
                                                            of Ms. Zak’s art.
                                                            Irrelevant (lost
                                                            earnings)
P-42.   Little houses print calm (Erika’s art, 4/20/2009)   ★
                                                            Cumulative
                                                            Prejudicial – 1 of 15
                                                            of Ms. Zak’s art.
                                                            Irrelevant (lost
                                                            earnings)
P-43.   Orchid print sky (Erika’s art, 7/15/2009)           ★
                                                            Cumulative
                                                            Prejudicial – 1 of 15
                                                            of Ms. Zak’s art.
                                                            Irrelevant (lost
                                                            earnings)
P-44.   Pods2 (Erika’s art, 2/23/2009)                      ★
                                                            Cumulative
                                                            Prejudicial – 1 of 15
                                                            of Ms. Zak’s art.
                                                            Irrelevant (lost
                                                            earnings)
P-45.   Textiles (Erika’s art, 2009)                        ★
                                                            Cumulative
                                                            Prejudicial – 1 of 15
                                                            of Ms. Zak’s art.
                                                            Irrelevant (lost
                                                            earnings)
P-46.   1 (Family photo, Spring of 2016)                    ★
                                                            Cumulative
                                                            Prejudicial – 1 of 70
                                                            pre-ablation family
                                                            photos.
P-47.   2 (Family photo, 12/25/2015)                        ★
                                                            Cumulative
                                                            Prejudicial – 1 of 70
                                                            pre-ablation family
                                                            photos.
P-48.   3 (Family photo, early 2016)                        ★
                                                            Cumulative
                                                            Prejudicial – 1 of 70
                                                            pre-ablation family
                                                            photos.
P-49.   4 (Family photo, April 2016)                        ★
                                                            Cumulative
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                                                     Prejudicial – 1 of 70
                                                     pre-ablation family
                                                     photos.
P-50.   5 (Family photo, June 2016)                  ★
                                                     Cumulative
                                                     Prejudicial – 1 of 70
                                                     pre-ablation family
                                                     photos.
P-51.   6 (Family photo, April 4, 2017)              ★
                                                     Cumulative
                                                     Prejudicial – 1 of 70
                                                     pre-ablation family
                                                     photos.
P-52.   8 (Family photo, January 2015)               ★
                                                     Cumulative
                                                     Prejudicial – 1 of 70
                                                     pre-ablation family
                                                     photos.
P-53.   9 (Family photo, October 2016)               ★
                                                     Cumulative
                                                     Prejudicial – 1 of 70
                                                     pre-ablation family
                                                     photos.
P-54.   10 (Family photo, July 2015)                 ★
                                                     Cumulative
                                                     Prejudicial – 1 of 70
                                                     pre-ablation family
                                                     photos.
P-55.   11 (Family photo, March 30, 2017)            ★
                                                     Cumulative
                                                     Prejudicial – 1 of 70
                                                     pre-ablation family
                                                     photos.
P-56.   12 (Family photo, 9/6/2015)                  ★
                                                     Cumulative
                                                     Prejudicial – 1 of 70
                                                     pre-ablation family
                                                     photos.
P-57.   13 (Family photo, 2016)                      ★
                                                     Cumulative
                                                     Prejudicial – 1 of 70
                                                     pre-ablation family
                                                     photos.
P-58.   14 (Family photo, May, 2016)                 ★
                                                     Cumulative
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                                                     Prejudicial – 1 of 70
                                                     pre-ablation family
                                                     photos.
P-59.   15 (Family photo, March 2016)                ★
                                                     Cumulative
                                                     Prejudicial – 1 of 70
                                                     pre-ablation family
                                                     photos.
P-60.   17 (Family photo, 12/25/2016)                ★
                                                     Cumulative
                                                     Prejudicial – 1 of 70
                                                     pre-ablation family
                                                     photos.
P-61.   18 (Family photo, 4/8/2017)                  ★
                                                     Cumulative
                                                     Prejudicial – 1 of 70
                                                     pre-ablation family
                                                     photos.
P-62.   19 (Family photo, October 2015)              ★
                                                     Cumulative
                                                     Prejudicial – 1 of 70
                                                     pre-ablation family
                                                     photos.
P-63.   20 (Family photo, Fall 2014)                 ★
                                                     Cumulative
                                                     Prejudicial – 1 of 70
                                                     pre-ablation family
                                                     photos.
P-64.   21 (Family photo, March 2015)                ★
                                                     Cumulative
                                                     Prejudicial – 1 of 70
                                                     pre-ablation family
                                                     photos.
P-65.   22 (Family photo, May 2016)                  ★
                                                     Cumulative
                                                     Prejudicial – 1 of 70
                                                     pre-ablation family
                                                     photos.
P-66.   23 (Family photo, 8/24/2016)                 ★
                                                     Cumulative
                                                     Prejudicial – 1 of 70
                                                     pre-ablation family
                                                     photos.
P-67.   24 (Family photo, 7/4/2016)                  ★
                                                     Cumulative
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                                                            Prejudicial – 1 of 70
                                                            pre-ablation family
                                                            photos.
P-68.   25 (Family photo, 12/26/2016)                       ★
                                                            Cumulative
                                                            Prejudicial – 1 of 70
                                                            pre-ablation family
                                                            photos.
P-69.   26 (Family photo, 4/12/2015)                        ★
                                                            Cumulative
                                                            Prejudicial – 1 of 70
                                                            pre-ablation family
                                                            photos.
P-70.   Pregnancy (Family photo, 2013)                      ★
                                                            Cumulative
                                                            Prejudicial – 1 of 70
                                                            pre-ablation family
                                                            photos.
P-71.   493.jpg (Family photo, September 2010)              ★
                                                            Cumulative
                                                            Prejudicial – 1 of 70
                                                            pre-ablation family
                                                            photos.
P-72.   15833_1273935052618_1357194170_793848_2097728_      ★
        n (Family photo, 2008-2009)                         Cumulative
                                                            Prejudicial – 1 of 70
                                                            pre-ablation family
                                                            photos.
P-73.   591200302.939118 (Family photo, 1983–1984)          ★
                                                            Cumulative
                                                            Prejudicial – 1 of 70
                                                            pre-ablation family
                                                            photos.
P-74.   591201411.070036 (Family photo, Spring/Fall 2003)   ★
                                                            Cumulative
                                                            Prejudicial – 1 of 70
                                                            pre-ablation family
                                                            photos.
P-75.   591201430.498810(Family photo, 2000)                ★
                                                            Cumulative
                                                            Prejudicial – 1 of 70
                                                            pre-ablation family
                                                            photos.
P-76.   591208716.505051(Family photo, 5/9/2000)            ★
                                                            Cumulative
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                                                        Prejudicial – 1 of 70
                                                        pre-ablation family
                                                        photos.
P-77.   591210076.422010(Family photo, 2006)            ★
                                                        Cumulative
                                                        Prejudicial – 1 of 70
                                                        pre-ablation family
                                                        photos.
P-78.   591210544.609493(Family photo, Early 1999)      ★
                                                        Cumulative
                                                        Prejudicial – 1 of 70
                                                        pre-ablation family
                                                        photos.
P-79.   591220864.221848(Family photo, 2006)            ★
                                                        Cumulative
                                                        Prejudicial – 1 of 70
                                                        pre-ablation family
                                                        photos.
P-80.   Aisle.jpg (Family photo, 10/31/2009)            ★
                                                        Cumulative
                                                        Prejudicial – 1 of 70
                                                        pre-ablation family
                                                        photos.
P-81.   All three (Family photo, 9/6/2015)              ★
                                                        Cumulative
                                                        Prejudicial – 1 of 70
                                                        pre-ablation family
                                                        photos.
P-82.   Baby LP collage (7/15/2016)                     ★
                                                        Cumulative
                                                        Prejudicial – 1 of 70
                                                        pre-ablation family
                                                        photos.
P-83.   Carneros (November 2009)                        ★
                                                        Cumulative
                                                        Prejudicial – 1 of 70
                                                        pre-ablation family
                                                        photos.
P-84.   Erika and Baby Loie.jpg (Fall 2014)             ★
                                                        Cumulative
                                                        Prejudicial – 1 of 70
                                                        pre-ablation family
                                                        photos.
P-85.   EZ and Loie on merry go round.jpg (5/24/2015)   ★
                                                        Cumulative
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                                                                  Prejudicial – 1 of 70
                                                                  pre-ablation family
                                                                  photos.
P-86.   EZ and SGP 2 (Family photo, 2004/2005?)                   ★
                                                                  Cumulative
                                                                  Prejudicial – 1 of 70
                                                                  pre-ablation family
                                                                  photos.
P-87.   EZ and SGP Halloween (Family photo, 1999)                 ★
                                                                  Cumulative
                                                                  Prejudicial – 1 of 70
                                                                  pre-ablation family
                                                                  photos.
P-88.   EZ and SGP (Family photo, Fall 2006)                      ★
                                                                  Cumulative
                                                                  Prejudicial – 1 of 70
                                                                  pre-ablation family
                                                                  photos.
P-89.   EZ painting nails before ablation (Family photo,          ★
        4/9/2017)                                                 Cumulative
                                                                  Prejudicial – 1 of 70
                                                                  pre-ablation family
                                                                  photos.
P-90.   Getting ready (Family photo 10/31/2009)                   ★
                                                                  Cumulative
                                                                  Prejudicial – 1 of 70
                                                                  pre-ablation family
                                                                  photos.
P-91.   IMG_0029 (Family photo, Pre-2006)                         ★
                                                                  Cumulative
                                                                  Prejudicial – 1 of 70
                                                                  pre-ablation family
                                                                  photos.
P-92.   IMG_0280 (Family photo, May 2015)                         ★
                                                                  Cumulative
                                                                  Prejudicial – 1 of 70
                                                                  pre-ablation family
                                                                  photos.
P-93.   IMG_7744 (Family photo, Loie’s 3rd birthday, Jan. 2017)   ★
                                                                  Cumulative
                                                                  Prejudicial – 1 of 70
                                                                  pre-ablation family
                                                                  photos.
P-94.   IMG_0238 (Family photo, 10/9/2015)                        ★
                                                                  Cumulative
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                                                              Prejudicial – 1 of 70
                                                              pre-ablation family
                                                              photos.
P-95.    IMG_0515 (Family photo, 2016)                        ★
                                                              Cumulative
                                                              Prejudicial – 1 of 70
                                                              pre-ablation family
                                                              photos.
P-96.    IMG_0540 (Family photo, Loie’s 2nd Birthday, 2016)   ★
                                                              Cumulative
                                                              Prejudicial – 1 of 70
                                                              pre-ablation family
                                                              photos.
P-97.    IMG_0753 (Family video, 3/24/2015)                   ★
                                                              Cumulative
                                                              Prejudicial – 1 of 70
                                                              pre-ablation family
                                                              photos.
P-98.    IMG_2594 (Family photo, 7/20/2016)                   ★
                                                              Cumulative
                                                              Prejudicial – 1 of 70
                                                              pre-ablation family
                                                              photos.
P-99.    IMG_2671 (Family photo, 11/16/2016)                  ★
                                                              Cumulative
                                                              Prejudicial – 1 of 70
                                                              pre-ablation family
                                                              photos.
P-100.   IMG_4798 (Family photo, October 2016)                ★
                                                              Cumulative
                                                              Prejudicial – 1 of 70
                                                              pre-ablation family
                                                              photos.
P-101.   IMG_6905 (Family photo, 7/10/2014)                   ★
                                                              Cumulative
                                                              Prejudicial – 1 of 70
                                                              pre-ablation family
                                                              photos.
P-102.   IMG_7025 (Family photo, 2016)                        ★
                                                              Cumulative
                                                              Prejudicial – 1 of 70
                                                              pre-ablation family
                                                              photos.
P-103.   IMG_7295 (Family photo, 10/31/2009)                  ★
                                                              Cumulative
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                                                               Prejudicial – 1 of 70
                                                               pre-ablation family
                                                               photos.
P-104.   IMG_7445 (Family photo, July 2015)                    ★
                                                               Cumulative
                                                               Prejudicial – 1 of 70
                                                               pre-ablation family
                                                               photos.
P-105.   IMG_7698 (Family photo, Spring 2015)                  ★
                                                               Cumulative
                                                               Prejudicial – 1 of 70
                                                               pre-ablation family
                                                               photos.
P-106.   IMG_7933 (Family photo, 9/28/2013)                    ★
                                                               Cumulative
                                                               Prejudicial – 1 of 70
                                                               pre-ablation family
                                                               photos.
P-107.   IMG_8135 (Family photo, 2014/2015)                    ★
                                                               Cumulative
                                                               Prejudicial – 1 of 70
                                                               pre-ablation family
                                                               photos.
P-108.   IMG_8245 (Family photos, Sept 2015)                   ★
                                                               Cumulative
                                                               Prejudicial – 1 of 70
                                                               pre-ablation family
                                                               photos.
P-109.   Loie on beach (Family photo, 6/4/2016)                ★
                                                               Cumulative
                                                               Prejudicial – 1 of 70
                                                               pre-ablation family
                                                               photos.
P-110.   nov 2014 babymoon (Family photo, November 2013)       ★
                                                               Cumulative
                                                               Prejudicial – 1 of 70
                                                               pre-ablation family
                                                               photos.
P-111.   Pics from Scott’s Phone Nov 2014 027 (Family photo,   ★
         November 2014)                                        Cumulative
                                                               Prejudicial – 1 of 70
                                                               pre-ablation family
                                                               photos.
P-112.   Pics from Scott’s Phone Nov 2014 430 (Family photo,   ★
         Mother’s Day, 2014)                                   Cumulative
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                                                                 Prejudicial – 1 of 70
                                                                 pre-ablation family
                                                                 photos.
P-113.   Pictures - EZ.SP 028 (Family photo, Fall/Winter 2006)   ★
                                                                 Cumulative
                                                                 Prejudicial – 1 of 70
                                                                 pre-ablation family
                                                                 photos.
P-114.   Pictures - EZ.SP 036 (Family photo, 2009/2010)          ★
                                                                 Cumulative
                                                                 Prejudicial – 1 of 70
                                                                 pre-ablation family
                                                                 photos.
P-115.   Speech (Family photo, 10/31/2009)                       ★
                                                                 Cumulative
                                                                 Prejudicial – 1 of 70
                                                                 pre-ablation family
                                                                 photos.
P-116.   52017 OHSU hospital stay (May 2017)                     ★
                                                                 Cumulative
                                                                 Prejudicial – 1 of 53
                                                                 post-ablation photos.
P-117.   Erika-Zak (Family photo, 08/22/2019 & 8/24/2016)        ★
                                                                 Cumulative
                                                                 Prejudicial – 1 of 53
                                                                 post-ablation photos.
P-118.   EZ and LP in hospital (08/22/2019)                      ★
                                                                 Cumulative
                                                                 Prejudicial – 1 of 53
                                                                 post-ablation photos.
P-119.   IMG_0004 (Family video, 8/24/2018)                      ★
                                                                 Cumulative
                                                                 Prejudicial – 1 of 6
                                                                 post-ablation videos.
P-120.   IMG_0017 (Family video, 8/26/2018)                      ★
                                                                 Cumulative
                                                                 Prejudicial – 1 of 6
                                                                 post-ablation videos.
P-121.   IMG_0030 (Family photo, 4/4/2019)                       ★
                                                                 Cumulative
                                                                 Prejudicial – 1 of 53
                                                                 post-ablation photos.
P-122.   IMG_0084 (Family photo, 4/9/2019)                       ★
                                                                 Cumulative

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                                                     Prejudicial – 1 of 53
                                                     post-ablation photos.
P-123.   IMG_0274 (Family photo, 9/28/2018)          ★
                                                     Cumulative
                                                     Prejudicial – 1 of 53
                                                     post-ablation photos.
P-124.   IMG_0288 (Family photo, 9/28/2019)          ★
                                                     Cumulative
                                                     Prejudicial – 1 of 53
                                                     post-ablation photos.
P-125.   IMG_0417 (Family photo, 2018–2019)          ★
                                                     Cumulative
                                                     Prejudicial – 1 of 53
                                                     post-ablation photos.
P-126.   IMG_0427 (Family photo, 10/27/2018)         ★
                                                     Cumulative
                                                     Prejudicial – 1 of 53
                                                     post-ablation photos.
P-127.   IMG_0437 (Family photo, 2018–2019)          ★
                                                     Cumulative
                                                     Prejudicial – 1 of 53
                                                     post-ablation photos.
P-128.   IMG_0441 (Family photo, 5/30/2019)          Hearsay (text
                                                     message)
                                                     Cumulative
                                                     Prejudicial
                                                     Not disclosed during
                                                     discovery
P-129.   IMG_0443 (Family photo, 05/17/2019)         Hearsay (text
                                                     message)
                                                     Cumulative
                                                     Prejudicial
                                                     Not disclosed during
                                                     discovery
P-130.   IMG_0470 (Family photo, May 2019)           ★
                                                     Cumulative
                                                     Prejudicial – 1 of 53
                                                     post-ablation photos.
P-131.   IMG_0465 (Family photo, 5/23/2019)          ★
                                                     Cumulative
                                                     Prejudicial – 1 of 53
                                                     post-ablation photos.
P-132.   IMG_0555 (Family photo, 2018)               ★
                                                     Cumulative

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                                                     Prejudicial – 1 of 53
                                                     post-ablation photos.
P-133.   IMG_0628 (Family photo, 6/7/2019)           ★
                                                     Cumulative
                                                     Prejudicial – 1 of 53
                                                     post-ablation photos.
P-134.   IMG_0675 (Family photo, 6/14/2019)          ★
                                                     Cumulative
                                                     Prejudicial – 1 of 53
                                                     post-ablation photos.
P-135.   IMG_0838 (Family photo, 9/26/2018)          ★
                                                     Cumulative
                                                     Prejudicial – 1 of 53
                                                     post-ablation photos.
P-136.   IMG_0888 (Family photo, 12/25/2018)         ★
                                                     Cumulative
                                                     Prejudicial – 1 of 53
                                                     post-ablation photos.
P-137.   IMG_0895 (Family video, 12/27/2018)         ★
                                                     Cumulative
                                                     Prejudicial – 1 of 6
                                                     post-ablation videos.
P-138.   IMG_0953 (Family photo, 7/8/2019)           ★
                                                     Cumulative
                                                     Prejudicial – 1 of 53
                                                     post-ablation photos.
P-139.   IMG_0956 (Family photo, 7/8/2019)           ★
                                                     Cumulative
                                                     Prejudicial – 1 of 53
                                                     post-ablation photos.
P-140.   IMG_0957 (Family photo, 7/8/2019)           ★
                                                     Cumulative
                                                     Prejudicial – 1 of 53
                                                     post-ablation photos.
P-141.   IMG_0964 (Family photo, 2/26/2018)          ★
                                                     Cumulative
                                                     Prejudicial – 1 of 53
                                                     post-ablation photos.
P-142.   IMG_0996 (Family photo, January 2019)       ★
                                                     Cumulative
                                                     Prejudicial – 1 of 53
                                                     post-ablation photos.
P-143.   IMG_0998 (Family photo, Jan 2019)           ★
                                                     Cumulative

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                                                     Prejudicial – 1 of 53
                                                     post-ablation photos.
P-144.   IMG_1074 (Family photo, 7/30/2019)          ★
                                                     Cumulative
                                                     Prejudicial – 1 of 53
                                                     post-ablation photos.
P-145.   IMG_1126 (Family photo, 2/6/19)             ★
                                                     Cumulative
                                                     Prejudicial – 1 of 53
                                                     post-ablation photos.
P-146.   IMG_1131 (Family photo, 2/7/19)             ★
                                                     Cumulative
                                                     Prejudicial – 1 of 53
                                                     post-ablation photos.
P-147.   IMG_1152 (Family photo, 2/12/2019)          ★
                                                     Cumulative
                                                     Prejudicial – 1 of 53
                                                     post-ablation photos.
P-148.   IMG_0086 (Family photo, 2019)               ★
                                                     Cumulative
                                                     Prejudicial – 1 of 53
                                                     post-ablation photos.
P-149.   IMG_1156 (Family photo, 2019)               ★
                                                     Cumulative
                                                     Prejudicial – 1 of 53
                                                     post-ablation photos.
P-150.   IMG_1161 (Family photo, 08/22/2019)         ★
                                                     Cumulative
                                                     Prejudicial – 1 of 53
                                                     post-ablation photos.
P-151.   IMG_1164 (Family photo, 08/22/2019)         ★
                                                     Cumulative
                                                     Prejudicial – 1 of 53
                                                     post-ablation photos.
P-152.   IMG_ 1251 (Family photo, 2/19/2019)         ★
                                                     Cumulative
                                                     Prejudicial – 1 of 53
                                                     post-ablation photos.
P-153.   IMG_1252 (Family video, 2/19/2019)          ★
                                                     Cumulative
                                                     Prejudicial – 1 of 6
                                                     post-ablation videos.
P-154.   IMG_1444 (Family photo, 2019)               ★
                                                     Cumulative

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                                                          Prejudicial – 1 of 53
                                                          post-ablation photos.
P-155.   IMG_1636 (Family photo, 10/5/2019)               ★
                                                          Irrelevant
                                                          Prejudicial – funeral
                                                          photo
P-156.   IMG_2348 (Family photo, CNN article, May 2018)   ★
                                                          Cumulative
                                                          Prejudicial – 1 of 53
                                                          post-ablation photos,
                                                          and reference to CNN
P-157.   IMG_3482 (Family photo, 7/29/2019)               ★
                                                          Cumulative
                                                          Prejudicial – 1 of 53
                                                          post-ablation photos.
P-158.   IMG_3483 (Family photo, 7/29/2019)               ★
                                                          Cumulative
                                                          Prejudicial – 1 of 53
                                                          post-ablation photos.
P-159.   IMG_3484 (Family photo, 5/27/2019)               ★
                                                          Cumulative
                                                          Prejudicial – 1 of 53
                                                          post-ablation photos.
P-160.   IMG_3485(Family photo, 6/29/2019)                ★
                                                          Cumulative
                                                          Prejudicial – 1 of 53
                                                          post-ablation photos.
P-161.   IMG_3486 (Family photo, 5/30/2019)               ★
                                                          Cumulative
                                                          Prejudicial – 1 of 53
                                                          post-ablation photos.
P-162.   IMG_3488 (Family photo 9/26/2018)                ★
                                                          Cumulative
                                                          Prejudicial – 1 of 53
                                                          post-ablation photos.
P-163.   IMG_3796 (Family video, 2/13/2019)               ★
                                                          Cumulative
                                                          Prejudicial – 1 of 6
                                                          post-ablation videos.
P-164.   IMG_7728 (Family photo, 8/27/2017)               ★
                                                          Cumulative
                                                          Prejudicial – 1 of 53
                                                          post-ablation photos.
P-165.   IMG_7770 (Family photo, 8/28/2017)               ★

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                                                               Cumulative
                                                               Prejudicial – 1 of 53
                                                               post-ablation photos.
P-166.   IMG_8044 (Family photo, 9/28/2017)                    ★
                                                               Cumulative
                                                               Prejudicial – 1 of 53
                                                               post-ablation photos.
P-167.   IMG_8180 (Family photo 10/14/2017)                    ★
                                                               Cumulative
                                                               Prejudicial – 1 of 53
                                                               post-ablation photos.
P-168.   IMG_8926 (Family photo, 2/21/2018)                    ★
                                                               Cumulative
                                                               Prejudicial – 1 of 53
                                                               post-ablation photos.
P-169.   IMG_9277 (Family photo, 5/13/2018)                    ★
                                                               Cumulative
                                                               Prejudicial – 1 of 53
                                                               post-ablation photos.
P-170.   IMG_9723 (Family photo, 7/20/2018)                    ★
                                                               Cumulative
                                                               Prejudicial – 1 of 53
                                                               post-ablation photos.
P-171.   IMG_9742 (Family photo, 2019, 7/21/2018)              ★
                                                               Cumulative
                                                               Prejudicial – 1 of 53
                                                               post-ablation photos.
P-172.   IMG_9827 (Family photo, Spring 2019)                  ★
                                                               Cumulative
                                                               Prejudicial – 1 of 53
                                                               post-ablation photos.
P-173.   IMG_9880 (Family photo, 8/8/2018)                     ★
                                                               Cumulative
                                                               Prejudicial – 1 of 53
                                                               post-ablation photos.
P-174.   IMG_9899 (Family photo, 2019)                         ★
                                                               Cumulative
                                                               Prejudicial – 1 of 53
                                                               post-ablation photos.
P-175.   Loie imitating (jaundiced) Erika (Family photo, CNN   ★
         article, May 2018)                                    Cumulative
                                                               Prejudicial – 1 of 53
                                                               post-ablation photos,
                                                               and reference to CNN

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P-176.   Swollen Feet.HEIC (Swollen feet, May 2019)                ★
                                                                   Cumulative
                                                                   Prejudicial – 1 of 53
                                                                   post-ablation photos.
P-177.   Video 2 (Family video, May 1, 2018 10:55 PM)              Excluded under Rule
                                                                   403 see Court’s MIL
                                                                   Order (Doc. 409, No.
                                                                   13d).
P-178.   ZAK_NY 019440-43 Letters from Erika to Scott and          ★★
         Loie.                                                     (Defs’ MIL denied)
P-179.   ZAK_NY 019446 Erika’s list of symptoms.                   ★★
                                                                   (Defs’ MIL denied)
P-180.   ZAK_NY 019448 Erika’s poem.                               ★★
                                                                   (Defs’ MIL denied)
P-181.   Elena Nadia Petre & Constantinos Sofocleous, Thermal      ★
         Ablation in the Management of Colorectral Cancer          Requires foundation
         Patients with Oligometastatic Liver Disease, 33           FRE 803(18)
         VISCERAL MED. 62 (January 31, 2017).                      FRE 403
P-182.   M. Ang et al., Venous thrombosis following microwave      ★
         ablation of hepatocellular carcinoma and liver            Requires foundation
         metastases, 27:3 JVIR S30 (March 1, 2016).                FRE 803(18)
                                                                   FRE 403
P-183.   L. Crocetti, S.N. Goldberg et al, The ten commandments    ★
         of liver ablation: expert discussion and report from      Excluded see Court’s
         Mediterranean Interventional Oncology (MIOLive)           MIL Order (Doc.
         congress 2017, 22 Eur. Rev. for Med. &                    409, No. 15b)
         Pharmacological Sci. 3896 (2018).
P-184.   Petra Ruemmele et al, Secondary Sclerosing Cholangitis,   ★
         6 NATURE REVIEWS GASTROENTEROLOGY &                       Requires foundation
         HEPATOLOGY 287 (May 2009).                                FRE 803(18)
                                                                   FRE 403
P-185.   F. Edward Boas, Lisa Bode, and Constantinos               ★
         Sofocleous, Radioembolization of Colorectal Liver         Requires foundation
         Metastases: Indications, Technique, and Outcomes, 58:9    FRE 803(18)
         (Sup.2) J. NUCLEAR MED., 58:9, 104S (September 2017)      FRE 403
         (submitted March 16, 2017).
P-186.   A. Cercek et al., PD-1 Blockade in Mismatch Repair-    ★
         Deficient, Locally Advanced Rectal Cancer, 386:25 New. Irrelevant
         England. J. Med. 2363 (June 23, 2022).                 FRE 803(18)
                                                                FRE 403
P-187.   National Comprehensive Cancer Network (NCCN)           ★
         Guidelines Version 2.2017 Panel Members Colon Cancer Requires foundation
         (March 13, 2017).                                      FRE 803(18)
                                                                FRE 403

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P-188.   Skye Mayo, Thermal Ablative Therapies for Secondary       ★
         Hepatic Malignancies, 16:2 CANCER J. 111 (March 1,        Irrelevant
         2010).                                                    FRE 803(18)
                                                                   FRE 403
P-189.   Omid Khalilzadeh et al, Proposal of a New Adverse         ★
         Event Classification by the Society of Interventional     Irrelevant
         Radiology Standards of Practice Committee, 28 JVIR        Prejudicial
         1432 (2017) (submitted March 26, 2017).                   FRE 803(18)
                                                                   FRE 403
P-190.   Jashodeep, D., & Kemeny, N., Role of Hepatic Artery       ★
         Infusion Chemotherapy in Treatment of Initially           Requires foundation
         Unresectable Colorectal Liver Metastases A Review,        FRE 803(18)
         154:8 JAMA SURG 768, 769 (Aug. 2019).                     FRE 403
P-191.   Mikhail T. Silk, Constantinos Sofocleous et al,           ★
         Percutaneous Ablation of Peribiliary Tumors with          Requires foundation
         Irreversible Electroporation, 25:1 J. VASCULAR &          FRE 803(18)
         INTERVENTIONAL RADIOLOGY 112 (January 2014).              FRE 403
P-192.   Jason Lewis, Pathological Patterns of Biliary Disease,    ★
         10:5 CLINICAL LIVER DISEASE 107 (Nov. 2017).              Requires foundation
                                                                   FRE 803(18)
                                                                   FRE 403
P-193.   Kyung Rae Kim & Sarah Thomas, Complications of            ★
         Image-Guided Thermal Ablations of Liver and Kidney        Requires foundation
         Neoplasms, 31 SEMINARS INTERVENTIONAL RADIOLOGY           FRE 803(18)
         138 (June 2014).                                          FRE 403
P-194.   Bethesda, Floxuridine, LiverTox: Clinical and Research    ★
         Information on Drug-Induced Liver Injury, NAT’L INST.     Irrelevant
         DIABETES & DIGESTIVE & KIDNEY DISEASES (Feb. 2,           FRE 803(18)
         2018).                                                    FRE 403
P-195.   Jashodeep Datta & Nancy E. Kemeny et al, Role of          ★
         Hepatic Artery Infusion Chemotherapy in Treatment of      Requires foundation
         Initially Unresectable Colorectal Liver Metastases,       FRE 803(18)
         154:8 JAMA SURGERY 768 (August 2009).                     FRE 403
P-196.   Julie Leal & T. Peter Kingham, Hepatic Artery Infusion    ★
         Chemo for Liver Malignancy, 24 SURGICAL ONCOLOGY          Requires foundation
         CLINICS NORTH AM. 121 (2015).                             FRE 803(18)
                                                                   FRE 403
P-197.   I. Kurilova, Nancy Kemeny, Constantinos Sofocleous et     ★
         al., Radiation segmentectomy of hepatic metastases with   Irrelevant (standard
         Y-90 glass microspheres, 46 Abdominal Radiology 3428      of care in 2017)
         (February 19, 2021).                                      FRE 803(18)
                                                                   FRE 403
P-198.   W. Shady, Constantinos Sofocleous et al, Percutaneous     ★
         Microwave versus Radiofrequency Ablation of Colon

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         Cancer Liver Metastases: Ablation with clear margins        Irrelevant (standard
         (A0) provides the best local tumor control, 29 JVIR 268     of care in 2017)
         (Feb. 2018).                                                FRE 803(18)
                                                                     FRE 403
P-199.   Marco Dollinger et al, Irreversible Electroporation of      ★
         Malignant Hepatic Tumors - Alterations in Venous            Requires foundation
         Structures at Subacute Follow-Up and Evolution at Mid-      FRE 803(18)
         Term Follow-Up, 10:8 PLOS ONE (August 13, 2015).            FRE 403
P-200.   T Peter Kingham, Ronald P DeMatteo, Constantinos T          ★
         Sofocleous et al, Ablation of Perivascular Hepatic          Requires foundation
         Malignant Tumors with Irreversible Electroporation,         FRE 803(18)
         215:3 J. AM. COLLEGE SURGEONS 379 (Sep. 2012).              FRE 403
P-201.   W.Y. Lau et al., Anatomy of the Hepatic Hilum, Hilar        ★
         Cholangiocarinoma (2013).                                   Requires foundation
                                                                     FRE 803(18)
                                                                     FRE 403
P-202.   William C Jackson et al, Comparison of Stereotactic         ★
         Body Radiation Therapy and Radiofrequency Ablation in       Irrelevant
         the Treatment of Intrahepatic Metastases, 100:4             FRE 803(18)
         INTERNATIONAL JOURNAL OF RADIATION ONOCOLOGY,               FRE 403
         BIOLOGY, PHYSICS 950 (March 15, 2018).
P-203.   Russel C. Langan, Ronald P. DeMatteo et al, Recurrence      ★
         Patterns Following Irreversible Electroporation for         Irrelevant
         Hepatic Malignancies, 115:6 J. SURGICAL ONCOLOGY            FRE 803(18)
         704 (May 2017).                                             FRE 403
P-204.   Alice Gillams, Nahum Goldberg, Constantinos                 ★
         Sofocleous et al, Thermal ablation of colorectal liver      Requires foundation
         metastases: a position paper by an international panel of   FRE 803(18)
         ablation experts, the interventional oncology sans          FRE 403
         frontières meeting 2013, 25:12 EUROPEAN RADIOLOGY
         3438 (December 2015).
P-205.   Roberto Iezzi et al, “Primum Non Nocere” in               ★
         Interventional Oncology for Liver Cancer: How to          Irrelevant
         Reduce the Risk for Complications?, 10:9 LIFE 2020 180    FRE 803(18)
         (September 6, 2020).                                      FRE 403
P-206.   Nancy Kemeny, Constantinos Sofocleous et al, Liver-       ★
         Directed and Systemic Therapies for Colorectal Cancer     Irrelevant (to
         Liver Metastases, 42:1 CARDIOVASCULAR &                   standard of care in
         INTERVENTIONAL RADIOLOGY (July 2019).                     2017)
                                                                   FRE 803(18)
                                                                   FRE 403
P-207.   MP Senthilkumar et al, Management of pseudo-aneurysm ★
         in the hepatic artery after laparoscopic cholecystectomy, Requires foundation
         98:7 ANNALS THE ROYAL COLLEGE SURGEONS OF                 FRE 803(18)
         ENGLAND 456 (September 2016).                             FRE 403
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P-208.   ACR–SIR–SPR PRACTICE PARAMETER ON                         ★
         INFORMED CONSENT FOR IMAGE-GUIDED                         Irrelevant
         PROCEDURES, American College of Radiology (2021).         FRE 803(18)
                                                                   FRE 403
P-209.   Andreas H. Mahnken et al, CIRSE Clinical Practice         ★
         Manual, 44 CARDIOVASCULAR & INTERVENTIONAL                Irrelevant
         RADIOLOGY 1323 (July 6, 2021).                            FRE 803(18)
                                                                   FRE 403
P-210.   Samuel L. Rice, Constantinos Sofocleous et al, The        ★
         Management of Colorectal Cancer Liver Metastases:         Irrelevant (to
         The Interventional Radiology Viewpoint, 103:3 INT’L J.    standard of care in
         RADIATION ONCOLOGY BIOLOGY PHYSICS 537 (March 1,          2017)
         2019).                                                    FRE 803(18)
                                                                   FRE 403
P-211.   William J. Shae, Jr. et al, Sclerosing Cholangitis        ★
         Associated with Hepatic Arterial FUDR: Radiographic       Requires foundation
         Histologic Correlation, 146:4 Am. Research J. 717         FRE 803(18)
         (April 1986).                                             FRE 403
P-212.   Akira Kusakabe et al, Chemotherapy-Induced Sclerosing     ★
         Cholangitis Caused by Systemic Chemotherapy, 6:7          Requires foundation
         ACG CASE REPORTS J. (July 2019).                          FRE 803(18)
                                                                   FRE 403
P-213.   Subhendu Mohanty, Emergency hepatic artery                ★
         embolization in a patient with post-traumatic ruptured    Requires foundation
         hepatic artery pseudoaneurysm, 7:3 J. EMERGENCY,          FRE 803(18)
         TRAUMA               &             SHOCK              246,FRE 403
         https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4126131
         /
P-214.   Kyle J. Napier et al, Hepatic Arterial Infusion Pumps: ★
         What the Radiologist Needs to Know, 41 RADIOLOGICAL Irrelevant
         SOCIETY N. AM. 895 (2021).                                 FRE 803(18)
                                                                    FRE 403
P-215.   Kaori Ito, et al, Biliary Sclerosis after Hepatic Arterial ★
         Infusion Pump Chemotherapy for Patients with Colorectal Requires foundation
         Cancer Liver Metastasis: Incidence, Clinical Features, and FRE 803(18)
         Risk Factors, 19 Annals Surgical Oncology 1609 (2012).” FRE 403
P-216.   Dr. Rakesh Navuluri’s curriculum vitae.                    ★
                                                                    Hearsay
                                                                    Cumulative
                                                                    Waste of time
P-217.   Radiological images used in Dr. Rakesh Navuluri’s          ★
         report pages 9–14, 17.                                     Needs proper expert
                                                                    testimony
P-218.   Dr. Ronald DeMatteo’s curriculum vitae.                    ★

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                                                                   Hearsay
                                                                   Cumulative
                                                                   Waste of time
P-219.   Radiological images and medical records used in Dr.       Images and medical
         Ronald DeMatteo’s report pages 14–15, Exhibit C,          records (overbroad
         Exhibit I and Exhibit J.                                  and not specific)
                                                                   Exhibit I Emprint
                                                                   (Irrelevant,
                                                                   misleading and
                                                                   prejudicial)
                                                                   Exhibit J (needs
                                                                   proper expert
                                                                   testimony)

P-220.   Dr. Fergus Coakley’s curriculum vitae.                    ★
                                                                   Hearsay
                                                                   Cumulative
                                                                   Waste of time
P-221.   Radiological images used in Dr. Fergus Coakley’s report   ★
         pages 2–4.                                                Needs proper expert
                                                                   testimony
P-222.   Dr. Manon Shah’s curriculum vitae.                        ★
                                                                   Hearsay
                                                                   Cumulative
                                                                   Waste of time
P-223.   Stan Smith’s curriculum vitae.                            ★
                                                                   Hearsay
                                                                   Cumulative
                                                                   Waste of time
P-224.   ZAK_NY 000042–73, OHSU, 6/1/2018, Dr's Note.              ★
                                                                   Redact – 053 and 066
                                                                   – “In contact with
                                                                   CNN for upcoming
                                                                   profile in mid-May.”
                                                                   Under Rule 403. See
                                                                   Court’s MIL Order
                                                                   (Doc. 409, No. 17a).
P-225.   ZAK_NY 000095–108, OHSU, 5/26/2018, Record for            ★★
         admission for cholangitis (pt 1).
P-226.   ZAK_NY 000593–604, OHSU, 5/12/2018, Record for            ★★
         admission for cholangitis (pt 1).
P-227.   ZAK_NY 000593–604, OHSU, 4/22/2018, Record for            ★★
         admission for cholangitis (pt 1).



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P-228.   ZAK_NY 000799–820, OHSU, 4/2/2018, IR Procedure      ★★
         w/some bleeding and embolic coils extracted during
         drain exchange (pt 1).
P-229.   ZAK_NY 001000–03, OHSU, 3/19/2018, Mayo Letter.      ★
                                                              Redact – 1003 – “and
                                                              she would likely have
                                                              complete cure of her
                                                              disease.” – see
                                                              Court’s MIL Order
                                                              (Doc. 409, No. 8).
P-230.   ZAK_NY 001004–07, OHSU, 3/15/2018,                   ★★
         Gastrointestinal Consult.
P-231.   ZAK_NY 001019–22, OHSU, 3/14/2018, Dr. Lopez         ★
         Letter.                                              Exclude if Drs.
                                                              DeMatteo and
                                                              Kemeny transplant
                                                              letters are excluded
P-232.   ZAK_NY 001050–82, OHSU, 3/7/2018,                    ★★
         Hepatology/Oncology progress note.
P-233.   ZAK_NY 001090–114, OHSU, 2/26/2018, Surgical Note    ★★
         - Esophagogastroduodenoscopy (pt 1).
P-234.   ZAK_NY 001763–840, OHSU, 2/5/2018, Admission for     ★★
         infected biloma and drain exchange (pt 1).
P-235.   ZAK_NY 001992–2046, OHSU, 1/30/2018, black tarry     ★★
         stool - esophageal varix (pt 1).
P-236.   ZAK_NY 002446–98, OHSU, 1/13/2018, ER for            ★★
         digested blood in stool (pt 1).
P-237.   ZAK_NY 002891–923, OHSU, 12/27/2017, Hematology      ★★
         follow up, PMS2 and MSH2 loss.
P-238.   ZAK_NY 003040–49, OHSU, 12/14/2017, Tumor board      ★★
         says no surgical options or IR options.
P-239.   ZAK_NY 003050–76, OHSU, 12/14/2017, Endoscopic       ★★
         procedure, colonoscopy.
P-240.   ZAK_NY 003177–212, OHSU, 12/6/2017, Surgical         ★★
         Oncology Office Visit, Dr. Skye Mayo Letter.
P-241.   ZAK_NY 003245, OHSU, 12/5/2017, Labs (2).            ★★
P-242.   ZAK_NY 003383–443, OHSU, 11/15/2017, Admission       ★★
         for biliary drain check and exchange.
P-243.   ZAK_NY 003875–921, OHSU, 10/3/2017, Pain Center.     ★★
P-244.   ZAK_NY 004059–112, OHSU, 9/21/2017, Left and         ★★
         Right Biliary Exchange Due to Occlusion.
P-245.   ZAK_NY 004135–43, OHSU, 9/9/2017, Erika Question     ★★
         - Bleeding from drain, nose, gums.
P-246.   ZAK_NY 004318–35, OHSU, 9/5/2017, New Right          ★★
         sided Drain (pt 1).
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P-247.   ZAK_NY 004628–90, OHSU, 9/1/2017, ER Visit -             ★★
         bleeding in drain but no admission.
P-248.   ZAK_NY 004706–40, OHSU, 9/1/2017, Biliary Drain          ★★
         Removal.
P-249.   ZAK_NY 004806–44, OHSU, 8/30/2017, Surgical              ★★
         Oncology Office Visit.
P-250.   ZAK_NY 004946–54, OHSU, 8/17/2017, ER Visit for          ★★
         abdominal pressure, jaundice, and drain issues (pt 1).
P-251.   ZAK_NY 005126–39, OHSU, 8/16/2017, Surgical              ★★
         Oncology - Office Visit.
P-252.   ZAK_NY 005152–203, OHSU, 8/14/2017, ERCP Stent           ★★
         placed.
P-253.   ZAK_NY 005268–81, OHSU, 8/7/2017, PET Scan.              ★★
P-254.   ZAK_NY 005379–90, OHSU, 7/27/2017, Infection from        ★★
         pump removal surgery (pt 1).
P-255.   ZAK_NY 005559–65, OHSU, 7/26/2017, Bleeding after        ★★
         removal of Pump surgery.
P-256.   ZAK_NY 005614–31, OHSU, 7/24/2017, Removal of            ★★
         Hepatic Arterial Infusion Pump (pt 1).
P-257.   ZAK_NY 005745–818, OHSU, 7/12/2017, Surgical             ★★
         oncologist - Office Visit.
P-258.   ZAK_NY 005871–903, OHSU, 7/4/2017, Hepatic artery        ★★
         bleed embolized (pt 1).
P-259.   ZAK_NY 006302–12, OHSU, 6/22/2017, Erika calls           ★★
         doctor over GI concern.
P-260.   ZAK_NY 006737–53, OHSU, 6/6/2017, IR - Getting her       ★★
         drain checked.
P-261.   ZAK_NY 006758–63, OHSU, 6/5/2017, Infectious             ★★
         Disease Note.
P-262.   ZAK_NY 006910–13, OHSU, 5/16/2017, Called                ★★
         Oncologist about symptoms.
P-263.   ZAK_NY 006943–81, OHSU, 5/10/2017, Surgical              ★★
         oncology - Office Visit.
P-264.   ZAK_NY 007039–42, OHSU, 4/18/2017, Difficult post        ★★
         procedure recovery.
P-265.   ZAK_NY 007096–157, OHSU, 4/4/2017, ER for fever,         ★★
         discharged from ER.
P-266.   ZAK_NY 007252–53, OHSU, 3/24/2017, Labs.                 ★★
P-267.   ZAK_NY 008882–84, OHSU, 4/22/2016, High fever but        ★★
         declines ER.
P-268.   ZAK_NY 008885–933, OHSU, 4/21/2016, ER - fever,          ★★
         heart racing, Discharged with CT.
P-269.   ZAK_NY 009426–33, OHSU, 7/1/2019, Hematology/            ★★
         Oncology History.


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P-270.   ZAK_NY 009710–17, OHSU, records until 7/1/2019,      ★★
         Oncology Treatment (pt 1).
P-271.   ZAK_NY 009870, OHSU, 5/4/2014, 6/3/2014, 9/1/2015,   ★★
         Labs.
P-272.   ZAK_NY 009966–67, MSK, 9/11/2014–9/19/2014,          ★★
         Hospital admission.
P-273.   ZAK_NY 010034–42, OHSU, 9/15/2015, CT sent to        ★★
         OHSU from MSKCC - cancer the same.
P-274.   ZAK_NY 010096–7, MSK, 7/30/2014, CT guided liver     ★★
         angiography.
P-275.   ZAK_NY 001763–840, OHSU, 2/16/2018, Admission        ★★
         for infected biloma and drain exchange (pt 1).
P-276.   ZAK_NY 010447–79, OHSU, 5/16/2017 ER visit and       ★★
         Hospital Admission (pt 1).
P-277.   ZAK_NY 011701–02, MSK, 4/21/2017, Culture on         ★★
         abdominal fluid - Infection.
P-278.   ZAK_NY 011722–28, MSK, 4/14/2017, Labs - Very        ★★
         high liver levels and low red blood cells.
P-279.   ZAK_NY 011750–61, MSK, 4/12/2017, Labs - very high   ★★
         liver levels.
P-280.   ZAK_NY 011763, MSK, 4/11/2017, Labs - Hepatitis.     ★★
P-281.   ZAK_NY 011880, MSK, 3/23/2016, Labs.                 ★★
P-282.   ZAK_NY 011878, MSK, 3/23/2016, Labs.                 ★★
P-283.   ZAK_NY 011974–77, MSK, 9/15/2014–9/18/2014,          ★★
         Labs.
P-284.   ZAK_NY 011979–82, MSK, 9/11/2014–9/14/2014,          ★★
         Labs.
P-285.   ZAK_NY 011987–9, MSK, 9/10/2014, Labs.               ★★
P-286.   ZAK_NY 012000, MSK, 7/30/2014, Labs.                 ★★
P-287.   ZAK_NY 012024, MSK, 4/21/2017, Consent - surgery     ★
         on catheter.                                         Irrelevant (informed
                                                              consent)
P-288.   ZAK_NY 012039, MSK, 4/13/2017, Consent -             ★
         thoracentesis.                                       Irrelevant (informed
                                                              consent)
P-289.   ZAK_NY 012041, MSK, 4/14/2017, Consent -             ★
         paracentesis.                                        Irrelevant (informed
                                                              consent)
P-290.   ZAK_NY 012043, MSK, 4/10/2017, Consent - biopsy      ★
         and ablation.                                        Irrelevant (informed
                                                              consent)
                                                              Misleading
                                                              Prejudicial
P-291.   ZAK_NY 012062, MSK, 3/22/2017, Consent Ablation.     ★★
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P-292.   ZAK_NY 011972, MSK, 9/19/2014, Labs.        ★★
P-293.   ZAK_NY 011959, MSK, 9/24/2014, Labs.        ★★
P-294.   ZAK_NY 011954, MSK, 10/22/2014, Labs.       ★★
P-295.   ZAK_NY 011949, MSK, 11/19/2014, Labs.       ★★
P-296.   ZAK_NY 011941, MSK, 2/4/2015, Labs.         ★★
P-297.   ZAK_NY 011938, MSK, 4/1/2015, Labs.         ★★
P-298.   ZAK_NY 011933, MSK, 4/29/2015, Labs.        ★★
P-299.   ZAK_NY 011927, MSK, 5/27/2015, Labs.        ★★
P-300.   ZAK_NY 011923, MSK, 6/24/2015, Labs.        ★★
P-301.   ZAK_NY 011917, MSK, 7/22/2015, Labs.        ★★
P-302.   ZAK_NY 011915, MSK, 8/19/2015, Labs.        ★★
P-303.   ZAK_NY 011911, MSK, 9/16/2015, Labs.        ★★
P-304.   ZAK_NY 011905, MSK, 10/14/2015, Labs.       ★★
P-305.   ZAK_NY 011902, MSK, 11/18/2015, Labs.       ★★
P-306.   ZAK_NY 009610, OHSU, 12/2/2015, Labs.       ★★
P-307.   ZAK_NY 009585, OHSU, 12/8/2015, Labs.       ★★
P-308.   ZAK_NY 011898, MSK, 12/21/2015, Labs.       ★★
P-309.   ZAK_NY 009532 OHSU, 12/29/2015, Labs.       ★★
P-310.   ZAK_NY 009440, OHSU, 1/12/2016, Labs.       ★★
P-311.   ZAK_NY 011894, MSK, 1/27/2016, Labs.        ★★
P-312.   ZAK_NY 009393, OHSU, 1/29/2016, Labs.       ★★
P-313.   ZAK_NY 009260, OHSU, 2/12/2016, Labs.       ★★
P-314.   ZAK_NY 011891, MSK, 2/21/2016, Labs.        ★★
P-315.   ZAK_NY 009175, OHSU, 2/26/2016, Labs.       ★★
P-316.   ZAK_NY 009103, OHSU, 3/10/2016, Labs.       ★★
P-317.   ZAK_NY 011885, MSK, 3/21/2016, Labs.        ★★
P-318.   ZAK_NY 011876, MSK, 3/24/2016, Labs.        ★★
P-319.   ZAK_NY 011875, MSK, 3/23/2016, Labs (3).    ★★
P-320.   ZAK_NY 011873, MSK, 3/25/2016, Labs (3).    ★★
P-321.   ZAK_NY 011871, MSK, 3/25/2016, Labs (2).    ★★
P-322.   ZAK_NY 011864–5, MSK, 3/25/2016, Labs.      ★★
P-323.   ZAK_NY 011861, MSK, 3/26/2016, Labs.        ★★
P-324.   ZAK_NY 011859, MSK, 3/27/2016, Labs.        ★★
P-325.   ZAK_NY 011870, MSK, 3/28/2016, Labs.        ★★
P-326.   ZAK_NY 011868, MSK, 3/29/2016, Labs.        ★★
P-327.   ZAK_NY 011851–2, MSK, 4/1/2016, Labs.       ★★
P-328.   ZAK_NY 011843, MSK, 4/6/2016, Labs.         ★★
P-329.   ZAK_NY 008950, OHSU, 4/20/2016, Labs.       ★★
P-330.   ZAK_NY 008909, OHSU, 4/21/2016, Labs.       ★★
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P-331.   ZAK_NY 008767, MSK, 4/27/2016, Labs.        ★★
P-332.   ZAK_NY 008832, OHSU, 4/29/2016, Labs.       ★★
P-333.   ZAK_NY 008741, OHSU, 5/13/2016, Labs.       ★★
P-334.   ZAK_NY 011832, MSK, 5/25/2016, Labs.        ★★
P-335.   ZAK_NY 008649, OHSU, 5/27/2016, Labs.       ★★
P-336.   ZAK_NY 008524, OHSU, 6/10/2016, Labs.       ★★
P-337.   ZAK_NY 011824, MSK, 6/22/2016, Labs.        ★★
P-338.   ZAK_NY 008502, OHSU, 6/24/2016, Labs.       ★★
P-339.   ZAK_NY 008412, OHSU, 7/8/2016, Labs.        ★★
P-340.   ZAK_NY 011820, MSK, 7/20/2016, Labs.        ★★
P-341.   ZAK_NY 008375, OHSU, 7/20/2016, Labs.       ★★
P-342.   ZAK_NY 008365, OHSU, 7/22/2016, Labs.       ★★
P-343.   ZAK_NY 008308, OHSU, 8/3/2016, Labs.        ★★
P-344.   ZAK_NY 011817, MSK, 8/17/2016, Labs.        ★★
P-345.   ZAK_NY 011810–1, MSK, 8/30/2016, Labs.      ★★
P-346.   ZAK_NY 008235, OHSU, 9/9/2016, Labs.        ★★
P-347.   ZAK_NY 008178, OHSU, 9/23/2016, Labs.       ★★
P-348.   ZAK_NY 011796, MSK, 10/5/2016, Labs.        ★★
P-349.   ZAK_NY 008069, OHSU, 10/7/2016, Labs.       ★★
P-350.   ZAK_NY 007986, OHSU, 10/21/2016, Labs.      ★★
P-351.   ZAK_NY 007905, OHSU, 11/4/2016, Labs.       ★★
P-352.   ZAK_NY 007856, OHSU, 11/16/2016, Labs.      ★★
P-353.   ZAK_NY 007829, OHSU, 11/18/2016, Labs.      ★★
P-354.   ZAK_NY 011793, MSK, 11/29/2016, Labs.       ★★
P-355.   ZAK_NY 007810, OHSU, 12/2/2016, Labs.       ★★
P-356.   ZAK_NY 007738, OHSU, 12/16/2016, Labs.      ★★
P-357.   ZAK_NY 007695, OHSU, 12/30/2016, Labs.      ★★
P-358.   ZAK_NY 007649, OHSU, 1/13/2017, Labs.       ★★
P-359.   ZAK_NY 007624–5, OHSU, 1/24/2017, Labs.     ★★
P-360.   ZAK_NY 007614, OHSU, 1/27/2017, Labs.       ★★
P-361.   ZAK_NY 007527, OHSU, 2/2/2017, Labs.        ★★
P-362.   ZAK_NY 007511, OHSU, 2/10/2017, Labs.       ★★
P-363.   ZAK_NY 007448, OHSU, 2/17/2017, Labs.       ★★
P-364.   ZAK_NY 007396, OHSU, 2/24/2017, Labs.       ★★
P-365.   ZAK_NY 007325, OHSU, 3/10/2017, Labs.       ★★
P-366.   ZAK_NY 011777, MSK, 3/22/2017, Labs.        ★★
P-367.   ZAK_NY 011781, MSK, 3/22/2017, Labs (2).    ★★
P-368.   ZAK_NY 007253, OHSU, 3/24/2017, Labs (2).   ★★

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P-369.   ZAK_NY 007104–6, OHSU, 4/4/2017, ER Visit – Fever         ★★
         chief complaint – considered sepsis and did not require
         hospitalization, Labs.
P-370.   ZAK_NY 011774, MSK, 4/10/2017, Labs.                      ★★
P-371.   ZAK_NY 011772, MSK, 4/11/2017, Labs.                      ★★
P-372.   ZAK_NY 011768–9, MSK, 4/11/2017, Labs (2).                ★★
P-373.   ZAK_NY 011754, MSK, 4/12/2017, Labs.                      ★★
P-374.   ZAK_NY 011743–4, MSK, 4/13/2017, Labs.                    ★★
P-375.   ZAK_NY 011724–5, MSK, 4/14/2017, Labs.                    ★★
P-376.   ZAK_NY 011717–8, MSK, 4/15/2017, Labs.                    ★★
P-377.   ZAK_NY 011713–4, MSK, 4/16/2017, Labs.                    ★★
P-378.   ZAK_NY 011707, MSK, 4/17/2017, Labs.                      ★★
P-379.   ZAK_NY 011710, MSK, 4/17/2017, Labs (2).                  ★★
P-380.   ZAK_NY 011703, MSK, 4/18/2017, Labs.                      ★★
P-381.   ZAK_NY 011705, MSK, 4/18/2017, Labs (2).                  ★★
P-382.   ZAK_NY 011694–5, MSK, 4/21/2017, Labs.                    ★★
P-383.   ZAK_NY 011688–9, MSK, 4/22/2017, Labs.                    ★★
P-384.   ZAK_NY 011683, MSK, 4/23/2017, Labs.                      ★★
P-385.   ZAK_NY 011685, MSK, 4/23/2017, Labs (2).                  ★★
P-386.   ZAK_NY 011680, MSK, 4/24/2017, Labs.                      ★★
P-387.   ZAK_NY 011675, MSK, 4/25/2017, Labs.                      ★★
P-388.   ZAK_NY 011677, MSK, 4/25/2017, Labs (2).                  ★★
P-389.   ZAK_NY 011673, MSK, 4/26/2017, Labs.                      ★★
P-390.   ZAK_NY 011598, MSK, 4/28/2017, Labs.                      ★★
P-391.   ZAK_NY 011670, MSK, 4/28/2017, Labs.                      ★★
P-392.   ZAK_NY 011593, MSK, 4/29/2017, Labs.                      ★★
P-393.   ZAK_NY 011661, MSK, 4/29/2017, Labs.                      ★★
P-394.   ZAK_NY 011603, MSK, 4/29/2017, Labs.                      ★★
P-395.   ZAK_NY 011590, MSK, 4/30/2017, Labs.                      ★★
P-396.   ZAK_NY 011605, MSK, 4/30/2017, Labs.                      ★★
P-397.   ZAK_NY 011656, MSK, 4/30/2017, Labs.                      ★★
P-398.   ZAK_NY 011594, MSK, 5/1/2017, Labs.                       ★★
P-399.   ZAK_NY 011608, MSK, 5/1/2017, Labs.                       ★★
P-400.   ZAK_NY 011614, MSK, 5/2/2017, Labs.                       ★★
P-401.   ZAK_NY 011609, MSK, 5/3/2017, Labs.                       ★★
P-402.   ZAK_NY 011643, MSK, 5/3/2017, Labs.                       ★★
P-403.   ZAK_NY 006987, OHSU, 5/10/2017, Labs.                     ★★
P-404.   ZAK_NY 010475–6, OHSU, 5/16/2017, Labs - Per MD           ★★
         note, missing lab form.
P-405.   ZAK_NY 010755, OHSU, 5/17/2017, Labs.                     ★★
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P-406.   ZAK_NY 010758–9, OHSU, 5/17/2017, Labs (2).                 ★★
P-407.   ZAK_NY 010782, OHSU, 5/18/2017, Labs.                       ★★
P-408.   ZAK_NY 010786, OHSU, 5/18/2017, Labs (2).                   ★★
P-409.   ZAK_NY 010789, OHSU, 5/19/2017, Labs.                       ★★
P-410.   ZAK_NY 010808–9, OHSU, 5/20/2017, Labs.                     ★★
P-411.   ZAK_NY 010836–7, OHSU, 5/21/2017, Labs.                     ★★
P-412.   ZAK_NY 010887, OHSU, 5/22/2017, Labs.                       ★★
P-413.   ZAK_NY 010927, OHSU, 5/23/2017, Labs.                       ★★
P-414.   ZAK_NY 010934, OHSU, 5/24/2017, Labs.                       ★★
P-415.   ZAK_NY 010948, OHSU, 5/25/2017, Labs.                       ★★
P-416.   ZAK_NY 010961, OHSU, 5/26/2017, Labs.                       ★★
P-417.   ZAK_NY 010977, OHSU, 5/27/2017, Labs.                       ★★
P-418.   ZAK_NY 010984, OHSU, 5/28/2017, Labs.                       ★★
P-419.   ZAK_NY 010080, MSK, 9/11/2014, Surgery:                     ★★
         Cholecystectomy (Gallbladder removal), Liver &
         peritoneal biopsies, BSO, Right hemicolectomy
P-420.   UNOS p49-51/207, UNOS, 3/24/2016; 10/2016–3/2017;           ★
         4/10/2017; 7/20/2019, Partial right hepatectomy,            Hearsay within
         Ablations in segment 2 and 8, lysis of adhesions; Hepatic   hearsay
         Arterial Infusion Pump therapy with FOLFIRI x 13;           Prejudicial in accord
         Ablation of new liver lesions; Initial MELD Exception       with Court’s MIL
                                                                     Order (Doc. 409, No.
                                                                     11).
P-421.   ZAK_NY 010992, OHSU, 5/29/2017, Labs.                       ★★
P-422.   ZAK_NY 010995, OHSU, 5/29/2017, Labs (2).                   ★★
P-423.   ZAK_NY 011004, OHSU, 5/30/2017, Labs.                       ★★
P-424.   ZAK_NY 011012, OHSU, 5/31/2017, Labs.                       ★★
P-425.   ZAK_NY 011089, OHSU, 6/1/2017, Labs.                        ★★
P-426.   ZAK_NY 011104, OHSU, 6/2/2017, Labs.                        ★★
P-427.   ZAK_NY 011116, OHSU, 6/3/2017, Labs.                        ★★
P-428.   ZAK_NY 006694, OHSU, 6/6/2017, Labs.                        ★★
P-429.   ZAK_NY 006551, OHSU, 6/12/2017, Labs.                       ★★
P-430.   ZAK_NY 006555, OHSU, 6/12/2017, Labs (2).                   ★★
P-431.   ZAK_NY 006336, OHSU, 6/21/2017, Labs.                       ★★
P-432.   ZAK_NY 006277, OHSU, 6/26/2017, Labs.                       ★★
P-433.   ZAK_NY 005972–3, OHSU, 7/4/2017, Labs.                      ★★
P-434.   ZAK_NY 005997–8, OHSU, 7/4/2017, Labs (2).                  ★★
P-435.   ZAK_NY 006002–4, OHSU, 7/5/2017, Labs (4).                  ★★
P-436.   ZAK_NY 006007–8, OHSU, 7/5/2017, Labs (3).                  ★★
P-437.   ZAK_NY 006011, OHSU, 7/5/2017, Labs.                        ★★

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P-438.   ZAK_NY 006013, OHSU, 7/5/2017, Labs (2).     ★★
P-439.   ZAK_NY 006018–9, OHSU, 7/6/2017, Labs.       ★★
P-440.   ZAK_NY 006023–4, OHSU, 7/7/2017, Labs.       ★★
P-441.   ZAK_NY 005827, OHSU, 7/11/2017, Labs.        ★★
P-442.   ZAK_NY 005577, OHSU, 7/25/2017, Labs.        ★★
P-443.   ZAK_NY 005420–1, OHSU, 7/27/2017, Labs.      ★★
P-444.   ZAK_NY 005257, OHSU, 8/7/2017, Labs.         ★★
P-445.   ZAK_NY 005156, OHSU, 8/14/2017, Labs.        ★★
P-446.   ZAK_NY 005119, OHSU, 8/16/2017, Labs.        ★★
P-447.   ZAK_NY 005094, OHSU, 8/17/2017, Labs.        ★★
P-448.   ZAK_NY 004983, OHSU, 8/18/2017, Labs.        ★★
P-449.   ZAK_NY 004986, OHSU, 8/18/2017, Labs (2).    ★★
P-450.   ZAK_NY 004988, OHSU, 8/19/2017, Labs.        ★★
P-451.   ZAK_NY 004990, OHSU, 8/20/2017, Labs.        ★★
P-452.   ZAK_NY 004927, OHSU, 8/23/2017, Labs.        ★★
P-453.   ZAK_NY 004865, OHSU, 8/25/2017, Labs.        ★★
P-454.   ZAK_NY 004858, OHSU, 8/28/2017, Labs.        ★★
P-455.   ZAK_NY 004820, OHSU, 8/30/2017, Labs.        ★★
P-456.   ZAK_NY 004658, OHSU, 9/1/2017, Labs.         ★★
P-457.   ZAK_NY 004386, OHSU, 9/5/2017, Labs.         ★★
P-458.   ZAK_NY 004443, OHSU, 9/6/2017, Labs.         ★★
P-459.   ZAK_NY 004452, OHSU, 9/7/2017, Labs.         ★★
P-460.   ZAK_NY 004454, OHSU, 9/8/2017, Labs.         ★★
P-461.   ZAK_NY 004276, OHSU, 9/12/2017, Labs.        ★★
P-462.   ZAK_NY 004154–5, OHSU, 9/18/2017, Labs.      ★★
P-463.   ZAK_NY 004127, OHSU, 9/19/2018, Labs.        ★★
P-464.   ZAK_NY 004043, OHSU, 9/27/2017, Labs.        ★★
P-465.   ZAK_NY 003858–9, OHSU, 10/3/2017, Labs.      ★★
P-466.   ZAK_NY 003762–3, OHSU, 10/18/2017, Labs.     ★★
P-467.   ZAK_NY 003703–4, OHSU, 10/24/2017, Labs.     ★★
P-468.   ZAK_NY 003602, OHSU, 11/1/2017, Labs.        ★★
P-469.   ZAK_NY 003477–9, OHSU, 11/14/2017, Labs.     ★★
P-470.   ZAK_NY 003338, OHSU, 11/21/2017, Labs.       ★★
P-471.   ZAK_NY 003243, OHSU, 12/5/2017, Labs.        ★★
P-472.   ZAK_NY 003100, OHSU, 12/11/2017, Labs.       ★★
P-473.   ZAK_NY 003103, OHSU, 12/11/2017, Labs (2).   ★★
P-474.   ZAK_NY 002976, OHSU, 12/16/2017, Labs.       ★★
P-475.   ZAK_NY 015854, CC, 12/18/2017, Labs.         ★★
P-476.   ZAK_NY 015857, CC, 12/18/2017, Labs (2).     ★★
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P-477.   ZAK_NY 002867, OHSU, 12/27/2017, Labs.              ★★
P-478.   ZAK_NY 002869, OHSU, 12/27/2017, Labs (2).          ★★
P-479.   ZAK_NY 002551, OHSU, 1/13/2018, Labs.               ★★
P-480.   ZAK_NY 002545, OHSU, 1/13/2018, Labs (2).           ★★
P-481.   ZAK_NY 002383, OHSU, 1/17/2018, Labs.               ★★
P-482.   ZAK_NY 002278, OHSU, 1/30/2018, Labs.               ★★
P-483.   ZAK_NY 002117–8, OHSU, 1/31/2018, Labs.             ★★
P-484.   ZAK_NY 002129, OHSU, 2/1/2018, Labs.                ★★
P-485.   ZAK_NY 001865, OHSU, 2/5/2018, Labs.                ★★
P-486.   ZAK_NY 001877, OHSU, 2/5/2018, Labs (2).            ★★
P-487.   ZAK_NY 001882, OHSU, 2/6/2018, Labs.                ★★
P-488.   ZAK_NY 001707, OHSU, 2/7/2018, Labs.                ★★
P-489.   ZAK_NY 001582, OHSU, 2/14/2018, Labs.               ★★
P-490.   ZAK_NY 010224, OHSU, 2/17/2018, Labs.               ★★
P-491.   ZAK_NY 010218, OHSU, 2/17/2018, Labs (2).           ★★
P-492.   ZAK_NY 010240, OHSU, 2/17/2018, Labs (3).           ★★
P-493.   ZAK_NY 010251, OHSU, 2/18/2018, Labs.               ★★
P-494.   ZAK_NY 010255, OHSU, 2/19/2018, Labs.               ★★
P-495.   ZAK_NY 010260, OHSU, 2/20/2018, Labs.               ★★
P-496.   ZAK_NY 010269, OHSU, 2/20/2018, Labs (2).           ★★
P-497.   ZAK_NY 010271, OHSU, 2/21/2018, Labs.               ★★
P-498.   ZAK_NY 010277, OHSU, 2/22/2018, Labs.               ★★
P-499.   ZAK_NY 010283, OHSU, 2/23/2018, Labs.               ★★
P-500.   ZAK_NY 001224, OHSU, 2/26/2018, Labs.               ★★
P-501.   ZAK_NY 001227, OHSU, 2/26/2018, Labs (2).           ★★
P-502.   ZAK_NY 001247–8, OHSU, 2/27/2018, Labs.             ★★
P-503.   ZAK_NY 001032, OHSU, 3/7/2018, Labs.                ★★
P-504.   ZAK_NY 000966, OHSU, 3/28/2018, Labs.               ★★
P-505.   ZAK_NY 000834, OHSU, 4/2/2018, Labs.                ★★
P-506.   ZAK_NY 000837–8, OHSU, 4/3/2018, Labs.              ★★
P-507.   ZAK_NY 000732, OHSU, 4/18/2018, Labs.               ★★
P-508.   ZAK_NY 000735, OHSU, 4/18/2018, Labs (2).           ★★
P-509.   ZAK_NY 000626–7, OHSU, 4/22/2018, Labs (2).         ★★
P-510.   ZAK_NY 000630, OHSU, 4/22/2018, Labs.               ★★
P-511.   ZAK_NY 000634, OHSU, 4/23/2018, Labs.               ★★
P-512.   ZAK_NY 000642, OHSU, 4/24/2018, Labs.               ★★
P-513.   ZAK_NY 000495–6, OHSU, 5/9/2018, Labs (2).          ★★
P-514.   ZAK_NY 000498–9, OHSU, 5/9/2018, Labs.              ★★
P-515.   UNOS p25–27/207, UNOS, 8/9/2019– Patient History.   ★
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                                                             Hearsay within
                                                             hearsay
                                                             Prejudicial
                                                             Redact – 25 – “This
                                                             is a 39 year old
                                                             mother is currently in
                                                             liver failure due to
                                                             complications related
                                                             to a previous ablation
                                                             procedure in 2017,
                                                             associated with prior
                                                             h/o colon cancer.”
                                                             See Court’s MIL
                                                             Order (Doc. 409, No.
                                                             11)
P-516.   UNOS p200/207, UNOS, 5/11/2018, Put on transplant   ★★
         list – Patient History.
P-517.   ZAK_NY 000338–9, OHSU, 5/12/2018, Labs.             ★★
P-518.   ZAK_NY 000351, OHSU, 5/13/2018, Labs.               ★★
P-519.   ZAK_NY 000366, OHSU, 5/14/2018, Labs (2).           ★★
P-520.   ZAK_NY 000369, OHSU, 5/14/2018, Labs.               ★★
P-521.   ZAK_NY 000150–1, OHSU, 5/27/2018, Labs.             ★★
P-522.   ZAK_NY 000153, OHSU, 5/27/2018, Labs (2).           ★★
P-523.   ZAK_NY 000166, OHSU, 5/28/2018, Labs.               ★★
P-524.   ZAK_NY 000170–1, OHSU, 5/29/2018, Labs.             ★★
P-525.   ZAK_NY 016158, CC, 6/7/2018, Labs.                  ★★
P-526.   ZAK_NY 019290, CC, 6/11/2018, Labs.                 ★★
P-527.   UNOS p170-172/207, UNOS, 6/11/2018; Labs.           ★★
P-528.   ZAK_NY 016181–2, CC, 6/13/2018–6/28/2018, Labs.     ★★
P-529.   UNOS p161-163/207, UNOS, 7/3/2018, Labs.            ★★
P-530.   UNOS p158-160/207, UNOS, 7/10/2018, Labs.           ★★
P-531.   ZAK_NY 016367–9, CC, 7/19/2018, Labs.               ★★
P-532.   ZAK_NY 016383–4, CC, 7/24/2018, Labs.               ★★
P-533.   ZAK_NY 016506, CC, 7/31/2018, Labs.                 ★★
P-534.   ZAK_NY 016501–3, CC, 8/1/2018, Labs.                ★★
P-535.   ZAK_NY 016498–9, CC, 8/2/2018, Labs.                ★★
P-536.   ZAK_NY 016495–6, CC, 8/3/2018, Labs.                ★★
P-537.   ZAK_NY 016385–6, CC, 8/13/2018, Labs (3).           ★★
P-538.   ZAK_NY 016680, CC, 8/13/2018, Labs.                 ★★
P-539.   ZAK_NY 016682, CC, 8/13/2018, Labs (2).             ★★
P-540.   ZAK_NY 019297, CC, 8/16/2018, Labs.                 ★★

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P-541.   ZAK_NY 019295, CC, 8/17/2018, Labs.               ★★
P-542.   ZAK_NY 019298, CC, 8/24/2018, Labs.               ★★
P-543.   ZAK_NY 019300, CC, 8/24/2018, Labs (2).           ★★
P-544.   ZAK_NY 016736–7, CC, 8/28/2018, Labs.             ★★
P-545.   ZAK_NY 016792–3, CC, 9/18/2018, Labs.             ★★
P-546.   ZAK_NY 016183–4, CC, 9/21/2018, Labs.             ★★
P-547.   ZAK_NY 016947–9, CC, 9/27/2018, Labs.             ★★
P-548.   ZAK_NY 016944–6, CC, 9/28/2018, Labs.             ★★
P-549.   ZAK_NY 016942–3, CC, 9/29/2018, Labs.             ★★
P-550.   ZAK_NY 016938, CC, 9/30/2018, Labs.               ★★
P-551.   ZAK_NY 016184–5, CC, 10/12/2018, Labs.            ★★
P-552.   ZAK_NY 017283–4, CC, 10/26/2018, Labs.            ★★
P-553.   ZAK_NY 017441, CC, 11/2/2018, Labs.               ★★
P-554.   ZAK_NY 017428–9, CC, 11/23/2018, Labs.            ★★
P-555.   ZAK_NY 017527, CC, 11/23/2018, Labs (2).          ★★
P-556.   ZAK_NY 017431, CC, 12/17/2018, Labs.              ★★
P-557.   ZAK_NY 017639–40, CC, 12/23/2018, Labs.           ★★
P-558.   ZAK_NY 017637, CC, 12/24/2018, Labs.              ★★
P-559.   ZAK_NY 019308, CC, 1/2/2019, Labs.                ★★
P-560.   ZAK_NY 019311, CC, 1/25/2019, Labs.               ★★
P-561.   ZAK_NY 017933–4, CC, 2/12/2019, Labs.             ★★
P-562.   ZAK_NY 017979–80, CC, 3/1/2019, Labs.             ★★
P-563.   ZAK_NY 017934–5, CC, 3/8/2019, 4/2/2019, Labs.    ★★
P-564.   ZAK_NY 017936–7, CC, 4/2/2019, 4/16/2019, Labs.   ★★
P-565.   ZAK_NY 018236–8, CC, 4/17/2019, Labs.             ★★
P-566.   ZAK_NY 018326, CC, 4/26/2019, Labs.               ★★
P-567.   ZAK_NY 018395–6, CC, 5/17/2019, Labs.             ★★
P-568.   ZAK_NY 018416, CC, 6/1/2019, Labs.                ★★
P-569.   UNOS p43-45/207, UNOS, 6/8/2019, Labs.            ★★
P-570.   ZAK_NY 019313–4, CC, 7/10/2019, Labs.             ★★
P-571.   UNOS p35-36/207, UNOS, 7/12/2019, Labs & MELD     ★
         data.                                             Hearsay within
                                                           hearsay
                                                           Prejudicial in accord
                                                           with Court’s MIL
                                                           Order (Doc. 409, No.
                                                           11).
P-572.   ZAK_NY 018704–6, CC, 7/25/2019, Labs.             ★★
P-573.   ZAK_NY 018840–1, CC, 7/30/2019, Labs (3).         ★★
P-574.   ZAK_NY 018844, CC, 7/30/2019, Labs (4).           ★★
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P-575.   ZAK_NY 018833, CC, 7/30/2019, Labs.                      ★★
P-576.   ZAK_NY 018835, CC, 7/30/2019, Labs (2).                  ★★
P-577.   ZAK_NY 018831, CC, 8/1/2019, Labs.                       ★★
P-578.   ZAK_NY 018705–7, CC, 8/22/2019, Labs.                    ★★
P-579.   ZAK_NY 019197, CC, 8/22/2019, Labs (2).                  ★★
P-580.   ZAK_NY 011981–2, MSK, 9/11/2014–9/12/2014, Labs.         ★★
P-581.   ZAK_NY 011980, MSK, 9/13/2014, Labs.                     ★★
P-582.   ZAK_NY 009950, UCSF, 4/3/2015, 4/8/2015,                 ★★
         4/15/2015, Labs - Per MD note, missing lab form.
P-583.   ZAK_NY 009938, UCSF, 5/13/2015, 6/10/2015, Labs.         ★★
P-584.   ZAK_NY 009927, UCSF, 6/10/2015, Labs.                    ★★
P-585.   ZAK_NY 009918, UCSF, 7/2/2015, Labs.                     ★★
P-586.   ZAK_NY 009912, UCSF, 7/8/2015, 9/1/2015, Labs.           ★★
P-587.   ZAK_NY 009879, UCSF, 8/5/2015, Labs - per MD note,       ★★
         missing lab form.
P-588.   ZAK_NY 009863, UCSF, 9/1/2015, Labs.                     ★★
P-589.   ZAK_NY 009976–7, OHSU 10/28/2015, Labs - Per MD          ★★
         note, missing lab form.
P-590.   ZAK_NY 011649, MSK, 5/1/2017, Labs.                      ★★
P-591.   ZAK_NY 002866, OHSU, 12/27/2017, Labs (3).               ★★
P-592.   ZAK_NY 009216–7, MSK, 3/24/2016–3/30/2016,               ★★
         Hospital Admissions - after surgery
         Hepatopancreatobiliary performed 03/24/2016.
P-593.   ZAK_NY 015671–3, MSK, 4/1/2016, ER Visit – Fever         ★★
         (Admitted).
P-594.   ZAK_NY 012434–6, MSK, 4/2/2016, IR procedure             ★★
         Notes - Abscess/Collection drainage of perihepatic
         abscess; Drainage catheter left in place.
P-595.   ZAK_NY 008891–3, OHSU, 4/21/2016, ER Visit –             ★★
         Recurrent fevers, shortness of breath, palpitations.
P-596.   ZAK_NY 015494–5, MSK, 4/10/2017, IR Report – IR          ★★
         procedural right liver PET ablation, needle biopsy of
         liver body.
P-597.   ZAK_NY 012218–20, MSK, 4/10/2017–4/18/2017,              ★★
         Hospital Admissions – had ablation 4/10 of the caudate
         lobe & seg. 2, admitted for post-procedure monitoring.
P-598.   ZAK_NY 015474, MSK, 4/13/17, Procedure Report &          ★★
         IR Report – ultrasound-guided right thoracentesis .
P-599.   ZAK_NY 007078–80, MSK, 4/21/2017–4/26/2017,              ★★
         Hospitalization – admitted through UCC for management
         of fever and right upper quad pain.
P-600.   ZAK_NY 015456–7, MSK, 4/21/2017, IR report – CT          ★★
         and ultrasound-guided right thoracentesis.

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P-601.   ZAK_NY 007089–91, MSK, 4/28/2017–5/2/2017,                 ★★
         Hospitalization – admitted through UCC for pain and
         fever – leakage from drain.
P-602.   ZAK_NY 012666–8, MSK, 4/28/2017–5/2/2017,                  ★★
         Hospitalization – admitted through UCC for pain and
         fever – leakage from drain.
P-603.   ZAK_NY 006952, OHSU, 5/10/2017, Procedure –                ★★
         Biloma drain removal.
P-604.   ZAK_NY 010452–7, OHSU, 5/16/2017–6/3/2017,                 ★★
         Hospitalization – bile leak and biloma.
P-605.   ZAK_NY 010478, OHSU, 5/16/2017–6/3/2017,                   ★★
         Hospitalization – bile leak and biloma (2).
P-606.   ZAK_NY 011564, OHSU, 5/16/2017–6/3/2017, Final             ★★
         principal diagnosis – cholangitis, perihepatic fluid
         collection with necrotic liver.
P-607.   ZAK_NY 011122–3, OHSU, 5/17/2017, IR drain                 ★★
         procedure - Developed T. Bili of 11; significant central
         biliary injury.
P-608.   ZAK_NY 011442, OHSU, 5/23/2017, Procedure –                ★★
         removal of drain non-tunneled pigtail right lateral and
         upper quadrant & removal of port/portacath left chest
         porta chest single.
P-609.   ZAK_NY 011454, OHSU, 5/24/2017, Procedure –                ★★
         removed left arterial port single.
P-610.   ZAK_NY 011481, OHSU, 5/26/2017, Procedure –                ★★
         removed hepatic arterial infusion port left abdomen.
P-611.   ZAK_NY 11136–7, OHSU, 5/31/2017, IR drain                  ★★
         procedure – successfully inserted a 14 French drain into
         an intrahepatic biloma.
P-612.   ZAK_NY 010644–5, OHSU, 6/1/2017, Procedure –               ★★
         PICC line placed.
P-613.   ZAK_NY 006741–2, OHSU, 6/6/2017, Procedure – IR            ★★
         drain procedure.
P-614.   ZAK_NY 011438, OHSU, 6/14/2017, Procedure –                ★★
         removal of PICC line Single Lumen Non-Tunneled
         Valved Right Arm Basilic 4 Fr 1 in clinic (2).
P-615.   ZAK_NY 006508, OHSU, 6/14/2017, Procedure –                ★★
         removal of PICC line Single Lumen Non-Tunneled
         Valved Right Arm Basilic 4 Fr 1 in clinic.
P-616.   ZAK_NY 006057, OHSU, 7/4/2017–7/7/2017, Hospital           ★★
         admission – bleeding common hepatic artery – IR
         procedure performed – admitted to ICU.
P-617.   ZAK_NY 005923, OHSU, 7/4/2017, Procedure – IR              ★★
         angiogram and embolization of atrophic common hepatic
         artery.

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P-618.   ZAK_NY 006029, OHSU, 7/4/2017, Procedure – IR                ★★
         angiogram and embolization of atrophic common hepatic
         artery.
P-619.   ZAK_NY 006032, OHSU, 7/6/2017, Procedure – IR                ★★
         drain procedure – drainage catheter exchange with
         injection.
P-620.   ZAK_NY 005627–8, OHSU, 7/24/2017, Procedure –                ★★
         removal of hepatic arterial infusion pump (HAI pump
         removal).
P-621.   ZAK_NY 005495, OHSU, 7/27/2017–7/29/2017,                    ★★
         Hospital admission – hematoma of surgical site.
P-622.   ZAK_NY 005639–40, OHSU, 7/28/2017, Procedure –               ★★
         ultrasound needle aspiration.
P-623.   ZAK_NY 005305, OHSU, 8/2/2017, Procedure – bulbs             ★★
         and tubing extension from JP biliary drain replaced.
P-624.   ZAK_NY 004893, OHSU, 8/14/2017, Procedure note               ★★
         (anesthesia note): ERCP performed.
P-625.   ZAK_NY 005009–10, OHSU, 8/17/2017–8/20/2017,                 ★★
         Hospital admission – principal final diagnosis: Biloma.
P-626.   ZAK_NY 004977–8, OHSU, 8/18/2017, Procedure op               ★★
         note – conversion of biloma drain to internal/external
         biliary drain.
P-627.   ZAK_NY 004991–3, OHSU, 8/18/2017, Procedure op               ★★
         note – conversion of biloma drain to internal/external
         biliary drain.
P-628.   ZAK_NY 003074, OHSU, 9/1/2017, OP report – upper             ★★
         GI endoscopy.
P-629.   ZAK_NY 004874–9, OHSU, 9/1/2017, OP report –                 ★★
         upper GI endoscopy.
P-630.   ZAK_NY 004633–4, OHSU, 9/1/2017, ER visit –                  ★★
         potential bleeding status post biliary stent removal.
P-631.   ZAK_NY 004334–5, OHSU, 9/5/2017–9/8/2017,                    ★★
         Hospital admission – admitted for diagnosis of Bactermia
         (gram positive bactermia).
P-632.   ZAK_NY 004458–9, OHSU, 9/5/2017, OP report                   ★★
         procedure – external biliary drainage catheter placement.
P-633.   ZAK_NY 004460–1, OHSU, 9/5/2017, OP report:                  ★★
         fluoroscopically guided biliary tube check and exchange.
P-634.   ZAK_NY 004326, OHSU, 9/5/2017, OP report:                    ★★
         fluoroscopically guided biliary tube check and exchange.
P-635.   ZAK_NY 004070–1, OHSU, 9/21/2017, OP report: IR              ★★
         draink procedure – biliary tube exchange, (right-internal,
         left internal/external).
P-636.   ZAK_NY 003588–90, OHSU, 11/8/2017, Metal Coil in             ★★
         biliary drain.

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P-637.   ZAK_NY 003396–7, OHSU, 11/15/2017, OP report:                 ★★
         procedure biliary tube exchange.
P-638.   ZAK_NY 003185, OHSU, 12/6/2017, Surgical oncology             ★★
         office visit.
P-639.   ZAK_NY 003105–6, OHSU, 12/11/2017, OP report: IR              ★★
         drain procedure. Bilateral biliary catheter checks.
P-640.   ZAK_NY 002952–3, OHSU, 12/16/2017, ER visit:                  ★★
         fevers and rigors x1 day – did not require hospitalization.
P-641.   ZAK_NY 002738–9, OHSU, 1/4/2018, Procedure:                   ★★
         colonoscopy.
P-642.   ZAK_NY 002497, OHSU, 1/13/2018, ER visit: melena              ★★
         and acute blood loss anemia (Admitted).
P-643.   ZAK_NY 002616, OHSU, 1/13/18–1/16/2018, Hospital              ★★
         admission – diagnosed with upper GI bleed secondary to
         esophageal varix, melena, and acute blood loss anemia.
P-644.   ZAK_NY 002520–1, OHSU, 1/14/2018, OP report:                  ★★
         procedure – EGD.
P-645.   ZAK_NY 001998, OHSU, 1/30/2018, ER visit: 1                   ★★
         episode of dark, tarry stool, red output from medial
         biloma drain, and increasing nausea/abdominal
         distension (Admitted).
P-646.   ZAK_NY 002095, OHSU, 1/30/2018–2/1/2018, Hospital             ★★
         admission – esophageal varices presented with blood.
P-647.   ZAK_NY 002081, OHSU, 1/30/2018, Procedure: EGD.               ★★
P-648.   ZAK_NY 001828–9, OHSU, 2/5/2018–2/6/2018,                     ★★
         Hospital admission: subacute decreased biloma drain
         output.
P-649.   ZAK_NY 001887–9, OHSU, 2/5/2018, OP report:                   ★★
         procedure – IR drain procedure, PBD and biloma drain
         exchange.
P-650.   ZAK_NY 001514, OHSU, 2/14/2018, ER visit:                     ★★
         abdominal distension and bloody output from biliary
         drain (Admitted).
P-651.   ZAK_NY 001551, OHSU, 2/14/2018–2/15/2018,                     ★★
         Hospital admission: bloody drainage from biliary drain,
         thought to be venous, stable after observation.
P-652.   ZAK_NY 010135, OHSU, 2/16/2018–2/23/2018,                     ★★
         Hospital admission: fever, unspecified fever cause,
         biloma, jaundice, shingles rash, biliary drain
         displacement.
P-653.   ZAK_NY 001114, OHSU, 2/26/2018–3/2/2018, Hospital             ★★
         admission: EGD procedure with bleeding varix unable to
         be banded, injected with sclerosant.
P-654.   ZAK_NY 000844, OHSU, 4/2/2018, OP report:                     ★★
         procedure – IR drain procedure biliary tube exchange.

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P-655.   ZAK_NY 000860, OHSU, 4/2/2018–4/3/2018, Hospital        ★★
         admission/observation: discharge note.
P-656.   ZAK_NY 000805, OHSU, 4/2/2018–4/3/2018, Hospital        ★★
         admission/observation: discharge note.
P-657.   ZAK_NY 000604, OHSU, 4/22/2018–4/24/2018,               ★★
         Hospital admission.
P-658.   ZAK_NY 000389, OHSU, 5/12/2018–5/14/2018,               ★★
         Hospital admission.
P-659.   ZAK_NY 016129, OHSU, 5/12/2018–5/14/2018,               ★★
         Hospital Admission Note.
P-660.   ZAK_NY 000195, OHSU, 5/26/2018–5/29/2018,               ★★
         Hospital admission.
P-661.   ZAK_NY 016237, CC, 6/12/2018, OP report:                ★★
         Cholangiogram, bilateral.
P-662.   ZAK_NY 019330–2, CC, 6/12/2018, OP report:              ★★
         Cholangiogram, bilateral (2).
P-663.   ZAK_NY 016430, CC, 7/31/2018, ER visit: fever           ★★
         (Admitted).
P-664.   ZAK_NY 016436–7, CC, 7/31/2018–8/3/2018, Hospital       ★★
         admission: fevers, antibiotics and blood transfusion.
P-665.   ZAK_NY 017196–7, CC, 10/11/2018, Procedure report:      ★★
         re-suture biliary drains.
P-666.   ZAK_NY 017279, CC, 10/25/2018–10/26/2018, Hospital      ★★
         admission.
P-667.   ZAK_NY 019334, CC, 10/25/2018, OP report.               ★★
P-668.   ZAK_NY 017502, CC, 11/23/2018, Procedure report:        ★★
         tube stitch.
P-669.   ZAK_NY 017605–6, CC, 12/23/2018–12/24/2018, ER          ★★
         visit: rigors and fevers.
P-670.   ZAK_NY 019338, CC, 12/26/2018, Procedure report:        ★★
         PICC line insertion for first dope of Ertapenem.
P-671.   ZAK_NY 019341–3, CC, 1/18/2019, OP report:              ★★
         exchange of bilateral biliary drainage catheter.
P-672.   ZAK_NY 019349–51, CC, 1/25/2019, Procedure report:      ★★
         biliary tube suturing.
P-673.   ZAK_NY 018232, CC, 4/17/2019, Procedure: biliary        ★★
         tube change & re-stitched.
P-674.   ZAK_NY 018263–5, CC, 4/22/2019, Procedure: biliary      ★★
         tube re-stitched.
P-675.   ZAK_NY 019356–8, CC, 4/23/2019, OP report:              ★★
         cholangiogram and left biliary catheter exchange.
P-676.   ZAK_NY 019362–5, CC, 5/24/2019, OP report:              ★★
         exchange of biliary drainage catheters.
P-677.   ZAK_NY 016062, CC, 5/29/2019, ER visit                  ★★


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P-678.   ZAK_NY 018555, CC, 6/5/2019 or 5/16/2019,                  ★★
         Procedure: neck fine needle aspirate.
P-679.   ZAK_NY 018605, CC, 6/24/2019, Procedure: Prolene           ★★
         suture with an air knot replaced at site of left biliary
         drainage catheter.
P-680.   ZAK_NY 018765, CC, 7/30/2019, Procedure report:            ★★
         Intubation
P-681.   ZAK_NY 018822–3, CC, 7/30/2019, OP report: EGD             ★★
         and banding of large esophageal varices.
P-682.   ZAK_NY 011971, MSK, 9/11/2014, Labs.                       ★★
P-683.   ZAK_NY 011970, MSK, 9/14/2014, Labs.                       ★★
P-684.   ZAK_NY 008914, OHSU 4/21/2016, Labs (2).                   ★★
P-685.   ZAK_NY 011740, MSK, 4/13/2017, Labs (2).                   ★★
P-686.   ZAK_NY 012077, MSK, 8/29/2016, Consent - Ablation.         ★★
P-687.   ZAK_NY 012090, MSK, 8/19/2016, Consent - Biopsy            ★★
         and Ablation.
P-688.   ZAK_NY 012095, MSK, 4/2/2016, Consent - Perihepatic        ★★
         Drain.
P-689.   ZAK_NY 012105–06, MSK, 3/23/2016, Consent for              ★★
         liver procedure and picture of Liver.
P-690.   ZAK_NY 012124–25, MSK, 9/10/2014, Consent - Liver          ★★
         surgery / biopsy, and drawing of liver and ducts.
P-691.   ZAK_NY 012128, MSK, 9/8/2014, Surgery consent -            ★★
         partial bowel and ovary removal.
P-692.   ZAK_NY 012140–42, MSK, 5/3/2017, Progress Note -           ★★
         Oncologist.
P-693.   ZAK_NY 012145–48, MSK, 5/2/2017, Nursing note,             ★★
         dressing changed.
P-694.   ZAK_NY 012157–60, MSK, 5/1/2017, Infectious                ★★
         Disease Consult.
P-695.   ZAK_NY 012175–76, MSK, 4/28/2017, Surgical                 ★★
         admission note.
P-696.   ZAK_NY 012180–83, MSK, 4/26/2017,                          ★★
         Hepatopancreatobiliary progress note.
P-697.   ZAK_NY 012184–85, MSK, 4/25/2017, IR Progress              ★★
         Note.
P-698.   ZAK_NY 012186–87, MSK, 4/24/2017, Thoracentesis,           ★★
         catheter exchange, catheter placement.
P-699.   ZAK_NY 012188–89, MSK, 4/24/2017, IR Progress              ★★
         Note.
P-700.   ZAK_NY 012192–94, MSK, 4/23/2017,                          ★★
         Hepatopancreatobiliary Interventional Radiology -
         Progress Note.
P-701.   ZAK_NY 012204–09, MSK, 4/21/2017, Abscess                  ★★
         catheter exchange, thoracentesis.
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P-702.   ZAK_NY 012210–14, MSK, 4/21/2017, Surgery Admit              ★★
         Note.
P-703.   ZAK_NY 012215–17, MSK, 4/21/2017,                            ★★
         Hepatopancreatobiliary Surgery - Progress Note.
P-704.   ZAK_NY 012222–33, MSK, 4/13/2017, Thoracentesis,             ★★
         embolization.
P-705.   ZAK_NY 012234–35, MSK, 4/18/2017, Gastrointestinal           ★★
         Surgery - Progress Note.
P-706.   ZAK_NY 012236–38, MSK, 4/18/2017, Gastrointestinal           ★★
         Interventional Radiology Progress Note.
P-707.   ZAK_NY 012239–43, MSK, 4/17/2017, Gastrointestinal           ★★
         Oncology Progress Note.
P-708.   ZAK_NY 012246–47, MSK, 4/17/2017, Gastrointestinal           ★★
         Interventional Radiology Progress Note.
P-709.   ZAK_NY 012248–52, MSK, 4/16/2017, Gastrointestinal           ★★
         Oncology Progress Note - Erika concerns about her liver.
P-710.   ZAK_NY 012253–57, MSK, 4/16/2017, Gastrointestinal           ★★
         Surgery - Progress Note.
P-711.   ZAK_NY 012258–60, MSK, 4/15/2017, Gastrointestinal           ★★
         Oncology Progress Note.
P-712.   ZAK_NY 012261–62, MSK, 4/15/2017, Gastrointestinal           ★★
         Surgery Progress Note.
P-713.   ZAK_NY 012263–64, MSK, 4/15/2017, Gastrointestinal           ★★
         Interventional Radiology Progress Note.
P-714.   ZAK_NY 012265–69, MSK, 4/14/2017, Gastrointestinal           ★★
         Oncology Progress Note - IR procedure yesterday, still
         anxious. Distended.
P-715.   ZAK_NY 012270–72, MSK, 4/14/2017, Surgical                   ★★
         placement of pigtail drain.
P-716.   ZAK_NY 012273–75, MSK, 4/14/2017, IR Progress                ★★
         Note - Pleural effusion after thoracentesis, evaluate for
         pneumothorax.
P-717.   ZAK_NY 012284–86, MSK, 4/13/2017, Decision to do             ★★
         surgeries post ablation.
P-718.   ZAK_NY 012287–89, MSK, 4/13/2017, Gastrointestinal           ★★
         Interventional Radiology Progress Note.
P-719.   ZAK_NY 012290–92, MSK, 4/12/2017, Rising LFTs.               ★★
P-720.   ZAK_NY 012293–300, MSK, 4/12/2017,                           ★★
         Gastrointestinal Oncology Progress Note - Erika has
         substernal chest pain and fluid building in other areas of
         body.
P-721.   ZAK_NY 012301–02, MSK, 4/12/2017, Gastrointestinal           ★★
         Consult.
P-722.   ZAK_NY 012303–04, MSK, 4/12/2017, Gastrointestinal           ★★
         Surgery Progress Note.

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P-723.   ZAK_NY 012305–06, MSK, 4/12/2017, IR Progress           ★★
         Note - Pleural effusion, no flow in left portal vein.
P-724.   ZAK_NY 012307–11, MSK, 4/11/2017, Gastrointestinal      ★★
         Progress Note.
P-725.   ZAK_NY 012312–18, MSK, 4/11/2017, Gastrointestinal      ★★
         Consult.
P-726.   ZAK_NY 012321–25, MSK, 4/10/2017, Gastrointestinal      ★★
         Oncology – Initial Consult - Beginning of symptoms
         indicating liver injury.
P-727.   ZAK_NY 012327–28, MSK, 3/22/2017, Gastrointestinal      ★★
         Oncology - Adding radioablation surgery.
P-728.   ZAK_NY 012329, MSK, 3/22/2017, Pre-Ablation             ★★
         Testing Visit Sheet.
P-729.   ZAK_NY 012330–32, MSK, 3/22/2017, Sofocleous            ★★
         Consult.
P-730.   ZAK_NY 012333–38, MSK, 3/22/2017, History and           ★★
         Physical - Pre Surgical.
P-731.   ZAK_NY 012339, MSK, 3/22/2017, Gastrointestinal         ★★
         Oncology Visit Sheet.
P-732.   ZAK_NY 012344–45, MSK, 3/22/2017, IR                    ★★
         Questionnaire for New Patient.
P-733.   ZAK_NY 012359–60, MSK, 11/30/2016, Sofocleous           ★★
         Follow Up.
P-734.   ZAK_NY 012367–68, MSK, 10/5/2016, Kemeny FUDR           ★★
         note.
P-735.   ZAK_NY 012380–82, MSK, 8/19/2016, IR - Initial          ★★
         Consult.
P-736.   ZAK_NY 012571, MSK, 4/11/2014, Intraoperative note.     ★★
P-737.   ZAK_NY 012626–28, MSK, 9/10/2014, Plan for surgery      ★★
         including resection of colon and hepatic pump
         placement.
P-738.   ZAK_NY 012634, MSK, 9/8/2014, Consent note for          ★★
         Hepatic Artery Infusion Pump and right colectomy.
P-739.   ZAK_NY 012637–41, MSK, 7/30/2014, Dr. Kemeny’s          ★★
         initial consult.
P-740.   ZAK_NY 012642–44, MSK, 7/30/2014, Dr. Garcia-           ★★
         Aguilar's second opinion.
P-741.   ZAK_NY 012680–82, MSK, 4/26/2017, DeMatteo              ★★
         Discharge Note.
P-742.   ZAK_NY 012691–93, MSK, 4/18/2017, Gastrointestinal      ★★
         Discharge Document.
P-743.   ZAK_NY 012699–700, MSK, 8/31/2016, Hospital             ★★
         Summary.
P-744.   ZAK_NY 012706–07, MSK, 4/3/2016, Discharge              ★★
         Summary.

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P-745.   ZAK_NY 012710–11, MSK, 3/30/2016, Discharge            ★★
         Summary.
P-746.   ZAK_NY 012715–17, MSK, 9/19/2014, Discharge            ★★
         Summary.
P-747.   ZAK_NY 013850–51, MSK, 4/12/2017, Nursing Event        ★★
         Note - Sternal Pain.
P-748.   ZAK_NY 013862–66, MSK, 4/10/2017, Nursing              ★★
         Assessment Post Surgery.
P-749.   ZAK_NY 013869–71, MSK, 4/10/2017, Nursing              ★★
         Discharge Assessment - PACU.
P-750.   ZAK_NY 013872–74, MSK, 4/10/2017, Nursing              ★★
         Admission Assessment - PACU.
P-751.   ZAK_NY 013875, MSK, 4/5/2017, IR Clinic call - Fever   ★★
         and ER note.
P-752.   ZAK_NY 014066, MSK, 9/11/2014, Pre-Procedure           ★★
         Assessment - Left chest wall mediport.
P-753.   ZAK_NY 014198–201, MSK, 4/10/2017, Surgical Care       ★★
         Plan.
P-754.   ZAK_NY 014426–31, MSK, 4/10/2017, IR Procedure         ★★
         Note.
P-755.   ZAK_NY 014463–74, MSK, 4/10/2017, Anesthesia           ★★
         Record.
P-756.   ZAK_NY 014481–84, MSK, 3/22/2017, Anesthesia           ★★
         Perioperative Evaluation.
P-757.   ZAK_NY 014485–88, MSK, 4/10/2017, Anesthesia           ★★
         Perioperative Evaluation.
P-758.   ZAK_NY 014491–96, MSK, 8/29/2016, IR Procedure         ★★
         Notes.
P-759.   ZAK_NY 014526–27, MSK, 3/24/2016, Surgery              ★★
         Operative Report.
P-760.   ZAK_NY 014528–35, MSK, 3/24/2016, Operating            ★★
         Room Record.
P-761.   ZAK_NY 014536, MSK, 3/24/2016, Hepatectomy,            ★★
         ablation, radiofrequency.
P-762.   ZAK_NY 014566–68, MSK, 9/13/2014, Hepatobiliary        ★★
         Operative Report qv
P-763.   ZAK_NY 014569–70, MSK, 9/11/2014, Colorectal           ★★
         Operative Report.
P-764.   ZAK_NY 014571–78, MSK, 9/11/2014, Operating            ★★
         Room Record.
P-765.   ZAK_NY 014579, MSK, 9/11/2014, Operation Note -        ★★
         removing ovaries and colectomy.
P-766.   ZAK_NY 014729–821, MSK, 4/10/2017, OMS Orders.         ★★
P-767.   ZAK_NY 014834–35, MSK, 3/22/2017, IR Form.             ★★


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P-768.   ZAK_NY 014912–13, MSK, 8/19/2016, IR Disposition             ★★
         Form.
P-769.   ZAK_NY 015321, MSK, 4/13/2017, Cytopathology                 ★★
         Report - Pleural fluid is not cancerous, but from
         inflammation.
P-770.   ZAK_NY 015322–23, MSK, 4/10/2017, Surgical                   ★★
         pathology Report - Right liver sample has
         adenocarcinoma, moderately differentiated, morphology
         compatible with colon primary.
P-771.   ZAK_NY 015324–26, MSK, 5/5/2017, Diagnostic                  ★★
         interpretation of Cancer.
P-772.   ZAK_NY 015333–35, MSK, 3/24/2016, Procurement of             ★★
         Liver Specimens.
P-773.   ZAK_NY 015336–41, MSK, 9/11/2014, Biopsy                     ★★
         Summary.
P-774.   ZAK_NY 015345–46, MSK, 7/28/2014, Cecum biopsy               ★★
         with somatic alterations panel.
P-775.   ZAK_NY 015347, MSK, 7/23/2014, Cecum biopsy has              ★★
         infiltrating adenocarcinoma.
P-776.   ZAK_NY 015348–9, MSK, 7/17/2014, Liver biopsy with           ★★
         diagnosis of metastatic adenocarcinoma.
P-777.   ZAK_NY 015450–51, MSK, 4/21/2017, CT Abdomen -               ★★
         new small ascities.
P-778.   ZAK_NY 015458–59, MSK, 4/21/2017, Drainage of                ★★
         right pleural fluid.
P-779.   ZAK_NY 015460–61, MSK, 4/21/2017, IR abscess                 ★★
         catheter exchange.
P-780.   ZAK_NY 015462–63, MSK, 4/21/2017, Drained right              ★★
         upper quadrant.
P-781.   ZAK_NY 015470–71, MSK, 4/14/2017, Chest X-Ray -              ★★
         dec opacity on right.
P-782.   ZAK_NY 015472–73, MSK, 4/14/2017, IR abscess                 ★★
         catheter placement, biloma.
P-783.   ZAK_NY 015476–78, MSK, 4/13/2017, CT shows no                ★★
         vis of left portal vein, thrombosed, fluid and
         extravasation.
P-784.   ZAK_NY 015479–80, MSK, 4/13/2017, IR Diagnostic              ★★
         Arteriogram Report - Areas of bleeding, arterial stenoses,
         they did arteriotomy.
P-785.   ZAK_NY 015481–82, MSK, 4/13/2017, Drain effusion             ★★
         and leave in drain.
P-786.   ZAK_NY 015483–84, MSK, 4/12/2017, Chest X-Ray -              ★★
         small right pleural effusion, focal opacity in left lower
         lobe.


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P-787.   ZAK_NY 015485–86, MSK, 4/12/2017, Chest CT - new             ★★
         focal infection / inflammation in left lower lobe, pleural
         infusion, new perihepatic ascites.
P-788.   ZAK_NY 015487–88, MSK, 4/11/2017, Ultrasound - no            ★★
         left portal vein perfusion.
P-789.   ZAK_NY 015489–91, MSK, 4/10/2017, PET during                 ★★
         surgery.
P-790.   ZAK_NY 015492–93, MSK, 4/10/2017, Ablation                   ★★
         technique.
P-791.   ZAK_NY 015496–98, MSK, 3/21/2017, CT Abdomen -               ★★
         hepatic metastases, very subtle.
P-792.   ZAK_NY 015499–501, MSK, 3/21/2017, PET - New seg             ★★
         7 and 4 lesions, suspicious.
P-793.   ZAK_NY 015530–31, MSK, 8/29/2016, PET -                      ★★
         Successful ablation of segment.
P-794.   ZAK_NY 015532–33, MSK, 8/29/2016, PET Results of             ★★
         tumor size.
P-795.   ZAK_NY 015540–41, MSK, 8/16/2016, CT Abdomen -               ★★
         potentially new metastasis.
P-796.   ZAK_NY 015542–44, MSK, 8/16/2016, MRI - viable               ★★
         metastasis.
P-797.   ZAK_NY 015552–53, MSK, 4/2/2016, MRI - successful            ★★
         drainage of abscess.
P-798.   ZAK_NY 015554–55, MSK, 4/1/2016, CT Abdomen -                ★★
         no new hepatic lesions.
P-799.   ZAK_NY 015557–59, MSK, 3/21/2016, MRI - new or               ★★
         re-emergent metastasis.
P-800.   ZAK_NY 015584–85, MSK, 7/21/2015, CT - decreasing            ★★
         size of hepatic metastases.
P-801.   ZAK_NY 015615–16, MSK, 9/16/2014, Hepatic pump               ★★
         working.
P-802.   ZAK_NY 015621–22, MSK, 7/30/2014, Chest CT -                 ★★
         shows stable hepatic metastases.
P-803.   ZAK_NY 015638–41, MSK, 4/29/2017, Continual pain.            ★★
P-804.   ZAK_NY 015642–47, MSK, 4/28/2017, Urgent Care 2              ★★
         days after discharge.
P-805.   ZAK_NY 015654, MSK, 4/28/2017, DeMatteo’s referral           ★★
         to urgent care.
P-806.   ZAK_NY 015658–60, MSK, 4/21/2017, UCC visit –                ★★
         fever and worsening right flank pain
P-807.   ZAK_NY 015667, MSK, 4/21/2017, Kemeny refers pt to           ★★
         urgent care.
P-808.   ZAK_NY 015715–23, CC, 12/18/2017, Liver                      ★★
         Hepatologist - Introductory Visit.


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P-809.   ZAK_NY 015732–40, CC, 12/19/2017, Transplant          ★★
         Doctor Consult.
P-810.   ZAK_NY 015771–84, CC, 12/20/2017, Transplant          ★★
         Board Note.
P-811.   ZAK_NY 015806–12, CC, 12/21/2017, Cleveland           ★★
         Oncologist Review.
P-812.   ZAK_NY 015837–74, CC, 2/2/2018, Not able to do        ★★
         living transplant.
P-813.   ZAK_NY 015888–912, CC, 6/12/2018, Perc Image          ★★
         Guided Cholangiography.
P-814.   ZAK_NY 015913–91, CC, 7/31/2018, Fever and chills,    ★★
         blood infusion.
P-815.   ZAK_NY 016089–93, CC, 8/1/2019, Paracentesis for      ★★
         Ascites.
P-816.   ZAK_NY 016094–115, CC, 8/22/2019, Anesthesia Note     ★★
         during Transplant and death.
P-817.   ZAK_NY 016116–18, CC, 8/22/2019, Consent for Liver    ★★
         Transplant.
P-818.   ZAK_NY 016160–86, CC, 6/7/2018, Transplant - Office   ★★
         Visit.
P-819.   ZAK_NY 016201–05, CC, 6/7/2018, Social Worker         ★★
         Note.
P-820.   ZAK_NY 016211–12, CC, 6/10/2018, Erika vomiting.      ★★
P-821.   ZAK_NY 016325–37, CC, 7/3/2018, Pain Mgmt - Office    ★★
         Visit.
P-822.   ZAK_NY 016396–401, CC, 7/19/2018, Palliative Care -   ★★
         Office Visit.
P-823.   ZAK_NY 016426–37, CC, 7/31/2018, ER for Fever,        ★★
         receives transfusion (pt 1).
P-824.   ZAK_NY 016652–53, CC, 7/31/2018, Erika note to        ★★
         doctors about quality of life.
P-825.   ZAK_NY 016689–90, CC, 8/12/2018, Biliary Drains not   ★★
         functioning.
P-826.   ZAK_NY 016713–14, CC, 8/20/2018, Diarrhea from        ★★
         new medication.
P-827.   ZAK_NY 016724–45, CC, 8/28/2018, ER - Biliary drain   ★★
         leaking.
P-828.   ZAK_NY 016860–94, CC, 9/27/2018, ER - Fever,          ★★
         Esophagogastroduodenoscopy (pt 1).
P-829.   ZAK_NY 017189–90, CC, 10/10/2018, Question - Ankle    ★★
         and Feet Swelling.
P-830.   ZAK_NY 017216–17, CC, 10/16/2018, Question -          ★★
         Clotting Issue.
P-831.   ZAK_NY 017244–76, CC, 10/25/2018, Biliary Drain       ★★
         Exchange (pt 1).

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P-832.   ZAK_NY 017388–89, CC, 10/25/2018, Tumor Board        ★★
         wants a rib lesion biopsy.
P-833.   ZAK_NY 017462–65, CC, 11/7/2018, Rib Biopsy.         ★★
P-834.   ZAK_NY 017475–76, CC, 11/12/2018, Food coming out    ★★
         straight into a bili tube.
P-835.   ZAK_NY 017596–739, CC, 12/23/2018, ER - fever.       ★★
P-836.   ZAK_NY 017848–89, CC, 1/18/2019, Biliary Drainage    ★★
         w/cholangiography.
P-837.   ZAK_NY 017951–54, CC, 1/25/2019, Social Work Note    ★★
P-838.   ZAK_NY 017999–8000, CC, 2/25/2019, Food coming       ★★
         out of drains.
P-839.   ZAK_NY 018003–05, CC, 2/26/2019, Draining food and   ★★
         medications.
P-840.   ZAK_NY 018150–85, CC, 4/4/2019, Biliary Drain        ★★
         Exchange.
P-841.   ZAK_NY 018276–314, CC, 4/23/2019, Biliary Drainage   ★★
         Catheter Exchange.
P-842.   ZAK_NY 018547–56, CC, 6/5/2019, Consult for left     ★★
         neck adenopathy (benign).
P-843.   ZAK_NY 019352–55, CC, 4/4/2019, Biliary Drain        ★★
         Catheter Exchange (right).
P-844.   ZAK_NY 018454–93, CC, 5/24/2019, Biliary Drain       ★★
         Exchange.
P-845.   ZAK_NY 018547, CC, 6/5/2019, Consult.                ★★
P-846.   ZAK_NY 018589–92, CC, 6/10/2019, History of          ★★
         surgeries.                                           Hearsay within
                                                              hearsay and
                                                              unreliable
                                                              Prejudicial
P-847.   ZAK_NY 018718–22, CC, 7/30/2019, ER for              ★★
         hematemesis and bloody output (pt 1).
P-848.   ZAK_NY 019119–276, CC, 8/22/2019, Transplant and     ★★
         Death.
P-849.   ZAK_NY 019281–82, CC, 8/22/2019, Liver offer.        ★★
P-850.   ZAK_NY 019283–89, CC, 8/26/2019, Scott wanted to     ★★
         know details of passing.
P-851.   ZAK_NY 019376–81, CC, 7/17/2018, Clotting Problems   ★★
         - Finger won't stop bleeding.
P-852.   ZAK_NY 019384–87, CC, 7/30/2018, Bleeding back       ★★
         wound, can't clot anymore.
P-853.   00125–00126, UCSF, 6/2/2014, Clinic Note, PMS2       ★★
         deletion from 4/10/2014 biopsy.
P-854.   00439–43, UCSF, 4/23/2014, Progress Note, Notes      ★★
         PMS2 deletion.

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P-855.   00522–23, UCSF, 1/7/2015, Progress Note, HAI FUDR   ★★
         well-tolerated, most recent LFTs are normalizing.
P-856.   00536–37, UCSF, 2/5/2015, Progress Note HAI FUDR    ★★
         well-tolerated, LFTs have normalized nicely.
P-857.   00552–53, UCSF, 3/5/2015, Progress note, HAI FUDR   ★★
         well- tolerated, LFTs have normalized nicely with
         minimally elevated alk phos.
P-858.   03/20/2016 CT C-Abd-Pel W-Contrast                  ★★
P-859.   04/01/2016 Ct Ab-Pel W-Contrast                     ★★
P-860.   06/21/2016 Ct Ch-Ab-Pel W-Contrast                  ★★
P-861.   08/16/2016 Nm Pet Scan                              ★★
P-862.   11/29/2016 Ct Ch-Abd-Pel W-Contrast                 ★★
P-863.   11/29/2016 Ch-Abd-Pel W-Contrast                    ★★
P-864.   08/29/2016 Ir Ablation Liver Pet                    ★★
P-865.   03/21/2017 CT Abdomen Pelvis with Contrast          ★★
P-866.   03/21/2017 Nm Pet Scan                              ★★
P-867.   04/10/2017 Ir Ablation Liver Pet                    ★★
P-868.   04/10/2017 NM PET/CT IR                             ★★
P-869.   04/11/2017 Ultrasound ablation                      ★★
P-870.   04/12/2017 Chest Xray                               ★★
P-871.   04/12/2017 CT CHEST R/O PE                          ★★
P-872.   04/13/2017 CT Abdomen W Liver Triphasic W-Wo        ★★
         Contrast
P-873.   04/13/2017 Hepatic Angiogram                        ★★
P-874.   04/13/2017 Post Procedure Chest                     ★★
P-875.   04/13/2017 Ct Abdomen W Liver                       ★★
P-876.   04/21/2017 Post Procedure Chest                     ★★
P-877.   05/18/2017 MRCP                                     ★★
P-878.   05/18/2017 MRI                                      ★★
P-879.   05/28/2017 Ct Abdomen & Pelvis W Contrast           ★★
P-880.   06/01/2017 Pr Chest                                 ★★
P-881.   06/06/2017 Percutaneous Cholangiogram               ★★
P-882.   07/04/2017 Ir Angiogram                             ★★
P-883.   07/04/2017 CTa Abdomen                              ★★
P-884.   07/06/2017 Ir Drain Procedure Xray                  ★★
P-885.   7/27/2017 Forfile CT Abd And-Or Pel - Cd            ★★
P-886.   08/14/2017 Forfile Chest                            ★★
P-887.   08/18/2017 Ir Drain Procedure                       ★★
P-888.   09/01/2017 CT\SR                                    ★★
P-889.   09/05/2017 Ir Drain Procedure                       ★★

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P-890.   09/15/2017 Ir Drain Procedure                            ★★
P-891.   09/21/2017 Ir Drain Procedure                            ★★
P-892.   11/15/2017 Ir Drain Procedure                            ★★
P-893.   12/11/2017 Ir Drain Procedure                            ★★
P-894.   12/16/2017 Chest 2 Views                                 ★★
P-895.   02/05/2018 Ir Drain Procedure                            ★★
P-896.   02/05/2018 Chest 2 Views                                 ★★
P-897.   02/26/2018 Ir Drain Procedure                            ★★
P-898.   04/02/2018 Ir Drain Procedure                            ★★
P-899.   5/27/2018 Abdomen 1 View                                 ★★
P-900.   05/27/2018 Ir Drain Procedure                            ★★
P-901.   05/27/2018 Ir Perc Chol Existing Access                  ★★
P-902.   05/27/2018 Xr Chest 2V Frontal-Lat                       ★★
P-903.   6/12/2018 Ir Perc Chole Existing Access                  ★★
P-904.   7/31/2018 Chest 2V Frontal-Lat                           ★★
P-905.   12/14/2018 Ct Volume Measurements                        ★★
P-906.   01/18/2019 Ir Exchange Cath Bili Drain                   ★★
P-907.   03/01/2019 Xr Chest 2V Frontal-Lat                       ★★
P-908.   04/04/2019 Ir Exchange Cath Bili Drain                   ★★
P-909.   04/23/2019 Ir Exchange Cath Bili Drain                   ★★
P-910.   04/23/2019 Ir Perc Chol Existing Access                  ★★
P-911.   5/24/2019 Ir Exchange Cath Bili Drain                    ★★
P-912.   7/15/2019 Ir Perc Chole Existing Access                  ★★
P-913.   07/30/2019 Xr Abdomen 1V Supine                          ★★
P-914.   08/01/2019 Xr Abdomen 1V Supine                          ★★
P-915.   A Rule 1006 summary of hospitalization, surgeries, and   Reserve right to
         procedures, with supporting document referencing the     object upon receipt
         medical record.
P-916.   A Rule 1006 summary of lab values, with supporting       Reserve right to
         documents referencing the medical record                 object upon receipt
P-917.   A Rule 1006 summary of medical billing.                  Reserve right to
                                                                  object upon receipt
P-918.   A Rule 1006 summary of expenses.                         Reserve right to
                                                                  object upon receipt
P-919.   A Rule 1006 summary of pre-death loss of wages and       Reserve right to
         benefits.                                                object upon receipt
P-920.   A Rule 1006 summary of post-death loss of wages and      Reserve right to
         benefits.                                                object upon receipt
P-921.   A Rule 1006 summary of economic losses as calculated     Cumulative
         by Dr. Smith.                                            Prejudicial


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P-922.   A Rule 1006 summary of Dr. Ronald DeMatteo’s             Cumulative
         opinions as included on page 17 of his report.           Prejudicial
P-923.   Declaration of Nicholas Katrana with incident data       Paragraph 5 of
         “Exhibit A.”                                             Declaration –
                                                                  excluded per Court’s
                                                                  MIL Decision (Doc..
                                                                  409, No. 1b)
P-924.   3ps_Powers_099–0100; Probe Manual.                       Irrelevant (standard
                                                                  of care) see Court’s
                                                                  MIL Decision (Doc.
                                                                  409, No. 1)
P-925.   3PS_Powers_0001 - 3PS_Powers_0098; NeuWave               Irrelevant (standard
         Manual.                                                  of care and
                                                                  spoliation) see
                                                                  Court’s MIL
                                                                  Decision (Doc. 409,
                                                                  No. 1)
P-926.   Audio 1, Sofocleous and Erika Zak, March 22, 2017.       ★★
P-927.   Corrected Transcript of Audio 1, Sofocleous and Erika    ★★
         Zak, March 22, 2017.
P-928.   Audio 5, Dr. Kemeny and Erika Zak, January 25, 2017      ★★
P-929.   Transcript of Audio 5, Dr. Nancy Kemeny and Erika        ★★
         Zak, Jan. 25, 2017
P-930.   UnitedHealthcare Services medical lien letter, May 17,   Irrelevant
         2021.                                                    Misleading
                                                                  Prejudicial
P-931.   Rectal Cancer Disappears After Experimental Use of       ★
         Immunotherapy, MEMORIAL SLOAN KETTERING CANCER           Irrelevant
         CENTER (June 5, 2022).                                   Misleading
                                                                  Prejudicial
P-932.   2-Probe Microwave Ablation, University of Wisconsin      Hearsay
         School of Medicine and Public Health, Department of      Irrelevant
         Radiology, Tumor Ablation Laboratory (April 10, 2014),   Misleading
         https://www.youtube.com/watch?v=loEf7Wi8ZqY.             Prejudicial

P-933.   2-Probe Microwave Ablation with Infrared Overlay,        Hearsay
         University of Wisconsin School of Medicine and Public    Irrelevant
         Health, Department of Radiology, Tumor Ablation          Misleading
         Laboratory (April 10, 2014),                             Prejudicial
         https://www.youtube.com/watch?v=yOM5JYPElLA.
P-934.   NEUWAVE™ Microwave Ablation vs. Radiofrequency           Hearsay
         Ablation, Ethicon (March 11, 2019),                      Irrelevant
         https://www.youtube.com/watch?v=-lI7AE1NoM0.             Misleading
                                                                  Prejudicial


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P-935.   Erika Zak, Erika Zak: A posthumous letter to my      Excluded as hearsay
         daughter, Washington Post (Sep. 18, 2019).           see Court’s MIL
                                                              Order (Doc. 407, No.
                                                              7)
P-936.   6 Myths about Chemotherapy, MEMORIAL SLOAN           ★
         KETTERING CANCER CENTER,                             Hearsay
         https://www.mskcc.org/news/6-myths-about-            Irrelevant
         chemotherapy.                                        Misleading
                                                              Improper use of
                                                              impeachment
                                                              material
P-937.   About Diagnosis & Treatment, MEMORIAL SLOAN          ★
         KETTERING CANCER CENTER,                             Hearsay
         https://www.mskcc.org/cancer-care/diagnosis-         Irrelevant
         treatment#:~:text=Call%20833%2D686%2D5740%20or, Misleading
         can%20help%20answer%20your%20questions.&text=Ca Improper use of
         ncer%20diagnosis%20and%20treatment%20at,radiation impeachment
         %20therapy%2C%20and%20symptom%20management. material
P-938.   About Your Liver Infusion Pump , MEMORIAL SLOAN      ★
         KETTERING CANCER CENTER,                             Hearsay
         https://www.mskcc.org/cancer-care/patient-           Irrelevant
         education/about-your-liver-infusion-pump.            Misleading
                                                              Improper use of
                                                              impeachment
                                                              material
P-939.   Cancer Clinical Trials, MEMORIAL SLOAN KETTERING     ★
         CANCER CENTER, https://www.mskcc.org/cancer-         Hearsay
         care/clinical-trials.                                Irrelevant
                                                              Misleading
                                                              Improper use of
                                                              impeachment
                                                              material
P-940.   Chemotherapy, MEMORIAL SLOAN KETTERING CANCER        ★
         CENTER, https://www.mskcc.org/cancer-care/diagnosis- Hearsay
         treatment/cancer-treatments/chemotherapy,            Irrelevant
                                                              Misleading
                                                              Improper use of
                                                              impeachment
                                                              material
P-941.   Colon Cancer, MEMORIAL SLOAN KETTERING CANCER        ★
         CENTER, https://www.mskcc.org/cancer-                Hearsay
         care/types/colon#:~:text=Call%20833%2D686%2D5740 Irrelevant
         %20or,can%20help%20answer%20your%20questions.        Misleading



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                                                                  Improper use of
                                                                  impeachment
                                                                  material
P-942.   Constantinos T. Sofocleous, MD, PhD, MEMORIAL            ★
         SLOAN KETTERING CANCER CENTER,                           Hearsay
         https://www.mskcc.org/cancer-care/doctors/constantinos- Irrelevant
         sofocleous.                                              Misleading
                                                                  Improper use of
                                                                  impeachment
                                                                  material
P-943.   Hepatic Arterial Infusion Converts “Unresectable”        ★
         Colorectal Liver Mets, MEMORIAL SLOAN KETTERING          Hearsay
         CANCER CENTER, https://www.mskcc.org/clinical-           Irrelevant
         updates/hepatic-arterial-infusion-converts-unresectable- Misleading
         colorectal-liver-mets                                    Improper use of
                                                                  impeachment
                                                                  material
P-944.   History & Milestones, MEMORIAL SLOAN KETTERING           ★
         CANCER CENTER, https://www.mskcc.org/about/history-      Hearsay
         milestones.                                              Irrelevant
                                                                  Misleading
                                                                  Improper use of
                                                                  impeachment
                                                                  material
P-945.   Immunotherapy Cancer Treatment, MEMORIAL SLOAN           ★
         KETTERING CANCER CENTER,                                 Hearsay
         https://www.mskcc.org/cancer-care/diagnosis-             Irrelevant
         treatment/cancer-treatments/immunotherapy.               Misleading
                                                                  Improper use of
                                                                  impeachment
                                                                  material
P-946.   Interventional Radiology, MEMORIAL SLOAN KETTERING ★
         CANCER CENTER, https://www.mskcc.org/cancer-             Hearsay
         care/diagnosis-treatment/cancer-                         Irrelevant
         treatments/interventional-radiology.                     Misleading
                                                                  Improper use of
                                                                  impeachment
                                                                  material
P-947.   Jennifer’s Story, MEMORIAL SLOAN KETTERING CANCER ★
         CENTER, https://www.mskcc.org/experience/hear-from-      Hearsay
         patients/jennifer.                                       Irrelevant
                                                                  Misleading
                                                                  Improper use of
                                                                  impeachment
                                                                  material
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P-948.   Memorial Sloan Kettering Cancer Center, MEMORIAL       ★
         SLOAN KETTERING CANCER CENTER,                         Hearsay
         https://www.mskcc.org/.                                Irrelevant
                                                                Misleading
                                                                Improper use of
                                                                impeachment
                                                                material
P-949.   Nancy E. Kemeny, MD, MEMORIAL SLOAN KETTERING          ★
         CANCER CENTER, https://www.mskcc.org/cancer-           Hearsay
         care/doctors/nancy-kemeny.                             Irrelevant
                                                                Misleading
                                                                Improper use of
                                                                impeachment
                                                                material
P-950.   Radiation Therapy for Cancer, MEMORIAL SLOAN           ★
         KETTERING CANCER CENTER,                               Hearsay
         https://www.mskcc.org/cancer-care/diagnosis-           Irrelevant
         treatment/cancer-treatments/radiation-                 Misleading
         therapy#:~:text=Call%20833%2D686%2D5740%20or,ca Improper use of
         n%20help%20answer%20your%20questions.&text=Radi impeachment
         ation%20oncologist%20Kathryn%20Beal%20specializes material
         ,primary%20and%20metastatic%20brain%20tumors..
P-951.   Types of Cancer Treatment, MEMORIAL SLOAN              ★
         KETTERING CANCER CENTER,                               Hearsay
         https://www.mskcc.org/cancer-care/diagnosis-           Irrelevant
         treatment/cancer-treatments.                           Misleading
                                                                Improper use of
                                                                impeachment
                                                                material
P-952.   What Makes the Knight Cancer Institute Different, OHSU Hearsay
         KNIGHT CANCER INSTITUTE, https://www.ohsu.edu/knight-  Irrelevant
         cancer-institute/what-makes-knight-cancer-institute-   Misleading
         different.                                             Improper use of
                                                                impeachment
                                                                material
P-953.   Knight Cancer Institute Mission and Milestones, OHSU   Hearsay
         KNIGHT CANCER INSTITUTE, https://www.ohsu.edu/knight-  Irrelevant
         cancer-institute/knight-cancer-institute-mission-and-  Misleading
         milestones.                                            Improper use of
                                                                impeachment
                                                                material
P-954.   Hepatic Arterial Infusion (HAI), OHSU KNIGHT CANCER    Hearsay
         INSTITUTE, https://www.ohsu.edu/knight-cancer-         Irrelevant
         institute/hepatic-arterial-infusion-hai.               Misleading


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                                                                  Improper use of
                                                                  impeachment
                                                                  material
P-955.   Colorectal Cancer Diagnosis and Treatment, OHSU          Hearsay
         KNIGHT CANCER INSTITUTE, https://www.ohsu.edu/knight-    Irrelevant
         cancer-institute/colorectal-cancer-diagnosis-and-        Misleading
         treatment.                                               Improper use of
                                                                  impeachment
                                                                  material
P-956.   Gastrointestinal Cancers Team, OHSU KNIGHT CANCER        Hearsay
         INSTITUTE, https://www.ohsu.edu/knight-cancer-           Irrelevant
         institute/gastrointestinal-cancers-team.                 Misleading
                                                                  Improper use of
                                                                  impeachment
                                                                  material
P-957.   Liver Transplantation, CLEVELAND CLINIC,                 Hearsay
         https://my.clevelandclinic.org/health/treatments/8111-   Irrelevant
         liver-transplantation#procedure-details.                 Misleading
                                                                  Improper use of
                                                                  impeachment
                                                                  material
P-958.   Indications for Transplant, CLEVELAND CLINIC,            Hearsay
         https://my.clevelandclinic.org/departments/transplant/   Irrelevant
         programs/liver/indications.                              Misleading
                                                                  Improper use of
                                                                  impeachment
                                                                  material
P-959.   Overview, CLEVELAND CLINIC,                              Hearsay
         https://my.clevelandclinic.org/departments/transplant/   Irrelevant
         programs/liver/overview.                                 Misleading
                                                                  Improper use of
                                                                  impeachment
                                                                  material
P-960.   Transplant Team, CLEVELAND CLINIC,                       Hearsay
         https://my.clevelandclinic.org/departments/transplant/   Irrelevant
         programs/liver/team.                                     Misleading
                                                                  Improper use of
                                                                  impeachment
                                                                  material
P-961.   Prof. Constantinos T. Sofocleous, MD, PhD on Medical     Cumulative
         Education, Video of Presentation at Humanitas            (background)
         University Conference on January 23, 2017,               Irrelevant (global
         https://www.youtube.com/watch?v=4dYUQ5fe2jI.             education and
                                                                  training, MDTB,
                                                                  Humanitas University
                                                                  and training,
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                                                                   technology, advice
                                                                   for students)
                                                                   Misleading
                                                                   Prejudicial
                                                                   Improper
                                                                   impeachment
                                                                   material
P-962.   Jennifer Ford, Ablation for Lung Tumors: An Interview     Irrelevant (lung
         With Constantinos T. Sofocleous, MD, PhD,                 ablation)
         INTERVENTIONAL ONCOLOGY,                                  Misleading
         https://www.hmpgloballearningnetwork.com/site/iolearni Prejudicial
         ng/article/ablation-lung-tumors-interview-constantinos-t- Improper
         sofocleous-md-                                            impeachment
         phd?key=Constantinos+Sofocleous+and+lung+ablation& material
         elastic%5B0%5D=brand%3A32056 (March 5, 2015)
         (including video of the interview).
P-963.   Erika Zak’s Memorial Book (ZAK_NY 020741–59)              Hearsay
                                                                   Cumulative
                                                                   Prejudicial
P-964.   Dr. Skye Mayo’s speech from Erika Zak’s Memorial          Excluded Rule 403
         (ZAK_NY 020740)                                           see Court’s MIL
                                                                   Order (Doc. 409, No.
                                                                   17a)
P-965.   Dr. Skye Mayo’s notice of Erika’s death to staff          Excluded Rule 403
         (ZAK_NY 020739).                                          see Court’s MIL
                                                                   Order (Doc. 409, No.
                                                                   17a)
P-966.   Loie’s journal entry to Erika (ZAK_NY 020800–04)          Hearsay
                                                                   Cumulative
                                                                   Prejudicial
                                                                   Not disclosed during
                                                                   discovery
P-967.   Erika Zak, Morgan Love Thomas Collaboration,              Hearsay
         https://www.morganlovethomas.com/erikazak                 Irrelevant
                                                                   Cumulative
                                                                   Prejudicial
                                                                   Not disclosed during
                                                                   discovery
P-968.   Memorial Sloan Kettering Cancer Center medical billing ★
         (4/10/2017 – 12/31/2018) (inpatient, outpatient,          Irrelevant (any costs
         physician services) (ZAK_NY 020131–539)                   not related to
                                                                   ablation)
P-969.   Cleveland Clinic Foundation medical billing (12/18/2017 ★
         – 9/1/2019) (ZAK_NY 019736–55)                            Irrelevant (any costs
                                                                   not related to
                                                                   ablation)
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   P-970.   Oregon Health & Science University medical billing     ★
            (4/10/2017 –9/1/2019) (Defs’ Exchange_OHSU             Irrelevant (any costs
            Billing_001–144)                                       not related to
                                                                   ablation)
   P-971.   Walgreen Pharmacy billing records (4/10/2017 –         ★
            9/1/2019) (Def’s Exchange_Walmart Custodian or         Irrelevant (any costs
            Records_001–160)                                       not related to
                                                                   ablation)


  Plaintiff                           Title                               Objections
Demonstrative
 Exhibit No.
   PD-1.      An educational model of a liver.                        Reserve objections
                                                                      pending receipt
                                                                      and review
   PD-2.       An exemplar of NeuWave Medical Certus 140 2.45GHz Reserve objections
               ablation probe.                                        pending receipt
                                                                      and review
   PD-3.       An exemplar of bags, drainage tubes, syringes, and     Reserve objections
               other equipment similar to that used by Erika Zak to   pending receipt
               manage her injury post ablation.                       and review
   PD-4.       A set of demonstrative medical illustrations.          Reserve objections
                                                                      pending receipt
                                                                      and review
   PD-5.       Medical illustrations of anatomy and radiology         Reserve objections
               education.                                             pending receipt
                                                                      and review
   PD-6.       Medical illustrations of Erika Zak’s pre-ablation      Reserve objections
               anatomy and radiology.                                 pending receipt
                                                                      and review
   PD-7.       Medical illustrations of the April 10, 2017 microwave  Reserve objections
               ablation procedure.                                    pending receipt
                                                                      and review
   PD-8.       Medical illustrations of Erika Zak’s post-ablation     Reserve objections
               anatomy and radiology.                                 pending receipt
                                                                      and review
   PD-9.       Medical illustrations of Erika’s Zak’s radiology.      Reserve objections
                                                                      pending receipt
                                                                      and review
   PD-10.      Medical illustration of before and after radiological  Reserve objections
               images of Erika Zak’s liver.                           pending receipt
                                                                      and review
   PD-11.      Medical illustrations and images of thermal energy and Reserve objections
               microwaves.                                            pending receipt
                                                                      and review
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     PD-12.          Supporting reconstruction documents and illustrations.     Reserve objections
                                                                                pending receipt
                                                                                and review
     PD-13.          Supporting reference documents and illustrations.          Reserve objections
                                                                                pending receipt
                                                                                and review
     PD-14.          A set of demonstrative animations of the April 10, 2017    Reserve objections
                     ablation procedure.                                        pending receipt
                                                                                and review
     PD-15.          An animation of Erika’s liver anatomy.                     Reserve objections
                                                                                pending receipt
                                                                                and review
     PD-16.          An animation of the 03/21/2017 CT and PET scans.           Reserve objections
                                                                                pending receipt
                                                                                and review
     PD-17.          An animation of lesion proximity to critical structures.   Reserve objections
                                                                                pending receipt
                                                                                and review
     PD-18.          An animation of the 04/10/2017 ablation procedure.         Reserve objections
                                                                                pending receipt
                                                                                and review
     PD-19.          An animation of the 04/10/2017 PET scans.                  Reserve objections
                                                                                pending receipt
                                                                                and review
     PD-20.          An animation of the 04/10/2017 ablation data.              Reserve objections
                                                                                pending receipt
                                                                                and review
     PD-21.          An animation of the 04/10/2017 CT scans.                   Reserve objections
                                                                                pending receipt
                                                                                and review
     PD-22.          A visual timeline of relevant events in Erika’s medical    Reserve objections
                     history.                                                   pending receipt
                                                                                and review
     PD-23.          A demonstrative timeline of Erika’s hospitalization,       Reserve objections
                     surgeries, and procedures.                                 pending receipt
                                                                                and review
     PD-24.          A set of demonstrative summaries of lab values.            Reserve objections
                                                                                pending receipt
                                                                                and review


Defendants:
Defendants reserve the right to use radiology marking software of various films in evidence in real
time.
 Exhibit      Cite                      Description                         Objection
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D-1.   MHCAD Patient        Memorial Patient Portal         Lacks authenticity under
       Portal 001-018       Messages 9/4/14 - 11/28/17      FRE 901. Inadmissible
                                                            hearsay under FRE
                                                            801/802.
D-2.   Memorial's Patient   Memorial Appointment List       Lacks authenticity under
       Appointment List     7/17/14 - 7/26/17               FRE 901. Inadmissible
       001-035                                              hearsay under FRE
                                                            801/802.
D-3.   Kemeny Spreedsheet   Dr. Kemeny Pump Treatment       Lacks authenticity under
       001-007              Flow Sheets 9/11/14 - 6/28/17   FRE 901. Inadmissible
                                                            hearsay under FRE
                                                            801/802.
D-4.   MSK Digital Path     4/10/17 Biopsy – disclosed      Lacks authenticity under
       Image #1             during expert discovery         FRE 901. Pursuant to
                                                            FRCP 37(c)(1),
                                                            Defendants failed to
                                                            timely disclose this
                                                            evidence which was
                                                            within its own
                                                            possession. Argument
                                                            on both points is more
                                                            fully provided in
                                                            response to Defendants’
                                                            letter to deem these
                                                            images authentic (Doc
                                                            391).
D-5.   MSK Digital Path     4/10/17 Biopsy – disclosed      Lacks authenticity under
       Image #2             during expert discovery         FRE 901. Pursuant to
                                                            FRCP 37(c)(1),
                                                            Defendants failed to
                                                            timely disclose this
                                                            evidence which was
                                                            within its own
                                                            possession. Argument
                                                            on both points is more
                                                            fully provided in
                                                            response to Defendants’
                                                            letter to deem these
                                                            images authentic (Doc
                                                            391).
D-6.   MSK Digital Path     4/10/17 Biopsy – disclosed      Lacks authenticity under
       Image #3             during expert discovery         FRE 901. Pursuant to
                                                            FRCP 37(c)(1),
                                                            Defendants failed to
                                                            timely disclose this
                                                            evidence which was
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                                                       within its own
                                                       possession. Argument
                                                       on both points is more
                                                       fully provided in
                                                       response to Defendants’
                                                       letter to deem these
                                                       images authentic (Doc
                                                       391).
D-7.   CC Pathology Re-     8/22/19 Liver Transplant   Lack authenticity under
       Cuts                 Surgery                    FRE 901. Argument on
                                                       this point is more fully
                                                       provided in response to
                                                       Defendants’ letter to
                                                       deem these images
                                                       authentic (Doc 391).
D-8.   CC Digital Path      8/22/19 Liver Transplant   Lacks authenticity under
       Image of Re-Cut #1   Surgery                    FRE 901. Defendants’
                                                       expert created these
                                                       images for the purpose
                                                       of litigation and did not
                                                       timely produce them as
                                                       reliance material.
                                                       Pursuant to FRCP
                                                       37(c)(1), Defendants
                                                       failed to timely disclose
                                                       this evidence which was
                                                       within its own
                                                       possession. Argument
                                                       on both points is more
                                                       fully provided in
                                                       response to Defendants’
                                                       letter to deem these
                                                       images authentic (Doc
                                                       391).
D-9.   CC Digital Path      8/22/19 Liver Transplant   Lacks authenticity under
       Image of Re-Cut #2   Surgery                    FRE 901. Defendants’
                                                       expert created these
                                                       images for the purpose
                                                       of litigation and did not
                                                       timely produce them as
                                                       reliance material.
                                                       Pursuant to FRCP
                                                       37(c)(1), Defendants
                                                       failed to timely disclose
                                                       this evidence which was
                                                       within its own

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                                                      possession. Argument
                                                      on both points is more
                                                      fully provided in
                                                      response to Defendants’
                                                      letter to deem these
                                                      images authentic (Doc
                                                      391).
D-10. CC Digital Path      8/22/19 Liver Transplant   Lacks authenticity under
      Image of Re-Cut #3   Surgery                    FRE 901. Defendants’
                                                      expert created these
                                                      images for the purpose
                                                      of litigation and did not
                                                      timely produce them as
                                                      reliance material.
                                                      Pursuant to FRCP
                                                      37(c)(1), Defendants
                                                      failed to timely disclose
                                                      this evidence which was
                                                      within its own
                                                      possession. Argument
                                                      on both points is more
                                                      fully provided in
                                                      response to Defendants’
                                                      letter to deem these
                                                      images authentic (Doc
                                                      391).
D-11. CC Digital Path      8/22/19 Liver Transplant   Lacks authenticity under
      Image of Re-Cut #4   Surgery                    FRE 901. Defendants’
                                                      expert created these
                                                      images for the purpose
                                                      of litigation and did not
                                                      timely produce them as
                                                      reliance material.
                                                      Pursuant to FRCP
                                                      37(c)(1), Defendants
                                                      failed to timely disclose
                                                      this evidence which was
                                                      within its own
                                                      possession. Argument
                                                      on both points is more
                                                      fully provided in
                                                      response to Defendants’
                                                      letter to deem these
                                                      images authentic (Doc
                                                      391).


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D-12. CC Digital Path      8/22/19 Liver Transplant   Lacks authenticity under
      Image of Re-Cut #5   Surgery                    FRE 901. Defendants’
                                                      expert created these
                                                      images for the purpose
                                                      of litigation and did not
                                                      timely produce them as
                                                      reliance material.
                                                      Pursuant to FRCP
                                                      37(c)(1), Defendants
                                                      failed to timely disclose
                                                      this evidence which was
                                                      within its own
                                                      possession. Argument
                                                      on both points is more
                                                      fully provided in
                                                      response to Defendants’
                                                      letter to deem these
                                                      images authentic (Doc
                                                      391).
D-13. CC Digital Path      8/22/19 Liver Transplant   Lacks authenticity under
      Image of Re-Cut #6   Surgery                    FRE 901. Defendants’
                                                      expert created these
                                                      images for the purpose
                                                      of litigation and did not
                                                      timely produce them as
                                                      reliance material.
                                                      Pursuant to FRCP
                                                      37(c)(1), Defendants
                                                      failed to timely disclose
                                                      this evidence which was
                                                      within its own
                                                      possession. Argument
                                                      on both points is more
                                                      fully provided in
                                                      response to Defendants’
                                                      letter to deem these
                                                      images authentic (Doc
                                                      391).
D-14. CC Digital Path      8/22/19 Liver Transplant   Lacks authenticity under
      Image of Re-Cut #7   Surgery                    FRE 901. Defendants’
                                                      expert created these
                                                      images for the purpose
                                                      of litigation and did not
                                                      timely produce them as
                                                      reliance material.
                                                      Pursuant to FRCP

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                                                      37(c)(1), Defendants
                                                      failed to timely disclose
                                                      this evidence which was
                                                      within its own
                                                      possession. Argument
                                                      on both points is more
                                                      fully provided in
                                                      response to Defendants’
                                                      letter to deem these
                                                      images authentic (Doc
                                                      391).
D-15. CC Digital Path      8/22/19 Liver Transplant   Lacks authenticity under
      Image of Re-Cut #8   Surgery                    FRE 901. Defendants’
                                                      expert created these
                                                      images for the purpose
                                                      of litigation and did not
                                                      timely produce them as
                                                      reliance material.
                                                      Pursuant to FRCP
                                                      37(c)(1), Defendants
                                                      failed to timely disclose
                                                      this evidence which was
                                                      within its own
                                                      possession. Argument
                                                      on both points is more
                                                      fully provided in
                                                      response to Defendants’
                                                      letter to deem these
                                                      images authentic (Doc
                                                      391).
D-16. CC Digital Path      8/22/19 Liver Transplant   Lacks authenticity under
      Image of Re-Cut #9   Surgery                    FRE 901. Defendants’
                                                      expert created these
                                                      images for the purpose
                                                      of litigation and did not
                                                      timely produce them as
                                                      reliance material.
                                                      Pursuant to FRCP
                                                      37(c)(1), Defendants
                                                      failed to timely disclose
                                                      this evidence which was
                                                      within its own
                                                      possession. Argument
                                                      on both points is more
                                                      fully provided in
                                                      response to Defendants’

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                                                       letter to deem these
                                                       images authentic (Doc
                                                       391).
D-17. CC Digital Path       8/22/19 Liver Transplant   Lacks authenticity under
      Image of Re-Cut #10   Surgery                    FRE 901. Defendants’
                                                       expert created these
                                                       images for the purpose
                                                       of litigation and did not
                                                       timely produce them as
                                                       reliance material.
                                                       Pursuant to FRCP
                                                       37(c)(1), Defendants
                                                       failed to timely disclose
                                                       this evidence which was
                                                       within its own
                                                       possession. Argument
                                                       on both points is more
                                                       fully provided in
                                                       response to Defendants’
                                                       letter to deem these
                                                       images authentic (Doc
                                                       391).
D-18. CC Digital Path       8/22/19 Liver Transplant   Lacks authenticity under
      Image of Re-Cut #11   Surgery                    FRE 901. Defendants’
                                                       expert created these
                                                       images for the purpose
                                                       of litigation and did not
                                                       timely produce them as
                                                       reliance material.
                                                       Pursuant to FRCP
                                                       37(c)(1), Defendants
                                                       failed to timely disclose
                                                       this evidence which was
                                                       within its own
                                                       possession. Argument
                                                       on both points is more
                                                       fully provided in
                                                       response to Defendants’
                                                       letter to deem these
                                                       images authentic (Doc
                                                       391).
D-19. CC Digital Path       8/22/19 Liver Transplant   Lacks authenticity under
      Image of Re-Cut #12   Surgery                    FRE 901. Defendants’
                                                       expert created these
                                                       images for the purpose
                                                       of litigation and did not

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                                                       timely produce them as
                                                       reliance material.
                                                       Pursuant to FRCP
                                                       37(c)(1), Defendants
                                                       failed to timely disclose
                                                       this evidence which was
                                                       within its own
                                                       possession. Argument
                                                       on both points is more
                                                       fully provided in
                                                       response to Defendants’
                                                       letter to deem these
                                                       images authentic (Doc
                                                       391).
D-20. CC Digital Path       8/22/19 Liver Transplant   Lacks authenticity under
      Image of Re-Cut #13   Surgery                    FRE 901. Defendants’
                                                       expert created these
                                                       images for the purpose
                                                       of litigation and did not
                                                       timely produce them as
                                                       reliance material.
                                                       Pursuant to FRCP
                                                       37(c)(1), Defendants
                                                       failed to timely disclose
                                                       this evidence which was
                                                       within its own
                                                       possession. Argument
                                                       on both points is more
                                                       fully provided in
                                                       response to Defendants’
                                                       letter to deem these
                                                       images authentic (Doc
                                                       391).
D-21. CC Digital Path       8/22/19                    Lacks authenticity under
      Image of Re-Cut #14   Liver                      FRE 901. Defendants’
                            Transplant                 expert created these
                            Surgery                    images for the purpose
                                                       of litigation and did not
                                                       timely produce them as
                                                       reliance material.
                                                       Pursuant to FRCP
                                                       37(c)(1), Defendants
                                                       failed to timely disclose
                                                       this evidence which was
                                                       within its own
                                                       possession. Argument

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                                                             on both points is more
                                                             fully provided in
                                                             response to Defendants’
                                                             letter to deem these
                                                             images authentic (Doc
                                                             391).
D-22. Dr. Sadler's Hepatic   7/30/2014 Study – timely        Lacks authenticity under
      Arterial Image #1      disclosed to plaintiff during   FRE 901. Defendants’
                             expert discovery and prior to   expert created these
                             Dr. Sadler’s deposition         images for the purposes
                                                             of litigation and they
                                                             have never been
                                                             provided to Plaintiff.
                                                             Pursuant to FRCP
                                                             37(c)(1), Defendants
                                                             failed to disclose this
                                                             evidence which was
                                                             within its own
                                                             possession.
D-23. Dr. Sadler's Hepatic   7/30/2014 Study – timely        Lacks authenticity under
      Arterial Image #2      disclosed to plaintiff during   FRE 901. Defendants’
                             expert discovery and prior to   expert created these
                             Dr. Sadler’s deposition         images for the purposes
                                                             of litigation and they
                                                             have never been
                                                             provided to Plaintiff.
                                                             Pursuant to FRCP
                                                             37(c)(1), Defendants
                                                             failed to disclose this
                                                             evidence which was
                                                             within its own
                                                             possession.
D-24. Dr. Sadler's Hepatic   1/24/2017 Study – timely        Lacks authenticity under
      Arterial Image #3      disclosed to plaintiff during   FRE 901. Defendants’
                             expert discovery and prior to   expert created these
                             Dr. Sadler’s deposition         images for the purposes
                                                             of litigation and they
                                                             have never been
                                                             provided to Plaintiff.
                                                             Pursuant to FRCP
                                                             37(c)(1), Defendants
                                                             failed to disclose this
                                                             evidence which was
                                                             within its own
                                                             possession.


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D-25. NCCN Guidelines        Complete Copy and same as       ★ Objection to hearsay
      Version 2.2017 Panel   plaintiff’s exhibit             to the extent the
      Members Colon                                          periodical’s use at trial
      Cancer                                                 does not comply with
                                                             FRE 803 (18).
D-26. 3/22/17 Text           Exhibit B at Metz Deposition    Irrelevant under FRE
      Messages between                                       401/402.
      Scott Powers and
      Chloe Metz
D-27. 3/22/17 Text           Exhibit C1 at Metz Deposition   Includes inadmissible
      Messages between                                       hearsay under FRE
      Scott Powers and                                       801/802 with regard to
      Chloe Metz                                             statements by Chloe
                                                             Metz.
D-28. 3/22/17 Text           Exhibit C2 at Metz Deposition   Includes inadmissible
      Messages between                                       hearsay under FRE
      Scott Powers and                                       801/802 with regard to
      Chloe Metz                                             statements by Chloe
                                                             Metz.
D-29. 3/22/17 Text           Exhibit C3 at Metz Deposition   Includes inadmissible
      Messages between                                       hearsay under FRE
      Scott Powers and                                       801/802 with regard to
      Chloe Metz                                             statements by Chloe
                                                             Metz.
D-30. 3/22/17 Text           Exhibit C4 at Metz Deposition   Includes inadmissible
      Messages between                                       hearsay under FRE
      Scott Powers and                                       801/802 with regard to
      Chloe Metz                                             statements by Chloe
                                                             Metz.
D-31. 3/22/17 Text           Exhibit C5 at Metz Deposition   Includes inadmissible
      Messages between                                       hearsay under FRE
      Scott Powers and                                       801/802 with regard to
      Chloe Metz                                             statements by Chloe
                                                             Metz.
D-32. 3/22/17 Text           Exhibit D at Metz Deposition    Irrelevant under FRE
      Messages between                                       401/402.
      Scott Powers and
      Chloe Metz
D-33. 3/22/17 Text           Exhibit F at Metz Deposition    Irrelevant under FRE
      Messages between                                       401/402.
      Ms. Zak and Chloe
      Metz
D-34. 3/22/17 Text           Exhibit F1 at Metz Deposition   Includes inadmissible
      Messages between                                       hearsay under FRE
      Ms. Zak and Chloe                                      801/802.
      Metz
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D-35. Chloe Metz Email       Exhibit E at Metz Deposition   Includes inadmissible
      4/14/14                                               hearsay under FRE
                                                            801/802. Irrelevant
                                                            under FRE 401/402.
D-36. Anthony Vassallo    Exhibit I at Metz Deposition      Includes inadmissible
      Email 4/14/14 and                                     hearsay under FRE
      Chloe Metz Response                                   801/802. Irrelevant
                                                            under FRE 401/402.
D-37. Audio recording from                                  The evidence should be
      Ms. Zak's 6/2016                                      excluded because, as the
      visit with Dr.                                        Court concluded in
      Kemeny                                                Order 409 granting
                                                            Defendants’ Motion in
                                                            Limine number 7 (Doc.
                                                            301), there are no claims
                                                            asserted against Dr.
                                                            Kemeny. This evidence
                                                            will confuse the jury
                                                            under FRE 403 because
                                                            Dr. Kemeny’s treatment
                                                            is not at issue. Further,
                                                            this evidence would be
                                                            needlessly cumulative
                                                            under FRE 403 because
                                                            Dr. Kemeny will testify
                                                            in person during the
                                                            trial.
D-38. Transcript of audio                                   The evidence should be
      recording from Ms.                                    excluded because, as the
      Zak's 6/2016 visit                                    Court concluded in
      with Dr. Kemeny                                       Order 409 granting
                                                            Defendants’ Motion in
                                                            Limine number 7 (Doc.
                                                            301), there are no claims
                                                            asserted against Dr.
                                                            Kemeny. This evidence
                                                            will confuse the jury
                                                            under FRE 403 because
                                                            Dr. Kemeny’s treatment
                                                            is not at issue. Further,
                                                            this evidence would be
                                                            needlessly cumulative
                                                            under FRE 403 because
                                                            Dr. Kemeny will testify
                                                            in person during the
                                                            trial.

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D-39. Audio recording #1                           The evidence should be
      of Ms. Zak's 3/22/17                         excluded because, as the
      visit with Dr.                               Court concluded in
      Kemeny                                       Order 409 granting
                                                   Defendants’ Motion in
                                                   Limine number 7 (Doc.
                                                   301), there are no claims
                                                   asserted against Dr.
                                                   Kemeny. This evidence
                                                   will confuse the jury
                                                   under FRE 403 because
                                                   Dr. Kemeny’s treatment
                                                   is not at issue. Further,
                                                   this evidence would be
                                                   needlessly cumulative
                                                   under FRE 403 because
                                                   Dr. Kemeny will testify
                                                   in person during the
                                                   trial.
D-40. Transcript of audio                          The evidence should be
      recording #1 of Ms.                          excluded because, as the
      Zak's 3/22/17 visit                          Court concluded in
      with Dr. Kemeny                              Order 409 granting
                                                   Defendants’ Motion in
                                                   Limine number 7 (Doc.
                                                   301), there are no claims
                                                   asserted against Dr.
                                                   Kemeny. This evidence
                                                   will confuse the jury
                                                   under FRE 403 because
                                                   Dr. Kemeny’s treatment
                                                   is not at issue. Further,
                                                   this evidence would be
                                                   needlessly cumulative
                                                   under FRE 403 because
                                                   Dr. Kemeny will testify
                                                   in person during the
                                                   trial.
D-41. Audio recording #2                           The evidence should be
      of Ms. Zak's 3/22/17                         excluded because, as the
      visit with Dr.                               Court concluded in
      Kemeny                                       Order 409 granting
                                                   Defendants’ Motion in
                                                   Limine number 7 (Doc.
                                                   301), there are no claims
                                                   asserted against Dr.

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                                                   Kemeny. This evidence
                                                   will confuse the jury
                                                   under FRE 403 because
                                                   Dr. Kemeny’s treatment
                                                   is not at issue. Further,
                                                   this evidence would be
                                                   needlessly cumulative
                                                   under FRE 403 because
                                                   Dr. Kemeny will testify
                                                   in person during the
                                                   trial.
D-42. Transcript of audio                          The evidence should be
      recording #2 of Ms.                          excluded because, as the
      Zak's 3/22/17 visit                          Court concluded in
      with Dr. Kemeny                              Order 409 granting
                                                   Defendants’ Motion in
                                                   Limine number 7 (Doc.
                                                   301), there are no claims
                                                   asserted against Dr.
                                                   Kemeny. This evidence
                                                   will confuse the jury
                                                   under FRE 403 because
                                                   Dr. Kemeny’s treatment
                                                   is not at issue. Further,
                                                   this evidence would be
                                                   needlessly cumulative
                                                   under FRE 403 because
                                                   Dr. Kemeny will testify
                                                   in person during the
                                                   trial.
D-43. Audio recording #3                           The evidence should be
      of Ms. Zak's 3/22/17                         excluded because, as the
      visit with Dr.                               Court concluded in
      Kemeny                                       Order 409 granting
                                                   Defendants’ Motion in
                                                   Limine number 7 (Doc.
                                                   301), there are no claims
                                                   asserted against Dr.
                                                   Kemeny. This evidence
                                                   will confuse the jury
                                                   under FRE 403 because
                                                   Dr. Kemeny’s treatment
                                                   is not at issue. Further,
                                                   this evidence would be
                                                   needlessly cumulative
                                                   under FRE 403 because

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                                                              Dr. Kemeny will testify
                                                              in person during the
                                                              trial.
D-44. Transcript of audio                                     The evidence should be
      recording #3 of Ms.                                     excluded because, as the
      Zak's 3/22/17 visit                                     Court concluded in
      with Dr. Kemeny                                         Order 409 granting
                                                              Defendants’ Motion in
                                                              Limine number 7 (Doc.
                                                              301), there are no claims
                                                              asserted against Dr.
                                                              Kemeny. This evidence
                                                              will confuse the jury
                                                              under FRE 403 because
                                                              Dr. Kemeny’s treatment
                                                              is not at issue. Further,
                                                              this evidence would be
                                                              needlessly cumulative
                                                              under FRE 403 because
                                                              Dr. Kemeny will testify
                                                              in person during the
                                                              trial.
D-45. ZAK_NY 19435          Dr. DeMatteo Letter 4/12/18       This Court excluded Dr.
                            (Dr. Mayo’s letter not excluded   Mayo’s statements
                            as plaintiff claims)              advocating for insurance
                                                              coverage on FRE 403
                                                              grounds because it was
                                                              not written in
                                                              connection with
                                                              providing treatment.
                                                              This letter was written
                                                              for the same purpose
                                                              and should be excluded
                                                              on the same ground.
D-46. ZAK_NY 19436          Dr. Kemeny Letter                 This Court excluded Dr.
                            (Dr. Mayo’s letter not excluded   Mayo’s statements
                            as plaintiff claims)              advocating for insurance
                                                              coverage on FRE 403
                                                              grounds because it was
                                                              not written in
                                                              connection with
                                                              providing treatment.
                                                              This letter was written
                                                              for the same purpose
                                                              and should be excluded
                                                              on the same ground.

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D-47. CV of Dr. Sofocleous   reserving right depending on if   Objection to hearsay.
                             Court allows CV of plaintiff's    FRE 801/802. Pursuant
                             experts                           to FRCP 37(c)(1),
                                                               Defendants failed to
                                                               disclose this evidence
                                                               which was within its
                                                               own possession.
                                                               Objection as cumulative
                                                               under FRE 403, as Dr.
                                                               Sofocleous is not an
                                                               expert in this case, his
                                                               full CV is needlessly
                                                               cumulative.
D-48. CV of Dr. Kemeny       reserving right depending on if   Objection to hearsay.
                             Court allows CV of plaintiff's    FRE 801/802. Pursuant
                             experts                           to FRCP 37(c)(1),
                                                               Defendants failed to
                                                               disclose this evidence
                                                               which was within its
                                                               own possession.
                                                               Objection as cumulative
                                                               under FRE 403, as Dr.
                                                               Kemeny is not an expert
                                                               in this case, her full CV
                                                               is needlessly
                                                               cumulative.
                                                               The evidence should be
                                                               excluded because, as the
                                                               Court concluded in
                                                               Order 409 granting
                                                               Defendants’ Motion in
                                                               Limine number 7 (Doc.
                                                               301), there are no claims
                                                               asserted against Dr.
                                                               Kemeny. This evidence
                                                               will confuse the jury
                                                               under FRE 403 because
                                                               Dr. Kemeny’s treatment
                                                               is not at issue. Further,
                                                               this evidence would be
                                                               needlessly cumulative
                                                               under FRE 403 because
                                                               Dr. Kemeny will testify
                                                               in person during the
                                                               trial.


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D-49. CV of Dr. Fischman       reserving right depending on if   ★★
                               Court allows CV of plaintiff's
                               experts
D-50. CV of Dr. Theise         reserving right depending on if   ★★
                               Court allows CV of plaintiff's
                               experts
D-51. CV of Dr. Bernstein      reserving right depending on if   ★★
                               Court allows CV of plaintiff's
                               experts
D-52. CV of Dr. Sadler         reserving right depending on if   ★★
                               Court allows CV of plaintiff's
                               experts
D-53. CV of Dr. Rubinson       reserving right depending on if   ★★
                               Court allows CV of plaintiff's
                               experts
D-54. Kataria, S., et al.,                                       ★ Objection to hearsay
      Spectrum of Morbid                                         to the extent the
      Anatomy of Liver in                                        periodical’s use at trial
      Autopsy Cases. Int. J.                                     does not comply with
      Res. Med. Sci.;9(7).                                       FRE 803 (18). Objection
      (June 6, 2021).                                            to relevance under FRE
                                                                 401/402 as the literature
                                                                 discusses conditions and
                                                                 treatments unrelated to
                                                                 this case. For this
                                                                 reason, it confuse the
                                                                 issues and mislead the
                                                                 jury under FRE 403.
D-55. Poulou LS, et al.                                          ★ Objection to hearsay
      Percutaneous                                               to the extent the
      Microwave Ablation                                         periodical’s use at trial
      vs Radiofrequency                                          does not comply with
      Ablation in the                                            FRE 803 (18). Objection
      Treatment of                                               to relevance under FRE
      Hepatocellular                                             401/402 as the literature
      Carcinoma. World. J.                                       discusses conditions and
      Hepatol.;7(8): (May                                        treatments unrelated to
      18, 2015).                                                 this case. For this
                                                                 reason, it will confuse
                                                                 the issues and mislead
                                                                 the jury under FRE 403.
D-56. Karanicolas PJ, et al.                                     ★ Objection to hearsay
      Long-term Outcomes                                         to the extent the
      Following Tumor                                            periodical’s use at trial
      Ablation for                                               does not comply with
      Treatment of                                               FRE 803 (18). Objection
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       Bilateral Colorectal                        to relevance under FRE
       Liver Metastases.                           401/402 as the literature
       JAMA                                        discusses conditions and
       Surg.;148(7):597–                           treatments unrelated to
       601. (July 2013).                           this case. For this
                                                   reason, it will confuse
                                                   the issues and mislead
                                                   the jury under FRE 403.
D-57. Boas, F. E., et al.                          ★ Objection to hearsay
      Radioembolization of                         as the periodical’s use at
      Colorectal Liver                             trial does not comply
      Metastases:                                  with FRE 803 (18).
      Indications,
      Technique, and
      Outcomes. J. Nucl.
      Med.58(Supp.2),
      104S–111S.
      (September 2017).
D-58. Livraghi T, et al.                           ★ Objection to hearsay
      Complications of                             to the extent the
      Microwave Ablation                           periodical’s use at trial
      for Liver Tumors:                            does not comply with
      Results of a                                 FRE 803 (18).
      Multicenter Study.
      Cardiovasc.
      Intervent. Radiol.;
      35(4): 868-74.
      (August 2012).
D-59. Takahide Nakazawa,                           ★ Objection to hearsay
      et al. Radiofrequency                        to the extent the
      Ablation of                                  periodical’s use at trial
      Hepatocellular                               does not comply with
      Carcinoma:                                   FRE 803 (18). Objection
      Correlation Between                          to relevance under FRE
      Local Tumor                                  401/402 as the literature
      Progression After                            discusses conditions and
      Ablation and Ablative                        treatments unrelated to
      Margin, Am.                                  this case. For this
      J.Roentgenol.; 188:2,                        reason, it will confuse
      480-488 (February                            the issues and mislead
      2007).                                       the jury under FRE 403.
D-60. de Baere T, et al.                           ★ Objection to hearsay
      Hepatic                                      to the extent the
      Malignancies:                                periodical’s use at trial
      Percutaneous                                 does not comply with
      Radiofrequency                               FRE 803 (18). Objection
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       Ablation during                             to relevance under FRE
       Percutaneous Portal                         401/402 as the literature
       or Hepatic Vein                             discusses conditions and
       Occlusion.                                  treatments unrelated to
       Radiology;248(3)                            this case. For this
       (September 2008).                           reason, it will confuse
                                                   the issues and mislead
                                                   the jury under FRE 403.
D-61. Snoeren N, et al.                            ★ Objection to hearsay
      Multipolar                                   to the extent the
      Radiofrequency                               periodical’s use at trial
      Ablation for                                 does not comply with
      Colorectal Liver                             FRE 803 (18). Objection
      Metastases close to                          to relevance under FRE
      Major Hepatic                                401/402 as the literature
      Vessels.                                     discusses conditions and
      Surgeon;13(2):77-82.                         treatments unrelated to
      (April 2015).                                this case. For this
                                                   reason, it will confuse
                                                   the issues and mislead
                                                   the jury under FRE 403.
D-62. Urbonas T, et al.                            ★ Objection to hearsay
      Factors Predicting                           to the extent the
      Ablation Site                                periodical’s use at trial
      Recurrence following                         does not comply with
      Percutaneous                                 FRE 803 (18). Objection
      Microwave Ablation                           to relevance under FRE
      of Colorectal Hepatic                        401/402 as the literature
      Metastases. HPB                              discusses conditions and
      (Oxford):                                    treatments unrelated to
      21(9):1175-1184                              this case. Further
      (September 2019).                            relevance objection
                                                   under FRE 401/402, this
                                                   is standard of care
                                                   evidence that was not
                                                   available at the time of
                                                   the ablation procedure.
                                                   For this reason, it will
                                                   confuse the issues and
                                                   mislead the jury under
                                                   FRE 403.
D-63. Nie X, et al.                                ★ Objection to hearsay
      Numerical Study of                           to the extent the
      the Effect of Blood                          periodical’s use at trial
      Vessel on the                                does not comply with
      Microwave Ablation                           FRE 803 (18).
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      Shape. Biomed.
      Mater. Eng.;26 Suppl
      1:S265-70. (2015).
D-64. Ringe, K. I., et al.                         ★ Objection to hearsay
      Experimental                                 to the extent the
      Evaluation of the                            periodical’s use at trial
      Heat Sink Effect in                          does not comply with
      Hepatic Microwave                            FRE 803 (18).
      Ablation. PloS one,
      10(7), e0134301
      (2015).
D-65. Poch FG, et al., The                         ★ Objection to hearsay
      Vascular Cooling                             to the extent the
      Effect in Hepatic                            periodical’s use at trial
      Multipolar                                   does not comply with
      Radiofrequency                               FRE 803 (18). Objection
      Ablation Leads to                            to relevance under FRE
      Incomplete Ablation                          401/402 as the literature
      ex vivo. Int. J.                             discusses conditions and
      Hyperthermia.                                treatments unrelated to
      32(7):749-56.                                this case. For this
      (November 2016).                             reason, it will confuse
                                                   the issues and mislead
                                                   the jury under FRE 403.
D-66. David S. K. Lu, et al.,                      ★ Objection to hearsay
      Effect of Vessel Size                        to the extent the
      on Creation of                               periodical’s use at trial
      Hepatic                                      does not comply with
      Radiofrequency                               FRE 803 (18). Objection
      Lesions in Pigs:                             to relevance under FRE
      Assessment of the                            401/402 as the literature
      "Heat Sink" Effect.                          discusses conditions and
      Am. J.                                       treatments unrelated to
      Roentgenol.;178:1,                           this case. For this
      47-51 (2002).                                reason, it will confuse
                                                   the issues and mislead
                                                   the jury under FRE 403.
D-67. Izaaryene J, et al.,                         ★ Objection to hearsay
      Computed                                     to the extent the
      Tomography-Guided                            periodical’s use at trial
      Microwave Ablation                           does not comply with
      of Perivascular Liver                        FRE 803 (18).
      Metastases from
      Colorectal Cancer: a
      Study of the Ablation
      Zone, Feasibility, and
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       Safety. Int J
       Hyperthermia;38(1):8
       87-899. (2021).

D-68. Masaaki Akahane, et                          ★ Objection to hearsay
      al., Complications of                        to the extent the
      Percutaneous                                 periodical’s use at trial
      Radiofrequency                               does not comply with
      Ablation for Hepato-                         FRE 803 (18). Objection
      Cellular Carcinoma:                          to relevance under FRE
      Imaging Spectrum                             401/402 as the literature
      and Management.                              discusses conditions and
      RadioGraphics;25(Su                          treatments unrelated to
      pp.1) (October 1,                            this case. For this
      2005).                                       reason, it will confuse
                                                   the issues and mislead
                                                   the jury under FRE 403.
D-69. de Baère T, et al.,                          ★ Objection to hearsay
      Adverse Events                               to the extent the
      During                                       periodical’s use at trial
      Radiofrequency                               does not comply with
      Treatment of 582                             FRE 803 (18). Objection
      Hepatic Tumors. Am                           to relevance under FRE
      J                                            401/402 as the literature
      Roentgenol.;181(3):6                         discusses conditions and
      95-700. (Sept 2003).                         treatments unrelated to
                                                   this case. For this
                                                   reason, it will confuse
                                                   the issues and mislead
                                                   the jury under FRE 403.
D-70. Imajo K, et al., A                           ★ Objection to hearsay
      review of                                    to the extent the
      Conventional and                             periodical’s use at trial
      Newer Generation                             does not comply with
      Microwave Ablation                           FRE 803 (18). Objection
      Systems for                                  to relevance under FRE
      Hepatocellular                               401/402 as the literature
      Carcinoma. J. Med.                           discusses conditions and
      Ultrason.;47(2):265-                         treatments unrelated to
      277. (2020).                                 this case. For this
                                                   reason, it will confuse
                                                   the issues and mislead
                                                   the jury under FRE 403.



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D-71. Correa-Gallego, C.,                          ★ Objection to hearsay
      et al., A Retrospective                      to the extent the
      Comparison of                                periodical’s use at trial
      Microwave Ablation                           does not comply with
      vs. Radiofrequency                           FRE 803 (18). Objection
      Ablation for                                 to relevance under FRE
      Colorectal Cancer                            401/402 as the literature
      Hepatic Metastases.                          discusses conditions and
      Ann. Surg. Oncol.;                           treatments unrelated to
      21(13): 4278–4283.                           this case. Further
      (December 2014).                             relevance objection
                                                   under FRE 401/402, to
                                                   the extent this is
                                                   standard of care
                                                   evidence that was not
                                                   available at the time of
                                                   the ablation procedure.
                                                   For this reason, it will
                                                   confuse the issues and
                                                   mislead the jury under
                                                   FRE 403.
D-72. Takuma Teratani, T.,                         ★ Objection to hearsay
      et al., Radiofrequency                       to the extent the
      Ablation for                                 periodical’s use at trial
      Hepatocellular                               does not comply with
      Carcinoma in So-                             FRE 803 (18). Objection
      Called High-Risk                             to relevance under FRE
      Locations.                                   401/402 as the literature
      HEPATOLOGY;43(5                              discusses conditions and
      ). (2006)                                    treatments unrelated to
                                                   this case. For this
                                                   reason, it will confuse
                                                   the issues and mislead
                                                   the jury under FRE 403.
D-73. Pak LM, et al.,                              ★ Objection to hearsay
      Prospective Phase II                         to the extent the
      Trial of Combination                         periodical’s use at trial
      Hepatic Artery                               does not comply with
      Infusion and Systemic                        FRE 803 (18).
      Chemotherapy for
      Unresectable
      Colorectal Liver
      Metastases: Long
      Term Results and
      Curative Potential. J.
      Surg.
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       Oncol.;117(4):634-
       643. (March 2018).


D-74. D'Angelica M, et al.,                        ★ Objection to hearsay
      Effect on Outcome of                         to the extent the
      Recurrence Patterns                          periodical’s use at trial
      after Hepatectomy for                        does not comply with
      Colorectal                                   FRE 803 (18). Further
      Metastases. Ann.                             relevance objection
      Surg.                                        under FRE 401/402, to
      Oncol.;18(4):1096-                           the extent that this is
      103. (April 2011).                           presented as standard of
                                                   care evidence that was
                                                   not available at the time
                                                   of the ablation
                                                   procedure. For this
                                                   reason, it will confuse
                                                   the issues and mislead
                                                   the jury under FRE 403.
D-75. Reccia I, et al.,                            ★ Objection to hearsay
      Radiofrequency-                              to the extent the
      Assisted LIver                               periodical’s use at trial
      Resection: Technique                         does not comply with
      and Results. Surg.                           FRE 803 (18). Objection
      Oncol.;27(3):415-                            to relevance under FRE
      420. (September                              401/402 as the literature
      2018).                                       discusses conditions and
                                                   treatments unrelated to
                                                   this case. Further
                                                   relevance objection
                                                   under FRE 401/402, to
                                                   the extent that this is
                                                   presented as standard of
                                                   care evidence that was
                                                   not available at the time
                                                   of the ablation
                                                   procedure. For this
                                                   reason, it will confuse
                                                   the issues and mislead
                                                   the jury under FRE 403.
D-76. Akgül, Ö., et al., Role                      ★ Objection to hearsay
      of Surgery in                                to the extent the
      Colorectal Cancer                            periodical’s use at trial
      Liver Metastases.                            does not comply with
      World J.                                     FRE 803 (18). Objection
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       Gastroenterol.;20(20)                       to relevance under FRE
       , 6113-6122. (May                           401/402 as the literature
       28, 2014).                                  discusses conditions and
                                                   treatments unrelated to
                                                   this case. For this
                                                   reason, it will confuse
                                                   the issues and mislead
                                                   the jury under FRE 403.
D-77. Creasy, J. M., et al.,                       ★ Objection to hearsay
      Actual 10-Year                               to the extent the
      Survival after                               periodical’s use at trial
      Hepatic Resection of                         does not comply with
      Colorectal Liver                             FRE 803 (18). Objection
      Metastases: What                             under 403, to the extent
      Factors Preclude                             the literature discusses
      Cure?                                        survival of patients
      Surgery;163(6),                              unlike Erika Zak, it will
      1238–1244. (2018).                           confuse the issues and
                                                   mislead the jury.
D-78. Muaddi H, et al.,                            ★ Objection to hearsay
      Safety and Feasibility                       to the extent the
      of Initiating a                              periodical’s use at trial
      Hepatic Artery                               does not comply with
      Infusion Pump                                FRE 803 (18).
      Chemotherapy
      Program for
      Unresectable
      Colorectal Liver
      Metastases: A
      Multicenter,
      Retrospective Cohort
      Study. J. Surg.
      Oncol.;123(1):252-
      260 (January 2021).
D-79. Hohn D, et al.,                              ★ ★ Objection to
      Biliary Sclerosis in                         hearsay as the
      Patients Receiving                           periodical’s use at trial
      Hepatic Arterial                             does not comply with
      Infusions of                                 FRE 803 (18). Objection
      Floxuridine. J. Clin.                        to relevance under FRE
      Oncol.;3(1):98-102.                          401/402 as the literature
      (January 1985).                              is outdated and
                                                   discusses a different
                                                   treatment protocol than
                                                   that used in this case.
                                                   For this reason, it will
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                                                   confuse the issues and
                                                   mislead the jury under
                                                   FRE 403.
D-80. Kurilova I, et al.,                          ★ Objection to hearsay
      Factors Associated                           to the extent the
      with Local Tumor                             periodical’s use at trial
      Control and                                  does not comply with
      Complications After                          FRE 803 (18). Further
      Thermal Ablation of                          relevance objection
      Colorectal Cancer                            under FRE 401/402, to
      Liver Metastases: A                          the extent that this is
      15-year Retrospective                        presented as standard of
      Cohort Study. Clin.                          care evidence that was
      Colorectal                                   not available at the time
      Cancer;20(2):e82-                            of the ablation
      e95. (June 2021).                            procedure. For this
                                                   reason, it will confuse
                                                   the issues and mislead
                                                   the jury under FRE 403.
D-81. Doria MI Jr, et al.,                         ★ Objection to hearsay
      Liver Pathology                              as the periodical’s use at
      following Hepatic                            trial does not comply
      Arterial Infusion                            with FRE 803 (18).
      Chemotherapy:                                Objection to relevance
      Hepatic Toxicity with                        under FRE 401/402 as
      FUDR. Cancer.                                the literature is outdated
      15;58(4):855-                                and discusses a different
      61.(August 1986).                            treatment protocol than
                                                   that used in this case.
                                                   For this reason, it will
                                                   confuse the issues and
                                                   mislead the jury under
                                                   FRE 403.
D-82. DʼAngelica MI, et al.,                       ★ Objection to hearsay
      Phase II Trial of                            to the extent the
      Hepatic Artery                               periodical’s use at trial
      Infusional and                               does not comply with
      Systemic                                     FRE 803 (18). Objection
      Chemotherapy for                             under 403, to the extent
      Patients with                                the literature discusses a
      Unresectable Hepatic                         different treatment
      Metastases from                              protocol than that used
      Colorectal Cancer:                           in this case it will
      Conversion to                                confuse the issues and
      Resection and Long-                          mislead the jury.
      Term Outcomes. Ann.
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       Surg.;261(2)
       (February 2015).



D-83. Oberfield RA, et al.,                        ★ Objection to hearsay
      Prolonged and                                as the periodical’s use at
      Continuous                                   trial does not comply
      Percutaneous Intra-                          with FRE 803 (18).
      Arterial Hepatic                             Objection to relevance
      Infusion                                     under FRE 401/402 as
      Chemotherapy in                              the literature is outdated
      Advanced Metastatic                          and discusses a different
      Liver                                        treatment protocol than
      Adenocarcinoma                               that used in this case.
      from Colorectal                              For this reason, it will
      Primary.                                     confuse the issues and
      Cancer;44(2):414-23.                         mislead the jury under
      (August 1979).                               FRE 403.
D-84. Brown KT, et al.,                            ★ Objection to hearsay
      Obstructive Jaundice                         as the periodical’s use at
      in Patients Receiving                        trial does not comply
      Hepatic Artery                               with FRE 803 (18).
      Infusional                                   Objection to relevance
      Chemotherapy:                                under FRE 401/402 as
      Etiology, Treatment                          the literature is outdated
      Implications, and                            and discusses a different
      Complications after                          treatment protocol than
      Transhepatic Biliary                         that used in this case.
      Drainage. J. Vasc.                           For this reason, it will
      Interv.                                      confuse the issues and
      Radiol.;8(2):229-34.                         mislead the jury under
      (1997).                                      FRE 403.
D-85. Shea WJ Jr, et al.,                          ★ Objection to hearsay
      Sclerosing                                   as the periodical’s use at
      Cholangitis                                  trial does not comply
      Associated with                              with FRE 803 (18).
      Hepatic Arterial                             Objection to relevance
      FUDR                                         under FRE 401/402 as
      Chemotherapy:                                the literature is outdated
      Radiographic-                                and discusses a different
      Histologic                                   treatment protocol than
      Correlation. Am. J.                          that used in this case.
      Roentgenol.;146(4):7                         For this reason, it will
      17-21. (April 1986).                         confuse the issues and

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                                                   mislead the jury under
                                                   FRE 403.

D-86. Brown KT, et al.,                            ★ This exhibit is
      Obstructive Jaundice                         duplicative of D-85.
      in Patients Receiving                        Plaintiff proffers the
      Hepatic Artery                               same objections.
      Infusional
      Chemotherapy:                                Defendants agree to
      Etiology, Treatment                          withdraw exhibit D-87.
      Implications, and
      Complications after
      Transhepatic Biliary
      Drainage. J. Vasc.
      Interv.
      Radiol.;8(2):229-34.
      (1997).
D-87. LiverTox: Clinical                           ★ Objection to hearsay
      and Research                                 to the extent the
      Information on Drug-                         periodical’s use at trial
      Induced Liver Injury.                        does not comply with
      Floxuridine. National                        FRE 803 (18).
      Institute of Diabetes
      and Digestive and
      Kidney Diseases
      (Updated February 2,
      2018).
D-88. Sandrasegaran K,                             ★ Objection to hearsay
      Alazmi WM, et al.,                           to the extent the
      Chemotherapy-                                periodical’s use at trial
      Induced Sclerosing                           does not comply with
      Cholangitis. Clin.                           FRE 803 (18). Objection
      Radiol.;61(8):670-8.                         to relevance under FRE
      (August 2006).                               401/402 as the literature
                                                   discusses a different
                                                   treatment protocol than
                                                   that used in this case.
                                                   For this reason, it will
                                                   confuse the issues and
                                                   mislead the jury under
                                                   FRE 403.
D-89. Kemeny N, et al.,                            ★ Objection to hearsay
      Hepatic Artery Pump                          as the periodical’s use at
      Infusion: Toxicity and                       trial does not comply
      Results in Patients                          with FRE 803 (18).
      with Metastatic                              Objection to relevance
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       Colorectal                                   under FRE 401/402 as
       Carcinoma. J. Clin.                          the literature is outdated
       Oncol.;2(6):595-600.                         and discusses a different
       (June 1984).                                 treatment protocol than
                                                    that used in this case.
                                                    For this reason, it will
                                                    the issues and mislead
                                                    the jury under FRE 403.
D-90. Consult QD. First                             ★ Objection to hearsay,
      Transplant to Treat                           this is not a statement in
      Liver Metastases                              a learned treatise,
      from Colorectal                               periodical, or pamphlet
      Cancer in the U.S.                            but a news story. The
      https://consultqd.clev                        publication cannot be
      elandclinic.org                               established as a reliable
      (Published January                            authority, and it does not
      18 2018).                                     comply with FRE 803
                                                    (18). Objection to
                                                    relevance under FRE
                                                    401/402 as the literature
                                                    discusses treatments
                                                    unrelated to this case.
                                                    For this reason, it will
                                                    confuse the issues and
                                                    mislead the jury under
                                                    FRE 403.
D-91. Gudnason, H. O. et                            ★ Objection to hearsay
      al. Secondary                                 to the extent the
      Sclerosing                                    periodical’s use at trial
      Cholangitis. Clin.                            does not comply with
      Exp.                                          FRE 803 (18).
      Gastroenterol.10,
      105–111. (2017).
D-92. Samaras, P., et al.                           ★ Objection to hearsay
      Hemorrhage                                    to the extent the
      Associated with                               periodical’s use at trial
      Hepatic Artery                                does not comply with
      Pseudoaneurysms                               FRE 803 (18). Objection
      after Regional                                to relevance under FRE
      Chemotherapy with                             401/402 as the literature
      Floxuridine: Case                             discusses the use of
      Report. Int. Semin.                           different equipment than
      Surg. Oncol. ISSO, 5,                         that used in this case.
      17. (2008).                                   For this reason, it will
                                                    confuse the issues and

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                                                    mislead the jury under
                                                    FRE 403.


D-93. Pozniak, et al.                               ★ Objection to hearsay
      Complications of                              as the periodical’s use at
      Hepatic Arterial                              trial does not comply
      Infusion                                      with FRE 803 (18).
      Chemotherapy.                                 Objection to relevance
      RadioGraphics. Vol.                           under FRE 401/402 as
      11, No. 1. Jan. 1991                          the literature is outdated
                                                    and discusses a different
                                                    treatment protocol than
                                                    that used in this case.
                                                    For this reason, it will
                                                    the issues and mislead
                                                    the jury under FRE 403.
D-94. Shady W, et al.                               ★ Objection to hearsay
      Percutaneous                                  as the periodical’s use at
      Microwave versus                              trial does not comply
      Radiofrequency                                with FRE 803 (18).
      Ablation of
      Colorectal Liver
      Metastases: Ablation
      with Clear Margins
      (A0) Provides the
      Best Local Tumor
      Control. J Vasc
      Interv Radiol. 2018
      Feb;29(2):268-275
D-95. Rhaiem R, et al.                              ★ Objection to hearsay
      Microwave                                     to the extent the
      Thermoablation of                             periodical’s use at trial
      Colorectal Liver                              does not comply with
      Metastases Close to                           FRE 803 (18). Objection
      Large Hepatic                                 to relevance under FRE
      Vessels Under                                 401/402 as the literature
      Pringle Maneuver                              discusses treatments
      Minimizes the "Heat                           unrelated to this case.
      Sink Effect". World J                         Further relevance
      Surg. 2020                                    objection under FRE
      May;44(5):1595-                               401/402, to the extent
      1603                                          that this is presented as
                                                    standard of care
                                                    evidence that was not
                                                    available at the time of
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                                                    the ablation procedure.
                                                    For these reasons, it will
                                                    confuse the issues and
                                                    mislead the jury under
                                                    FRE 403.
D-96. Cercek A, et al.                              ★ Objection to hearsay
      Assessment of                                 to the extent the
      Hepatic Arterial                              periodical’s use at trial
      Infusion of                                   does not comply with
      Floxuridine in                                FRE 803 (18). Objection
      Combination With                              to relevance under FRE
      Systemic                                      401/402 as the literature
      Gemcitabine and                               discusses conditions and
      Oxaliplatin in                                treatments unrelated to
      Patients With                                 this case. For this
      Unresectable                                  reason, it will confuse
      Intrahepatic                                  the issues and mislead
      Cholangiocarcinoma:                           the jury under FRE 403.
      A Phase 2 Clinical
      Trial. JAMA Oncol.
      2020 Jan 1;6(1):60-
      67
D-97. Kim KR, et al.                                ★ Objection to hearsay
      Complications of                              to the extent the
      Image-guided                                  periodical’s use at trial
      Thermal Ablation of                           does not comply with
      Liver and Kidney                              FRE 803 (18).
      Neoplasms. Semin
      Intervent Radiol.
      2014 Jun;31(2):138-
      48
D-98. Kanat O, et al. What                          ★ Objection to hearsay
      is the potential role of                      to the extent the
      hepatic arterial                              periodical’s use at trial
      infusion chemo-                               does not comply with
      therapy in the current                        FRE 803 (18).
      armamentorium
      against colorectal
      cancer. J Gastrointest
      Oncol. 2012
      Jun;3(2):130-8
D-99. Chiang J, et al.                              ★ Objection to hearsay
      Potential                                     to the extent the
      Mechanisms of                                 periodical’s use at trial
      Vascular Thrombosis                           does not comply with
      after Microwave                               FRE 803 (18). Objection
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         Ablation in an in                           under FRE 401/402, to
         Vivo Liver. J Vasc                          the extent that this is
         Interv Radiol. 2017                         presented as standard of
         Jul;28(7):1053-1058                         care evidence that was
                                                     not available at the time
                                                     of the ablation
                                                     procedure. For this
                                                     reason, it will confuse
                                                     the issues and mislead
                                                     the jury under FRE 403.
D-100.   Ruitrr, et al. Liver                        ★ Objection to hearsay
         Microwave Ablation.                         to the extent the
         European Radiology                          periodical’s use at trial
         (2019)                                      does not comply with
                                                     FRE 803 (18). Objection
                                                     under FRE 401/402, to
                                                     the extent that this is
                                                     presented as standard of
                                                     care evidence that was
                                                     not available at the time
                                                     of the ablation
                                                     procedure. Further
                                                     objection under 403, to
                                                     the extent the literature
                                                     discusses different
                                                     machines then were
                                                     used in this case. For
                                                     these reasons, it will
                                                     confuse the issues and
                                                     mislead the jury under
                                                     FRE 403.
D-101.   Winokur, et al.                             ★ Objection to hearsay
         Characterization of In                      to the extent the
         Vivo Ablation Zones.                        periodical’s use at trial
         Journal of Vasc and                         does not comply with
         International                               FRE 803 (18). Objection
         Radiolgoy. Dec.                             under 403, to the extent
         2014                                        the literature discusses
                                                     different equipment then
                                                     were used in this case.
                                                     For these reasons, it will
                                                     confuse the issues and
                                                     mislead the jury under
                                                     FRE 403.


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D-102.   Dollinger, et al.                           ★ Objection to hearsay
         Adverse effects of                          to the extent the
         irreversible                                periodical’s use at trial
         electroporation of                          does not comply with
         malignant liver                             FRE 803 (18).
         tumors under CT
         fluroscopic guidance:
         a single-center
         experience. Diagn
         Interv Radiol. 2015
         Nov-Dec; 21(6): 471-
         475
D-103.   J Oncol Pharm Pract.                        ★ Objection to hearsay
         2023 Feb                                    to the extent the
         23:107815522311587                          periodical’s use at trial
         44. doi:                                    does not comply with
         10.1177/1078155223                          FRE 803 (18).
         1158744. Online
         ahead of print.
         Evaluation of biliary
         toxicity in patients
         with hepatic artery
         infusion pumps.

         Elijah J(1)(2),
         Schepers AJ(1)(2),
         Krauss JC(3),
         McDevitt RL(1)(2).
D-104.   MHCAD Emails 005                            ★★
D-105.   MHCAD Emails 011-                           ★★
         013
D-106.   MHCAD Emails 015-                           ★★
         16
D-107.   MHCAD Emails 019-                           ★★
         21
D-108.   MHCAD Emails 023-                           ★★
         24
D-109.   MHCAD 035-36                                ★★
D-110.   MHCAD Emails 045                            ★★
D-111.   MHCAD 049                                   ★★
D-112.   ZAK_NY 19431 Dr.                            ★ Objection hearsay.
         Sofocleous Text
         Message 5/3/17



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D-113.   Dr. Sofocleous Text   Redacting "enjoy your             ★
         Messages with Dr.     vacation" (026), "be back
         Deipolyi 001-31       Tuesday" (027), "boarding
                               now" (027 and 028), and "Have
                               a safe fight" (029) per Court's
                               MIL decision
D-114.   MHCAD 16-377          Memorial Lab Results 7/30/14 -    ★★
                               5/3/17
D-115.   MHCAD 448-49          Cleveland Clinic Surgical         ★★
                               Pathology Report 1/5/18
                               Procedure
D-116.   MHCAD 450-51          Fax to Cleveland Clinic           ★★
                               12/28/17
D-117.   MHCAD 452-54          Cleveland Clinic Fax 12/27/17     ★★
D-118.   MHCAD 455             Letter to Cleveland Clinic        ★★
                               12/27/17
D-119.   MHCAD 456-58          Cleveland Clinic Fax 12/26/17     ★★
D-120.   MHCAD 459             Fax to Cleveland Clinic           ★★
                               12/21/17
D-121.   MHCAD 460             Fax to Cleveland Clinic           ★★
                               12/18/17
D-122.   MHCAD 461             Letter to Cleveland Clinic        ★★
                               12/18/17
D-123.   MHCAD 462-64          Cleveland Clinic Fax 12/15/17     ★★
D-124.   MHCAD 465-66          Outpatient Orders 11/28/17        ★★
D-125.   MHCAD 467-77,         OHSU Fax to Dr. Kemeny            ★★
         480-505, 509-36,      11/29/17
         539-43, 547-603
D-126.   MHCAD 478-79          OHSU CT Multiphase Liver          ★★
                               and Pelvis 11/21/17
D-127.   MHCAD 506-08          OHSU IR Drain Procedure           ★★
                               11/15/17
D-128.   MHCAD 537-38          OHSU CTA Chest 11/10/17           ★★
D-129.   MHCAD 544-46          OHSU CT Chest Abdomen and         ★★
                               Pelvis 11/1/17
D-130.   MHCAD 604-06          OHSU IR Drain Procedure           ★★
                               9/21/17
D-131.   MHCAD 607-08          OHSU CT Chest Abdomen and         ★★
                               Pelvis 9/18/17
D-132.   MHCAD 609-11          Outpatient Orders 9/13/17         ★★
D-133.   MHCAD 613-14          OHSU IR Drain Procedure           ★★
                               9/5/17
D-134.   MHCAD 615             OHSU Chest X-Ray 9/6/17           ★★


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D-135.   MHCAD 616-17     OHSU IR Drain Procedure      ★★
                          9/5/17
D-136.   MHCAD 618-19     OHSU CT Liver and Pelvis     ★★
                          9/1/17
D-137.   MHCAD 620-21     OHSU CT Abdomen and Pelvis   ★★
                          9/1/17
D-138.   MHCAD 622        Outpatient Orders 8/29/17    ★★
D-139.   MHCAD 624        Outpatient Orders 8/24/17    ★★
D-140.   MHCAD 626        Outpatient Orders 8/21/17    ★★
D-141.   MHCAD 628-29     OHSU CT Chest Abdomen and    ★★
                          Pelvis 8/17/17
D-142.   MHCAD 630-34     OHSU Fax 8/16/17             ★★
D-143.   MHCAD 635-37     OHSU PET CT 8/7/17           ★★
D-144.   MHCAD 641-42     OHSU CT Liver and Pelvis     ★★
                          7/27/17
D-145.   MHCAD 643-44     OHSU US Needle Aspiration    ★★
                          7/28/17
D-146.   MHCAD 645        OHSU US Abdomen 7/27/17      ★★
D-147.   MHCAD 646-47     OHSU CT Liver and Pelvis     ★★
                          7/28/17
D-148.   MHCAD 648-652    Information from Mayo to     ★★
                          Kemeny
D-149.   MHCAD 653-54     OHSU Fax 7/12/17             ★★
D-150.   MHCAD 661        Outpatient Orders 7/10/17    ★★
D-151.   MHCAD 663-664    Email chain from Dr. Mayo    ★★
                          ending 7/6/17
D-152.   MHCAD 665-66     OHSU IR Drain Procedure      ★★
                          7/6/17
D-153.   MHCAD 667        OHSU X-Ray Abdomen 7/6/17    ★★
D-154.   MHCAD 668-70     OHSU IR Angiogram 7/4/17     ★★
D-155.   MHCAD 671-72     OHSU CTA Abdomen 7/4/17      ★★
D-156.   MHCAD 673-76     Outpatient Orders 6/26/17    ★★
D-157.   MHCAD 677-78     OHSU CT Liver and Pelvis     ★★
                          6/26/17
D-158.   MHCAD 681        Outpatient Orders 6/22/17    ★★
D-159.   MHCAD 683-84     OHSU MRI Cholangiography     ★★
D-160.   MHCAD 685-86     OHSU CT Chest 6/12/17        ★★
D-161.   MHCAD 687        Fax to Dr. Lynne Strasfeld   ★★
                          6/8/17
D-162.   MHCAD 688-89     Fax from OHSU 6/6/17         ★★
D-163.   MHCAD 690-91     Fax from OHSU 6/7/17         ★★
D-164.   MHCAD 692-700    OHSU Fax 6/8/17              ★★

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D-165.   MHCAD 701, 712   OHSU Fax 6/7/17                 ★★
D-166.   MHCAD 713, 715   Outpatient Orders 6/1/17        ★★
D-167.   MHCAD 719-20     OHSU CT Liver and Pelvis        ★★
                          5/21/17
D-168.   MHCAD 721-22     OHSU MRI Cholangiography        ★★
                          5/18/17
D-169.   MHCAD 723-24     OHSU CT Abdomen and Pelvis      ★★
                          5/17/17
D-170.   MHCAD 725-29     OHSU Fax 5/17/17                ★★
D-171.   MHCAD 730-33     VNSNY Certification 5/15/17     ★★
D-172.   MHCAD 734-42     OHSU Fax 5/11/17                ★★
D-173.   MHCAD 743        OHSU Fax 5/5/17                 ★★
D-174.   MHCAD 746-49     Dr. Kemeny visit note 5/3/17    ★★
D-175.   MHCAD 751-54     Outpatient Nurssing             ★★
                          Assessment 5/3/17
D-176.   MHCAD 755-57     Vital Signs 5/3/17              ★★
D-177.   MHCAD 758        Medication Administration       ★★
                          5/3/17
D-178.   MHCAD 764-70     Home Medication List 5/3/17     ★★
D-179.   MHCAD 771-73     Dr. Kemeny Note to Dr. Lopez    ★★
                          5/3/17
D-180.   MHCAD 774-76     Nursing Encounter 5/3/17        ★★
D-181.   MHCAD 777-78     Outpatient Orders 5/3/17        ★★
D-182.   MHCAD 779-80     Dr. Kemeny Disposition 5/3/17   ★★
D-183.   MHCAD 787-88     Social Work Note 5/2/17         ★★
D-184.   MHCAD 789-90     HPB Surgery Note 5/2/17         ★★
D-185.   MHCAD 791-94     IR Note 5/2/17                  ★★
D-186.   MHCAD 796-98     Discharge Summary 5/2/17        ★★
D-187.   MHCAD 799-802    Discharge Orders 4/28/17 -      ★★
                          5/2/17
D-188.   MHCAD 804        Case Management 5/2/17          ★★
D-189.   MHCAD 805-12     Vital Signs 4/28/17 - 5/2/17    ★★
D-190.   MHCAD 813-833    I&O Flowsheets 4/28/17 -        ★★
                          5/2/17
D-191.   MHCAD 834-43     Home Medication List 4/28/17    ★★
D-192.   MHCAD 849-51     Nursing Assessment 5/2/17 AM    ★★
D-193.   MHCAD 874-77     Outpatient Orders 5/2/17        ★★
D-194.   MHCAD 878-905    Orders 4/28/17 - 5/2/17         ★★
D-195.   MHCAD 906        Care of Tubes 5/2/17            ★★
D-196.   MHCAD 907-08     Medication Review 5/2/17        ★★
D-197.   MHCAD 909-12     ID Initial Consult 5/1/17       ★★

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D-198.   MHCAD 913-14     Massage Therapy Visit 5/1/17    ★★
D-199.   MHCAD 915-16     HPB Surgery Note 5/1/17         ★★
D-200.   MHCAD 917        IR Note 5/1/17                  ★★
D-201.   MHCAD 918        Case Management Discharge       ★★
                          Plan 5/1/17
D-202.   MHCAD 919        Nursing Telephone Note 5/1/17   ★★
D-203.   MHCAD 920-23     Nursing Assessment 5/1/17 AM    ★★
D-204.   MHCAD 924-27     Nursing Assessment 5/1/17 PM    ★★
D-205.   MHCAD 928        Skin/Wound Learning 5/1/17      ★★
D-206.   MHCAD 929-34     Nutrition Initial Assessment    ★★
                          4/30/17
D-207.   MHCAD 934-35     NPB Surgery Note 4/30/17        ★★
D-208.   MHCAD 936-41     Home Medication List            ★★
D-209.   MHCAD 942-46     Nursing Assessment 4/30/17      ★★
                          PM
D-210.   MHCAD 947-50     Nursing Assessment 4/30/17      ★★
                          AM
D-211.   MHCAD 951        Nursing Event Note 4/30/17      ★★
D-212.   MHCAD 952        Medication Teaching 4/30/17     ★★
D-213.   MHCAD 953-54     Medication Review 4/30/17       ★★
D-214.   MHCAD 955-56     HPB Surgery Note 4/29/17        ★★
D-215.   MHCAD 960-65     Initial Nursing Assessment      ★★
                          4/29/17
D-216.   MHCAD 966-70     Nursing Assessment 4/29/17      ★★
                          PM
D-217.   MHCAD 971        Nursing Event Note 4/29/17      ★★
D-218.   MHCAD 972-75     UCC Nursing Assessment          ★★
                          4/29/17 AM
D-219.   MHCAD 979-80     HPB Surgery Admission Note      ★★
                          4/28/17
D-220.   MHCAD 983-84     UCC Medication                  ★★
                          Administration 4/28/17
D-221.   MHCAD 985-89     Medication Administration       ★★
                          4/28/17 - 5/2/17
D-222.   MHCAD 990-96     Home Medication List 5/3/17     ★★
D-223.   MHCAD 997-98     Dr. DeMatteo Letter to Dr.      ★★
                          Lopez 5/22/17
D-224.   MHCAD 999-1000   Nursing Telephone Note          ★★
                          4/28/17
D-225.   MHCAD 1001-08    Outpatient Orders 4/28/17       ★★
D-226.   MHCAD 1009-11    4/28/17 CT chest with CTA,      ★★
                          and CT abdomen and Pelvis
                          Report
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D-227.   CD MSK Radiology   Accompanying 4/28/17 film       ★★
D-228.   MHCAD 1014-18      UCC Physician Note 4/28/17      ★★
D-229.   MHCAD 1019-20      UCC Triage Note 4/28/17         ★★
D-230.   MHCAD 1021         UCC Disposition Order 4/28/17   ★★
D-231.   MHCAD 1024         UCC Nursing Notes 4/28/17 -     ★★
                            4/29/17
D-232.   MHCAD 1026         UCC Notification 4/28/17        ★★
D-233.   MHCAD 1027-29      UCC Nursing Assessment          ★★
                            4/28/17 PM
D-234.   MHCAD 1030-31      VNS NY Referral 4/17/17         ★★
D-235.   MHCAD 1032-33      Connected Home Health           ★★
                            Referral 4/24/17
D-236.   MHCAD 1038-40      NP HPB Surgery Note 4/26/17     ★★
D-237.   MHCAD 1041-42      HPB Surgery Note 4/26/17        ★★
D-238.   MHCAD 1043-45      Discharge Summary 4/26/17       ★★
D-239.   MHCAD 1046-49      Discharge Orders 4/21/17 -      ★★
                            4/26/17
D-240.   MHCAD 1050         Case Management 4/26/17         ★★
D-241.   MHCAD 1051-61      Vital Signs 4/21/17             ★★
D-242.   MHCAD 1062-90      I&O Flowsheets 4/21-17-         ★★
                            4/26/17
D-243.   MHCAD 1091-1100    Home Medication List 4/21/17    ★★
D-244.   MHCAD 1108-1110    Nursing Assessment 4/26/17      ★★
                            AM
D-245.   MHCAD 1111-13      Nursing Focused Assessment      ★★
                            4/21/17 - 4/26/17
D-246.   MHCAD 1155-1201    Orders 4/21/17 - 4/26/17        ★★
D-247.   MHCAD 1205-06      HPB Surgery Note 4/25/17        ★★
D-248.   MHCAD 1207-08      IR Note 4/25/17                 ★★
D-249.   MHCAD 1209         Case Management 4/25/17         ★★
D-250.   MHCAD 1210-12      Nursing Assessment 4/25/17      ★★
                            AM
D-251.   MHCAD 1213-16      Nursing Assessment 4/25/17      ★★
                            PM
D-252.   MHCAD 1224-25      HPB Surgery Note 4/24/17        ★★
D-253.   MHCAD 1226-27      IR Note 4/24/17                 ★★
D-254.   MHCAD 1229         Case Management 4/24/17         ★★
D-255.   MHCAD 1230-33      Nursing Assessment 4/24/17      ★★
                            AM
D-256.   MHCAD 1234-36      Nursing Assessment 4/24/17      ★★
                            PM
D-257.   MHCAD 1237         Outpatient Order 4/24/17        ★★
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D-258.   MHCAD 1246-47    HPB Surgery Note 4/23/17       ★★
D-259.   MHCAD 1248-50    IR Note 4/23/17                ★★
D-260.   MHCAD 1251-53    Nursing Assessment 4/23/17     ★★
                          PM
D-261.   MHCAD 1254-56    Nursing Assessment 4/23/17     ★★
                          AM
D-262.   MHCAD 1258       Transfusion Administration     ★★
                          4/23/17
D-263.   MHCAD 1259       Initial Nutrition Assessment   ★★
                          4/22/17
D-264.   MHCAD 1260-64    HPB Surgery 4/22/17            ★★
D-265.   MHCAD 1265-67    IR Note 4/22/17                ★★
D-266.   MHCAD 1269-76    Home Medication List 4/21/17   ★★
D-267.   MHCAD 1281-84    Initial Nursing Assessment     ★★
                          Post-Surgery 4/22/17
D-268.   MHCAD 1285-87    Nursing Assessment 4/22/17     ★★
                          PM
D-269.   MHCAD 1288-90    Nursing Assessment 4/22/17     ★★
                          AM
D-270.   MHCAD 1307-11    IR Procedure Note 4/21/17      ★★
D-271.   MHCAD 1313-17    HPB Surgery Admission Note     ★★
                          4/21/17
D-272.   MHCAD 1318-20    HPB Surgery Note 4/21/17       ★★
D-273.   MHCAD 1323       Medication Administration      ★★
                          4/21/17
D-274.   MHCAD 1324-31    Medication Administration      ★★
                          4/21/17 - 4/26/17
D-275.   MHCAD 1335-36    Dr. DeMatteo Letter to Dr.     ★★
                          Lopez 5/9/17
D-276.   MHCAD 1338-39    Dr. DeMatteo Email Chain       ★★
                          ending 4/25/17
D-277.   MHCAD 1340       Nursing Telephone Note         ★★
                          4/21/17 11:21 AM
D-278.   MHCAD 1341       Nursing Telephone Note         ★★
                          4/21/17 9:33 AM
D-279.   MHCAD 1342-44    Nursing Discharge Assessment   ★★
                          - PACU 4/21/17
D-280.   MHCAD 1345-47    Nursing Admission Assessment   ★★
                          - PACU 4/21/17
D-281.   MHCAD 1352       PACU Flow Sheet 4/21/17        ★★
D-282.   MHCAD 1358-66    Anesthesia Record 4/21/17      ★★
D-283.   MHCAD 1369-79    Outpatient Orders 4/21/17      ★★
D-284.   MHCAD 1381-82    4/21/17 PA and lateral chest   ★★

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D-285.   MHCAD 1383-84      4/21/17 CT of abdomen and       ★★
                            pelvis
D-286.   CD MSK Radiology   Accompanying 4/21/17 film       ★★
D-287.   MHCAD 1389-90      4/21/17 CT and ultrasound-      ★★
                            guided right thoracentesis
                            (Diagnostic Radiology)
D-288.   CD MSK Radiology   Accompanying 4/21/17 film       ★★
D-289.   MHCAD 1391-92      4/21/17 CT and ultrasound-      ★★
                            guided right thoracentesis
                            (Interventional Radiology)
D-290.   MHCAD 1393-94      4/21/17 CT, US, and             ★★
                            fluoroscopically-guided
                            exchange of RUQ drain
D-291.   CD MSK Radiology   Accompanying 4/21/17 film       ★★
D-292.   MHCAD 1395-96      4/21/17 US and                  ★★
                            fluoroscopically-guided
                            drainage of RUQ fluid
                            collection
D-293.   CD MSK Radiology   Accompanying 4/21/17 film       ★★
D-294.   MHCAD 1397-99      UCC Physician Note 4/21/17      ★★
D-295.   MHCAD 1400-01      UCC Triage Note 4/21/17         ★★
D-296.   MHCAD 1404         UCC Nursing Notes 4/21/17       ★★
D-297.   MHCAD 1406         UCC Notification 4/21/17        ★★
D-298.   MHCAD 1407-09      UCC Nursing Assessment          ★★
                            4/21/17
D-299.   MHCAD 1412-15      Outpatient Orders 4/19/17       ★★
D-300.   MHCAD 1434-37      GI Oncology Note 4/18/17        ★★
D-301.   MHCAD 1438-42      IR Procedure Note 4/14/17       ★★
D-302.   MHCAD 1444-48      IR Procedure Note 4/13/17       ★★
D-303.   MHCAD 1450-51      HPB Surgery Note 4/18/17        ★★
D-304.   MHCAD 1452-54      IR Note 4/18/17                 ★★
D-305.   MHCAD 1455-57      Discharge Summary 4/18/17       ★★
D-306.   MHCAD 1458-60      Discharge Orders 4/10/17 -      ★★
                            4/18/17
D-307.   MHCAD 1461         Case Management 4/18/17         ★★
D-308.   MHCAD 1462-79      Vital Signs 4/10/17 - 4/18/17   ★★
D-309.   MHCAD 1480-1529    I&O Flowsheets 4/10/17 -        ★★
                            4/18/17
D-310.   MHCAD 1534-40      Home Medication List 4/10/17    ★★
D-311.   MHCAD 1547-51      Nursing Assessment 4/18/17      ★★
                            AM
D-312.   MHCAD 1552-54      Nursing Focused Assessment      ★★
                            4/10/17 - 4/18/17
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D-313.   MHCAD 1569        Nursing Event Note 4/18/17       ★★
D-314.   MHCAD 1651        PACU Flow Sheet 4/10/17          ★★
D-315.   MHCAD 1653        PACU Flow Sheet 4/14/17          ★★
D-316.   MHCAD 1655        PACU Flow Sheet 4/13/17          ★★
D-317.   MHCAD 1657-62     IR Procedure Note 4/10/17        ★★
D-318.   MHCAD 1669        Verification Checklist 4/10/17   ★★
D-319.   MHCAD 1673-1765   Orders 4/10/17 - 4/18/17         ★★
D-320.   MHCAD 1766-67     Labs 4/5/17                      ★★
D-321.   MHCAD 1777-81     GI Oncology Note 4/17/17         ★★
D-322.   MHCAD 1782-83     HPB Surgery Note 4/17/17         ★★
D-323.   MHCAD 1784-85     IR Note 4/17/17                  ★★
D-324.   MHCAD 1786-89     Nursing Assessment 4/17/17       ★★
                           AM
D-325.   MHCAD 1790-93     Nursing Assessment 4/17/17       ★★
                           PM
D-326.   MHCAD 1794-95     WOC Nursing Assessment           ★★
                           4/17/17
D-327.   MHCAD 1797-1801   GI Oncology Note 4/16/17         ★★
D-328.   MHCAD 1802-06     HPB Surgery Note 4/16/17         ★★
D-329.   MHCAD 1807-11     Nursing Assessment 4/16/17       ★★
                           8:20 PM
D-330.   MHCAD 1812-15     Nursing Assessment 4/16/17       ★★
                           AM
D-331.   MHCAD 1816-20     Nursing Assessment 4/16/17       ★★
                           12:00 PM
D-332.   MHCAD 1821        Nursing Event Note 4/16/17       ★★
D-333.   MHCAD 1824-26     GI Oncology Note 4/15/17         ★★
D-334.   MHCAD 1827-28     HPB Surgery Note 4/15/17         ★★
D-335.   MHCAD 1829-30     IR Note 4/15/17                  ★★
D-336.   MHCAD 1831-34     Nursing Assessment 4/15/17       ★★
                           AM
D-337.   MHCAD 1835-37     Nursing Assessment 4/15/17       ★★
                           PM
D-338.   MHCAD 1840-44     GI Oncology Note 4/14/17         ★★
D-339.   MHCAD 1845-47     HPB Surgery Note 4/14/17         ★★
D-340.   MHCAD 1848-50     IR Note 4/14/17                  ★★
D-341.   MHCAD 1851-54     Initial Nursing Assessment       ★★
                           Post-Surgery 4/14/17
D-342.   MHCAD 1855-57     Nursing Assessment 4/14/17       ★★
                           PM
D-343.   MHCAD 1858-62     Nursing Assessment 4/14/17       ★★
                           AM
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D-344.   MHCAD 1863-65      Nursing Discharge Assessment      ★★
                            - PACU 4/14/17
D-345.   MHCAD 1866-68      Nursing Admission Assessment      ★★
                            - PACU 4/14/17
D-346.   MHCAD 1869-76      Anesthesia Record 4/14/17         ★★
D-347.   MHCAD 1882-83      4/14/17 Portable AP semierect     ★★
                            chest
D-348.   MHCAD 1884-85      4/14/17 US-guided drainage of     ★★
                            perihepatic suspected bile leak
D-349.   CD MSK Radiology   Accompanying 4/14/17 film         ★★
D-350.   MHCAD 1886         Transfusion Administration        ★★
                            4/14/17
D-351.   MHCAD 1887-94      GI Oncology Note 4/13/17          ★★
D-352.   MHCAD 1895         IR Event Note 4/13/17             ★★
D-353.   MHCAD 1896-97      HPB Surgery Note 4/13/17          ★★
D-354.   MHCAD 1898-1900    IR Note 4/13/17                   ★★
D-355.   MHCAD 1901-03      Nursing Assessment 4/13/17        ★★
                            AM
D-356.   MHCAD 1904         Nursing Event Note 4/13/17        ★★
D-357.   MHCAD 1905-07      Nursing Discharge Assessment      ★★
                            - PACU 4/13/17
D-358.   MHCAD 1908-1910    Nursing Admission Assessment      ★★
                            - PACU 4/13/17
D-359.   MHCAD 1911-19      Anesthesia Record 4/13/17         ★★
D-360.   MHCAD 1922         Cytopathology Report 4/13/17      ★★
                            Procedure
D-361.   MHCAD 1924-25      4/13/17 US-guided right           ★★
                            thoracentesis (Diagnostic
                            Radiology)
D-362.   CD MSK Radiology   Accompanying 4/13/17 film         ★★
D-363.   MHCAD 1926-28      4/13/17 CT abdomen with           ★★
                            triphasic liver
D-364.   CD MSK Radiology   Accompanying 4/13/17 film         ★★
D-365.   MHCAD 1929-30      4/13/17 US-guided right           ★★
                            thoracentesis (Interventional
                            Radiology)
D-366.   CD MSK Radiology   Accompanying 4/13/17 film         ★★
D-367.   MHCAD 1931-32      4/13/17 Visceral angiography      ★★
                            and hepatic arteriography
D-368.   CD MSK Radiology   Accompanying 4/13/17 film         ★★
D-369.   MHCAD 1937         Medicare Form 4/12/17
D-370.   MHCAD 1938-40      Initial Nutrition Assessment      ★★
                            4/12/17

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D-371.   MHCAD 1941-48      GI Oncology Note 4/12/17         ★★
D-372.   MHCAD 1949-50      GE Note 4/12/17                  ★★
D-373.   MHCAD 1951-52      HPB Surgery Note 4/12/17         ★★
D-374.   MHCAD 1953-54      IR Note 4/12/17                  ★★
D-375.   MHCAD 1957-59      Nursing Assessment 4/12/17       ★★
                            PM
D-376.   MHCAD 1960-63      Nursing Assessment 4/12/17       ★★
                            AM
D-377.   MHCAD 1964-65      Nursing Event Note 4/12/17       ★★
                            5:09 AM
D-378.   MHCAD 1966-67      Nursing Event Note 4/12/17       ★★
                            1:30 AM
D-379.   MHCAD 1970-71      4/12/17 Portable AP semierect    ★★
                            chest
D-380.   MHCAD 1972-73      4/12/17 CT chest with CTA        ★★
D-381.   CD MSK Radiology   Accompanying 4/12/17 film        ★★
D-382.   MHCAD 1974-75      Initial Speech/Swallow - Rehab   ★★
                            Note 4/12/17
D-383.   MHCAD 1976-80      GI Oncology Note 4/11/17 AM      ★★
D-384.   MHCAD 1981-84      GI Oncology Note 4/11/17 PM      ★★
D-385.   MHCAD 1985-87      GE Note 4/11/17                  ★★
D-386.   MHCAD 1988-89      IR Note 4/11/17                  ★★
D-387.   MHCAD 1991         Case Management 4/11/17          ★★
D-388.   MHCAD 1992-97      Home Medication List 4/10/17     ★★
D-389.   MHCAD 1998-2001    Nursing Assessment 4/11/17       ★★
                            PM
D-390.   MHCAD 2002-05      Nusing Assessment 4/11/17        ★★
                            AM
D-391.   MHCAD 2010-11      4/11/17 US RUQ                   ★★
D-392.   MHCAD 2013-17      GI Oncology Note 4/10/17         ★★
D-393.   MHCAD 2018         IR Note 4/10/17                  ★★
D-394.   MHCAD 2019-33      Medication Administration        ★★
                            4/10/17 - 4/18/17
D-395.   MHCAD 2034         NM Medication Administration     ★★
                            4/10/17
D-396.   MHCAD 2035-37      Medication Reconciliation        ★★
                            4/10/17
D-397.   MHCAD 2038-42      Nursing Assessment Post-         ★★
                            Procedure 4/10/17
D-398.   MHCAD 2043         Nursing Event Note 4/10/17       ★★
                            5:35 PM
D-399.   MHCAD 2044         Nursing Event Note 4/10/17       ★★
                            1:50 PM
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D-400.   MHCAD 2045-47      Nursing Discharge Assessment       ★★
                            - PACU 4/10/17
D-401.   MHCAD 2048-50      Nursing Admission Assessment       ★★
                            - PACU 4/10/17
D-402.   MHCAD 2051-62      Anesthesia Record 4/10/17          ★★
D-403.   MHCAD 2063-64      Procedure Time-Out 4/10/17         ★★
D-404.   MHCAD 2065         Molecular Imaging Order Form       ★★
                            4/10/17
D-405.   MHCAD 2067-68      Surgical Pathology Report          ★★
                            4/10/17 Procedure
D-406.   MHCAD 2069-71      Molecular Pathology Report         ★★
                            4/10/17 Procedure
D-407.   MHCAD 2072         Cytopathology Report 4/10/17       ★★
                            Procedure
D-408.   MHCAD 2073-77      MSK-IMPACT Testing Report          ★★
                            4/10/17 Procedure
D-409.   MHCAD 2081-83      4/10/17 Limited Field of View      ★★
                            FDG PET/CT
D-410.   CD MSK Radiology   Accompanying 4/10/17 film          ★★
D-411.   MHCAD 2084-85      4/10/17 IR Needle Biopsy Body      ★★
                            Liver PET Report
D-412.   MHCAD 2086-87      4/10/17 IR Ablation Liver PET      ★★
                            Report
D-413.   MHCAD 2088         Nursing Telephone Call 4/5/17      ★★
D-414.   MHCAD 2089         Nursing Telephone Call 4/3/17      ★★
D-415.   MHCAD 2090         Nursing Telephone Call 3/30/17     ★★
D-416.   MHCAD 2091         Nursing Telephone Call 3/23/17     ★★
D-417.   MHCAD 2092         Patient Consent Form 3/22/17       ★★
D-418.   MHCAD 2093-94      GI Oncology Dr. Kemeny Visit       ★★
                            3/22/17
D-419.   MHCAD 2095         Pre-Surgical Testing Visit Sheet   ★★
                            3/22/17
D-420.   MHCAD 2096-98      IR Dr. Sofocleous Visit 3/22/17    ★★
D-421.   MHCAD 2099-2104    History & Physical Pre-Surgical    ★★
                            3/22/17
D-422.   MHCAD 2105         Medical Oncology Outpatient        ★★
                            Visit Sheet 3/22/17
D-423.   MHCAD 2107-09      Outpatient Nursing Assessment      ★★
                            3/22/17
D-424.   MHCAD 2110-11      IR New Visit Questionnaire         ★★
                            3/22/17
D-425.   MHCAD 2113-18      Vital Signs 3/22/17                ★★
D-426.   MHCAD 2119         Medication Administration          ★★
                            3/22/17
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D-427.   MHCAD 2125-39      Home Medication List 3/22/17      ★★
D-428.   MHCAD 2141         Dr. Kemeny Letter to Dr. Lopez    ★★
                            3/22/17
D-429.   MHCAD 2142-43      Dr. Kemeny Fax to Dr. Lopez       ★★
                            4/13/17
D-430.   MHCAD 2144-46      Part 1 Pre-Procedure Nursing      ★★
                            3/22/17
D-431.   MHCAD 2147-50      Anesthesia Perioperative          ★★
                            Evaluation 3/22/17 Addendum
D-432.   MHCAD 2151-54      Anesthesia Perioperative          ★★
                            Evaluation 3/22/17
D-433.   MHCAD 2155-58      Anesthesia Perioperative          ★★
                            Evaluation 3/22/17 Addendum
                            No. 1
D-434.   MHCAD 2159-66      Outpatient Orders 3/22/17         ★★
D-435.   MHCAD 2167-68      Solid Tumor GI Medicine           ★★
                            Disposition 3/22/17
D-436.   MHCAD 2169-70      IR Disposition 3/22/17            ★★
D-437.   MHCAD 2179-81      3/21/17 CT of chest, abdomen,     ★★
                            and pelvis
D-438.   CD MSK Radiology   Accompanying 3/21/17 film         ★★
D-439.   MHCAD 2182-84      3/21/17 Body FDG PET/CT           ★★
D-440.   CD MSK Radiology   Accompanying 3/21/17 film         ★★
D-441.   MHCAD 2186         Outpatient Orders 3/15/17         ★★
D-442.   MHCAD 2187         Dr. Kemeny Letter to Dr. Lopez    ★★
                            2/21/17
D-443.   MHCAD 2188-90      GI Oncology Dr. Kemeny Visit      ★★
                            1/25/17
D-444.   MHCAD 2191         Medical Oncology Outpatient       ★★
                            Visit Sheet 1/25/17
D-445.   MHCAD 2193-95      Outpatient Nursing Assessment     ★★
                            1/25/17
D-446.   MHCAD 2196-98      Vital Signs 1/25/17               ★★
D-447.   MHCAD 2199         Medication Administration         ★★
                            1/25/17
D-448.   MHCAD 2205-09      Home Medication List 1/25/17      ★★
D-449.   MHCAD 2210-11      Dr. Kemeny Fax to Dr. Lopez       ★★
                            2/7/17
D-450.   MHCAD 2212-13      Nursing Encounter 1/25/17         ★★
D-451.   MHCAD 2214-21      Outpatient Orders 1/25/17         ★★
D-452.   MHCAD 2222-23      Solid Tumor GI Medicine           ★★
                            Disposition 1/25/17
D-453.   MHCAD 2243-44      1/24/17 CT chest, abdomen,        ★★
                            and pelvis with triphasic liver
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D-454.   CD MSK Radiology   Accompanying 1/24/17 film        ★★
D-455.   MHCAD 2245-47      1/24/17 Body FDG PET/CT          ★★
D-456.   CD MSK Radiology   Accompanying 1/24/17 film        ★★
D-457.   MHCAD 2248-49      1/25/17 MRI of abdomen           ★★
D-458.   CD MSK Radiology   Accompanying 1/25/17 film        ★★
D-459.   MHCAD 2250-63,     OHSU Fax 1/20/17                 ★★
         2334-37
D-460.   MHCAD 2267-69      GI Oncology Visit 11/30/16       ★★
D-461.   MHCAD 2270-71      IR Dr. Sofocleous Visit          ★★
                            11/30/16
D-462.   MHCAD 2272         Medical Oncology Outpatient      ★★
                            Visit Sheet 11/30/16
D-463.   MHCAD 2274-76      Outpatient Nursing Assessment    ★★
                            11/30/16
D-464.   MHCAD 2277-79      Vital Signs 11/30/16             ★★
D-465.   MHCAD 2280         Medication Administration        ★★
                            11/30/16
D-466.   MHCAD 2294         Dr. Kemeny Letter to Dr. Lopez   ★★
                            11/30/16
D-467.   MHCAD 2295-96      Dr. Cercek Fax to Dr. Lopez      ★★
                            12/7/16
D-468.   MHCAD 2297-98      Outpatient Nursing Encounter     ★★
                            11/30/16
D-469.   MHCAD 2299-2306    Outpatient Orders 11/30/16       ★★
D-470.   MHCAD 2309-10      Solid Tumor GI Medicine          ★★
                            Disposition 11/30/16
D-471.   MHCAD 2311-12      IR Disposition 11/30/16          ★★
D-472.   MHCAD 2316-17      11/30/16 MRI of abdomen          ★★
D-473.   CD MSK Radiology   Accompanying 11/30/16 film       ★★
D-474.   MHCAD 2324         Outpatient Orders 11/29/16       ★★
D-475.   MHCAD 2327-28      11/29/16 CT of chest, abdomen,   ★★
                            and pelvis
D-476.   CD MSK Radiology   Accompanying 11/29/16 film       ★★
D-477.   MHCAD 2329-31      11/29/16 Body FDG PET/CT         ★★
D-478.   MHCAD 2333         Nursing Telephone Call           ★★
                            11/18/16
D-479.   MHCAD 2338         Nursing Telephone Call           ★★
                            10/20/16
D-480.   MHCAD 2339         Outpatient Orders 10/20/16       ★★
D-481.   MHCAD 2340-41      GI Oncology Dr. Kemeny Visit     ★★
                            10/5/16
D-482.   MHCAD 2342         Medical Oncology Outpatient      ★★
                            Visit Sheet 10/5/16
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D-483.   MHCAD 2344-46        Outpatient Nursing Assessment    ★★
                              10/5/16
D-484.   MHCAD 2347-49        Vital Signs 10/5/16              ★★
D-485.   MHCAD 2350           Medication Administration        ★★
                              10/5/16
D-486.   MHCAD 2357           Dr. Kemeny Letter to Dr. Lopez   ★★
                              10/5/16
D-487.   MHCAD 2358-59        Dr. Kemeny Fax to Dr. Lopez      ★★
                              10/11/16
D-488.   MHCAD 2360-61        Outpatient Nursing Encounter     ★★
                              10/5/16
D-489.   MHCAD 2362-67        Outpatient Orders 10/5/16        ★★
D-490.   MHCAD 2368-69        Solid Tumor GI Medicine          ★★
                              Disposition 10/5/16
D-491.   MHCAD 2370, 2390- Dr. Lopez fax to Dr. Kemeny         ★★
         98, 2401-02, 2407-16 10/5/16
D-492.   MHCAD 2371           Dr. Kemeny Letter to Dr. Lopez   ★★
                              10/5/16
D-493.   MHCAD 2377           Dr. Kemeny Fax to Dr. Lopez      ★★
                              10/4/16
D-494.   MHCAD 2380-82        10/4/16 CT of chest, abdomen,    ★★
                              and pelvis
D-495.   CD MSK Radiology     Accompanying 10/4/16 film        ★★
D-496.   MHCAD 2383-85        10/4/16 Body FDG PET/CT          ★★
D-497.   MHCAD 2388           Nursing Telephone Note           ★★
                              9/27/16
D-498.   MHCAD 2389           Outpatient Orders 9/26/16        ★★
D-499.   MHCAD 2399-2400 OHSU Fax 9/23/16                      ★★
D-500.   MHCAD 2403-06,       Protocol Eligibility Checklist   ★★
         2596-98              8/19/16
D-501.   MHCAD 2417           Nursing Telephone Call 9/8/16    ★★
D-502.   MHCAD 2418           Nursing Telephone Call 9/6/16    ★★
D-503.   MHCAD 2419           Outpatient Orders 9/6/16         ★★
D-504.   MHCAD 2420-21        Medication Administration        ★★
                              Record
D-505.   MHCAD 2422           Patient Consent Form 8/29/16     ★★
D-506.   MHCAD 2430-31        Discharge Summary 8/31/16        ★★
D-507.   MHCAD 2432-34        Discharge Orders 8/29/16 -       ★★
                              8/31/16
D-508.   MHCAD 2435           Case Management                  ★★
D-509.   MHCAD 2436-43        Vital Signs 8/29/19 - 8/31/16    ★★
D-510.   MHCAD 2444-45        Medication Administration        ★★
                              Record 8/29/16

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D-511.   MHCAD 2446-53    I&O Flowsheet 8/29/16 -          ★★
                          8/31/16
D-512.   MHCAD 2457       Dr. Kemeny Letter to Dr. Lopez   ★★
                          8/31/16
D-513.   MHCAD 2458-61    Nursing Ongoing Assessment       ★★
                          8/31/16 AM
D-514.   MHCAD 2462-64    Nursing Focused Assessment       ★★
                          8/29/16 - 8/31/16
D-515.   MHCAD 2468       Nursing Event Note 8/31/16       ★★
D-516.   MHCAD 2488       PACU Flow Sheet 8/29/16          ★★
D-517.   MHCAD 2490-95    IR Procedure Note 8/29/16        ★★
D-518.   MHCAD 2498       Verification Checklist 8/29/16   ★★
D-519.   MHCAD 2500-20    Orders 8/29/16 - 8/31/16         ★★
D-520.   MHCAD 2527-29    GI Oncology Note 8/30/16         ★★
D-521.   MHCAD 2531-32    Transthoracic                    ★★
                          Echocardiography Report
                          8/30/16
D-522.   MHCAD 2533       Case Management Discharge        ★★
                          Plan 8/30/16
D-523.   MHCAD 2534-38    Home Medication List 8/29/16     ★★
D-524.   MHCAD 2544-46    Nursing Ongoing Assessment       ★★
                          8/30/16 AM
D-525.   MHCAD 2547-49    Nursing Ongoing Assessment       ★★
                          8/30/16 PM
D-526.   MHCAD 2553-54    Medication Administration        ★★
                          8/29/16 - 8/31/16
D-527.   MHCAD 2559       Dr. Sofocleous Email Chain       ★★
                          ending 8/29/16
D-528.   MHCAD 2560-62    Nursing Assessment Post-         ★★
                          Procedure 8/29/16
D-529.   MHCAD 2563-65    Nursing Ongoing Assessment       ★★
                          8/29/16 PM
D-530.   MHCAD 2566       Nursing Event Note 8/29/16       ★★
                          4:00 PM
D-531.   MHCAD 2567       Nursing Event Note 8/29/16       ★★
                          10:00 AM
D-532.   MHCAD 2568       Nursing Event Note 8/29/16       ★★
                          3:00 PM
D-533.   MHCAD 2569-71    Nursing Discharge Assessment     ★★
                          - PACU 8/29/16
D-534.   MHCAD 2572-74    Nursing Admission Assessment     ★★
                          - PACU 8/29/16
D-535.   MHCAD 2575-84    Anesthesia Record 8/29/16        ★★
D-536.   MHCAD 2585-86    Procedure Time-Out 8/29/16       ★★
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D-537.   MHCAD 2590-91      IR Ablation Liver PET Report    ★★
                            8/29/16
D-538.   MHCAD 2592-93      8/29/16 Body FDG PET/CT         ★★
D-539.   CD MSK Radiology   Accompanying 8/29/16 film       ★★
D-540.   MHCAD 2594         OHSU Fax 8/25/16                ★★
D-541.   MHCAD 2595         Outpatient Orders 8/22/16       ★★
D-542.   MHCAD 2599         Patient Consent Form 8/19/16    ★★
D-543.   MHCAD 2602-04      Initial IR Consult Dr.          ★★
                            Sofocleous 8/19/16
D-544.   MHCAD 2605-06      IR New Visit Questionnaire      ★★
                            8/19/16
D-545.   MHCAD 2607-09      Vital Signs 8/19/16             ★★
D-546.   MHCAD 2614-16      Part 1 Pre-Procedure Nursing    ★★
                            8/19/16
D-547.   MHCAD 2617         Outpatient Orders 8/19/16       ★★
D-548.   MHCAD 2618-19      IR Disposition 8/19/16          ★★
D-549.   MHCAD 2620-40      Informed Consent for Clinical   ★★
                            Research and Forms 8/19/16
D-550.   MHCAD 2641-42      GI Oncology Dr. Kemeny Visit    ★★
                            8/17/16
D-551.   MHCAD 2643         Medical Oncology Outpatient     ★★
                            Visit Sheet 8/17/16
D-552.   MHCAD 2645-47      Outpatient Nursing Assessment   ★★
                            8/17/16
D-553.   MHCAD 2648-50      Vital Signs 8/17/16             ★★
D-554.   MHCAD 2651         Medication Administration       ★★
                            8/17/16
D-555.   MHCAD 2657-58      Dr. Kemeny Fax to Dr. Lopez     ★★
                            8/23/16
D-556.   MHCAD 2659-62      Outpatient Nursing Encounter    ★★
                            8/17/16
D-557.   MHCAD 2663-71      Outpatient Orders 8/17/16       ★★
D-558.   MHCAD 2672-73      Solid Tumor GI Medicine         ★★
                            Disposition 8/17/16
D-559.   MHCAD 2674-75      8/17/16 MRI Brain               ★★
D-560.   MHCAD 2691         Dr. Kemeny Fax to Dr. Lopez     ★★
                            8/16/16
D-561.   MHCAD 2696-97      8/16/16 CT of chest, abdomen,   ★★
                            and pelvis
D-562.   CD MSK Radiology   Accompanying 8/16/16 film       ★★
D-563.   MHCAD 2698-2700    8/17/16 Body FDG PET/CT         ★★
D-564.   CD MSK Radiology   Accompanying 8/17/16 film       ★★
D-565.   MHCAD 2701-05      OHSU Fax 8/16/16                ★★
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D-566.   MHCAD 2706-07      GI Oncology Dr. Kemeny Visit     ★★
                            7/20/16
D-567.   MHCAD 2708         Medical Oncology Outpatient      ★★
                            Visit Sheet 7/20/16
D-568.   MHCAD 2709-11      Outpatient Nursing Assessment    ★★
                            7/20/16
D-569.   MHCAD 2712-14      Vital Signs 7/20/16              ★★
D-570.   MHCAD 2715         Medication Administration        ★★
                            7/20/16
D-571.   MHCAD 2730         Dr. Kemeny Letter to Dr. Lopez   ★★
                            7/20/16
D-572.   MHCAD 2731-32      Dr. Kemeny Fax to Dr. Lopez      ★★
                            7/26/16
D-573.   MHCAD 2733-40      Outpatient Orders 7/20/16        ★★
D-574.   MHCAD 2741-42      Solid Tumor GI Medicine          ★★
                            Disposition 7/20/16
D-575.   MHCAD 2743-55,     Dr. Lopez Fax to Dr. Kemeny      ★★
         2763-65            7/19/16
D-576.   MHCAD 2756-62      Dr. Lopez Fax to Dr. Kemeny      ★★
                            6/27/16
D-577.   MHCAD 2766-67      GI Oncology Dr. Kemeny Visit     ★★
                            6/22/16
D-578.   MHCAD 2768         Medical Oncology Outpatient      ★★
                            Visit Sheet 6/22/16
D-579.   MHCAD 2770-72      Outpatient Nursing Assessment    ★★
                            6/22/16
D-580.   MHCAD 2773-75      Vital Signs 6/22/16              ★★
D-581.   MHCAD 2776         Medication Administration        ★★
                            6/22/16
D-582.   MHCAD 2782         Dr. Kemeny Letter to Dr. Lopez   ★★
                            6/22/16
D-583.   MHCAD 2783-84      Dr. Kemeny Fax to Dr. Lopez      ★★
                            7/1/16
D-584.   MHCAD 2785-90      Outpatient Orders 6/22/16        ★★
D-585.   MHCAD 2791-92      Solid Tumor GI Medicine          ★★
                            Disposition 6/22/16
D-586.   MHCAD 2803-04      6/21/16 CT of chest, abdomen,    ★★
                            and pelvis
D-587.   CD MSK Radiology   Accompanying 6/21/16 film        ★★
D-588.   MHCAD 2805-07      6/21/16 Body FDG PET/CT          ★★
D-589.   CD MSK Radiology   Accompanying 6/21/16 film        ★★
D-590.   MHCAD 2808-18      Dr. Lopez Fax to Dr. Kemeny      ★★
                            6/13/16


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D-591.   MHCAD 2819-27,    Dr. Lopez Fax to Dr. Kemeny      ★★
         2838-39           6/10/16
D-592.   MHCAD 2828-37,    Dr. Lopez Fax to Dr. Kemeny      ★★
         2840-44           6/3/16
D-593.   MHCAD 2845        Outpatient Orders 5/26/16        ★★
D-594.   MHCAD 2846-47     GI Oncology Dr. Kemeny Visit     ★★
                           5/25/16
D-595.   MHCAD 2848        Medical Oncology Outpatient      ★★
                           Visit Sheet 5/25/16
D-596.   MHCAD 2850-52     Outpatient Nursing Assessment    ★★
                           5/25/16
D-597.   MHCAD 2853-55     Vital Signs 5/25/16              ★★
D-598.   MHCAD 2856-57     Medication Administration        ★★
                           5/25/16
D-599.   MHCAD 2873-74     Dr. Kemeny Fax to Dr. Lopez      ★★
                           6/7/16
D-600.   MHCAD 2875-76     Nursing Encounter 5/25/16        ★★
D-601.   MHCAD 2877-83     Outpatient Orders 5/25/16        ★★
D-602.   MHCAD 2884-85     Solid Tumor GI Medicine          ★★
                           Disposition 5/25/16
D-603.   MHCAD 2886-87     Fax to OHSU 5/18/16              ★★
D-604.   MHCAD 2888-2903   Fax from OHSU 5/16/16            ★★
D-605.   MHCAD 2904-05     Fax to OHSU 5/10/16              ★★
D-606.   MHCAD 2906-07     Fax from OHSU 5/3/16             ★★
D-607.   MHCAD 2908-14     Fax from Dr. Mayo to Dr.         ★★
                           DeMatteo 5/5/16
D-608.   MHCAD 2915-16     Fax from OHSU 4/29/16            ★★
D-609.   MHCAD 2917        Outpatient Orders 4/28/16        ★★
D-610.   MHCAD 2918-20     GI Oncology Visit 4/27/16        ★★
D-611.   MHCAD 2921        Medical Oncology Outpatient      ★★
                           Visit Sheet 4/27/16
D-612.   MHCAD 2923-25     Outpatient Nursing Assessment    ★★
                           4/27/16
D-613.   MHCAD 2926        Vital Signs 4/27/16              ★★
D-614.   MHCAD 2929-30     Medication Administration        ★★
                           4/27/16
D-615.   MHCAD 2944        Dr. Kemeny Letter to Dr. Lopez   ★★
                           4/27/16
D-616.   MHCAD 2945-46     Dr. Cercek Fax to Dr. Lopez      ★★
                           5/18/16
D-617.   MHCAD 2947        Nursing Encounter 4/27/16        ★★
D-618.   MHCAD 2948-52     Outpatient Orders 4/27/16        ★★


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D-619.   MHCAD 2953-54     Solid Tumor GI Medicine          ★★
                           Disposition 4/27/16
D-620.   MHCAD 2955-56     Fax from OHSU 4/15/16            ★★
D-621.   MHCAD 2957-58     Fax from OHSU 4/14/16            ★★
D-622.   MHCAD 2959        Letter to OHSU 4/15/16           ★★
D-623.   MHCAD 2960-62     GI Oncology Dr. Kemeny Visit     ★★
                           4/6/16
D-624.   MHCAD 2963-64     HPB Surgery Dr. DeMatteo         ★★
                           Visit 4/6/16
D-625.   MHCAD 2965        Medical Oncology Outpatient      ★★
                           Visit Sheet 4/6/16
D-626.   MHCAD 2967-69     Vital Signs 4/6/16               ★★
D-627.   MHCAD 2978-79     Dr. DeMatteo Fax to Dr. Lopez    ★★
                           4/13/16
D-628.   MHCAD 2980-81     Dr. Kemeny Fax to Dr. Lopez      ★★
                           4/11/16
D-629.   MHCAD 2982        Nursing Encounter 4/6/16         ★★
D-630.   MHCAD 2983        Outpatient Orders 4/6/16         ★★
D-631.   MHCAD 2984-85     Solid Tumor GI Medicine          ★★
                           Disposition 4/6/16
D-632.   MHCAD 2986-87     HPB Disposition 4/6/16           ★★
D-633.   MHCAD 2988        Outpatient Orders 4/5/16         ★★
D-634.   MHCAD 2989-90     IR Telephone Call 4/4/16         ★★
D-635.   MHCAD 2991        Nursing Telephone Call 4/4/16    ★★
D-636.   MHCAD 2992        Patient Consent 4/2/16           ★★
D-637.   MHCAD 2997-3001   IR Procedure Note 4/2/16         ★★
D-638.   MHCAD 3002-03     IR Progress Note 4/3/16          ★★
D-639.   MHCAD 3004-05     Discharge Summary 4/3/16         ★★
D-640.   MHCAD 3006-07     Discharge Orders 4/1/16 -        ★★
                           4/3/16
D-641.   MHCAD 3008-13     Vital Signs 4/1/16 - 4/3/16      ★★
D-642.   MHCAD 3014-24     I&O Flowsheets 4/1/16 - 4/3/16   ★★
D-643.   MHCAD 3033-35     Nursing Ongoing Assessment       ★★
                           4/3/16 AM
D-644.   MHCAD 3056-73     Orders 4/1/16 - 4/3/16           ★★
D-645.   MHCAD 3078-80     Initial Nutrition Assessment     ★★
                           4/2/16
D-646.   MHCAD 3081-83     HPB Note 4/2/16                  ★★
D-647.   MHCAD 3091-94     Initial Nursing Assessment       ★★
                           Post-Procedure 4/2/16
D-648.   MHCAD 3095-99     Initial Nursing Assessment IP    ★★
                           4/2/16

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D-649.   MHCAD 3100-03      Nursing Ongoing Assessment       ★★
                            4/2/16 PM
D-650.   MHCAD 3104-06      Nursing Ongoing Assessment       ★★
                            4/2/16 AM
D-651.   MHCAD 3111-12      4/2/16 image-guided drainage     ★★
                            of perihepatic suspected image
D-652.   CD MSK Radiology   Accompanying 4/2/16 film         ★★
D-653.   MHCAD 3117-19      HPB Surgery Admission Note       ★★
                            4/1/16
D-654.   MHCAD 3122         Medication Administration        ★★
                            4/1/16
D-655.   MHCAD 3123-26      Medication Administration        ★★
                            4/1/16 - 4/3/16
D-656.   MHCAD 3127-28      Dr. DeMatteo Fax to Dr. Lopez    ★★
                            4/18/16
D-657.   MHCAD 3129         Nursing Telephone Call 4/1/16    ★★
D-658.   MHCAD 3130-34      Outpatient Orders 4/1/16         ★★
D-659.   MHCAD 3137-38      4/1/16 CT of abdomen and         ★★
                            pelvis
D-660.   CD MSK Radiology   Accompanying 4/1/16 film         ★★
D-661.   MHCAD 3140-42      UCC Physician Note 4/1/16        ★★
D-662.   MHCAD 3143-44      UCC Triage Note 4/1/16           ★★
D-663.   MHCAD 3145         UCC Disposition Order 4/1/16     ★★
D-664.   MHCAD 3148         UCC Nursing Notes 4/1/16         ★★
D-665.   MHCAD 3150-52      UCC Nursing Ongoing              ★★
                            Assessment 4/1/16 PM
D-666.   MHCAD 3153-55      Protocol Eligibility Checklist   ★★
                            3/23/16
D-667.   MHCAD 3156-57      HPB Surgery Note 3/30/16         ★★
D-668.   MHCAD 3158-59      Discharge Summary 3/30/16        ★★
D-669.   MHCAD 3160-62      Discharge Orders 3/24/16 -       ★★
                            3/30/16
D-670.   MHCAD 3163-3181,   Vital Signs 3/24/16 - 3/30/16    ★★
         3216-19
D-671.   MHCAD 3182-85      Medication Administration        ★★
                            Record 3/24/16 - 3/25/16
D-672.   MHCAD 3186-3215    I&O Flowsheets 3/24/16 -         ★★
                            3/30/16
D-673.   MHCAD 3227-29      Nursing Ongoing Assessment       ★★
                            3/30/16 AM
D-674.   MHCAD 3281, 3285   PACU Flow Sheet 3/25/16          ★★
D-675.   MHCAD 3283         PACU Flow Sheet 3/24/16          ★★
D-676.   MHCAD 3288-3336    Orders 3/24/16 - 3/30/16         ★★

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D-677.   MHCAD 3339-40    PT Note 3/30/16                 ★★
D-678.   MHCAD 3341-42    Initial Social Work Note        ★★
                          3/29/16
D-679.   MHCAD 3343-44    HPB Surgery Note 3/29/16        ★★
D-680.   MHCAD 3345-47    Nursing Ongoing Assessment      ★★
                          3/29/16 PM
D-681.   MHCAD 3348-50    Nursing Ongoing Assessment      ★★
                          3/29/16 AM
D-682.   MHCAD 3352-53    HPB Surgery Note 3/28/16        ★★
D-683.   MHCAD 3354-56    Nursing Ongoing Assessment      ★★
                          3/28/16 AM
D-684.   MHCAD 3357-60    Nursing Ongoing Assessment      ★★
                          3/28/16 PM
D-685.   MHCAD 3363-64    HPB Surgery Note 3/27/16        ★★
D-686.   MHCAD 3365-68    Nursing Ongoing Assessment      ★★
                          3/27/16 AM
D-687.   MHCAD 3369-71    Nursing Ongoing Assessment      ★★
                          3/27/16 PM
D-688.   MHCAD 3372       Nursing Event Note 3/27/16      ★★
                          AM
D-689.   MHCAD 3373       Nursing Event Note 3/27/16      ★★
                          PM
D-690.   MHCAD 3375-76    HPB Surgery Note 3/26/16        ★★
D-691.   MHCAD 3377-79    Nursing Ongoing Assessment      ★★
                          3/26/16 PM
D-692.   MHCAD 3380-83    Nursing Ongoing Assessment      ★★
                          3/26/16 AM
D-693.   MHCAD 3384       Nursing Event Note 3/26/16      ★★
                          AM
D-694.   MHCAD 3385       Nursing Event Note 3/26/16      ★★
                          PM
D-695.   MHCAD 3388-92    Initial PT Evaluation 3/26/16   ★★
D-696.   MHCAD 3393-94    Initial Nutrition Assessment    ★★
                          3/25/16
D-697.   MHCAD 3395-96    HPB Surgery Note 3/25/16        ★★
D-698.   MHCAD 3403-06    Initial Nursing Assessment      ★★
                          Post-Surgery 3/25/16
D-699.   MHCAD 3407-09    Nursing Ongoing Assessment      ★★
                          3/25/16 PM
D-700.   MHCAD 3410       Nursing Event Note 3/25/16      ★★
                          1:14 AM
D-701.   MHCAD 3411-13    Nursing Discharge Assessment    ★★
                          - PACU 3/25/16


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D-702.   MHCAD 3414-16     Discharge Note - PACU              ★★
                           3/25/16
D-703.   MHCAD 3421-22     Respiratory Therapy Note           ★★
                           3/25/16
D-704.   MHCAD 3424-34     Medication Administration          ★★
                           3/24/16 - 3/30/16
D-705.   MHCAD 3440-41     Dr. DeMatteo Fax to Dr. Lopez      ★★
                           3/29/16
D-706.   MHCAD 3442-43     Dr. DeMatteo Fax to Dr. Lopez      ★★
                           4/13/16
D-707.   MHCAD 3444-52     Pre-Surgery Nursing                ★★
                           Assessment 3/24/16
D-708.   MHCAD 3453        Nursing Event Note 3/24/16         ★★
                           11:00 PM
D-709.   MHCAD 3454        Nursing Event Note 3/25/16         ★★
                           12:00 AM
D-710.   MHCAD 3455        Nursing Event Note 3/24/16         ★★
                           10:00 PM
D-711.   MHCAD 3456-59     Nursing Admission Assessment       ★★
                           - PACU 3/24/16
D-712.   MHCAD 3460-61     HPB Surgery Operative Report       ★★
                           3/24/16
D-713.   MHCAD 3462-69     Operating Room Record              ★★
                           3/24/16
D-714.   MHCAD 3470        Brief Operative Note 3/24/16       ★★
D-715.   MHCAD 3471-81     Anesthesia Record 3/24/16          ★★
D-716.   MHCAD 3482-83     Procedure Time-Out 3/24/16         ★★
D-717.   MHCAD 3484-86     Surgical Pathology Report          ★★
                           3/24/16 Procedure
D-718.   MHCAD 3487        Patient Consent 3/23/16            ★★
D-719.   MHCAD 3489        Pre-Surgical Testing Visit Sheet   ★★
                           3/23/16
D-720.   MHCAD 3490-95     History & Physical Pre-Surgical    ★★
                           3/23/16
D-721.   MHCAD 3496-98     HPB Surgery Dr. DeMatteo           ★★
                           Visit 3/23/16
D-722.   MHCAD 3499-3501   Vital Signs 3/23/16                ★★
D-723.   MHCAD 3508-09     Dr. DeMatteo Fax to Dr. Lopez      ★★
                           3/25/16
D-724.   MHCAD 3510-12     Part 1 Pre-Procedure Nursing       ★★
                           3/23/16
D-725.   MHCAD 3513-16     Anesthesia Perioperative           ★★
                           Evaluation 3/23/16


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D-726.   MHCAD 3517-20      Anesthesia Perioperative         ★★
                            Evaluation 3/23/16 Addendum
                            No. 1
D-727.   MHCAD 3521-23      Outpatient Orders 3/23/16        ★★
D-728.   MHCAD 3524-25      HPB Disposition Form 3/23/16     ★★
D-729.   MHCAD 3526-41      Informed Consent for Clinical    ★★
                            Research and Forms 3/23/16
D-730.   MHCAD 3542-44      GI Oncology Dr. Kemeny Visit     ★★
                            3/21/16
D-731.   MHCAD 3546         Medical Oncology Outpatient      ★★
                            Visit Sheet 3/21/16
D-732.   MHCAD 3547-49      Vital Signs 3/21/16              ★★
D-733.   MHCAD 3551-52      Dr. Kemeny Fax to Dr. Lopez      ★★
                            3/22/16
D-734.   MHCAD 3553-54      Solid Tumor GI Medicine          ★★
                            Disposition 3/21/16
D-735.   MHCAD 3555-56      HPB Disposition 3/21/16          ★★
D-736.   MHCAD 3558-60      3/21/16 Body FDG PET/CT          ★★
D-737.   CD MSK Radiology   Accompanying 3/21/16 film        ★★
D-738.   MHCAD 3564-66      3/21/16 CT of chest, abdomen,    ★★
                            and pelvis
D-739.   CD MSK Radiology   Accompanying 3/21/16 film        ★★
D-740.   MHCAD 3569         Nursing Telephone Call 3/17/16   ★★
D-741.   MHCAD 3570-73,     Dr. Lopez Fax to Dr. Kemeny      ★★
         3575-83            3/14/16
D-742.   MHCAD 3574         Outpatient Orders 3/11/16        ★★
D-743.   MHCAD 3584-88,     Dr. Lopez Fax to Dr. Kemeny      ★★
         3590-99            3/1/16
D-744.   MHCAD 3589         Nursing Telephone Call 2/24/16   ★★
D-745.   MHCAD 3600-01      GI Oncology Dr. Kemeny Visit     ★★
                            2/22/16
D-746.   MHCAD 3602         Medical Oncology Outpatient      ★★
                            Visit Sheet 2/22/16
D-747.   MHCAD 3604-06      Outpatient Nursing Assessment    ★★
                            2/22/16
D-748.   MHCAD 3607-09      Vital Signs 2/22/16              ★★
D-749.   MHCAD 3610         Medication Administration        ★★
                            2/22/16
D-750.   MHCAD 3616         Dr. Kemeny Letter to Dr. Lopez   ★★
                            2/22/16
D-751.   MHCAD 3617-18      Dr. Kemeny Fax to Dr. Lopez      ★★
                            2/29/16
D-752.   MHCAD 3630-31      Solid Tumor GI Medicine          ★★
                            Disposition 2/22/16
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D-753.   MHCAD 3632         Nursing Telephone Call 2/18/16   ★★
D-754.   MHCAD 3633-45      Dr. Lopez Fax to Dr. Kemeny      ★★
                            2/22/16
D-755.   MHCAD 3646-50      OHSU Fax 2/11/16                 ★★
D-756.   MHCAD 3651         Nursing Telephone Call 2/9/16    ★★
D-757.   MHCAD 3652-66      Dr. Lopez Fax to Dr. Kemeny      ★★
                            2/1/16
D-758.   MHCAD 3667-68      GI Oncology Dr. Kemeny Visit     ★★
                            1/27/16
D-759.   MHCAD 3669-71      Outpatient Nursing Assessment    ★★
                            1/27/16
D-760.   MHCAD 3672-74      Vital Signs 1/27/16              ★★
D-761.   MHCAD 3675         Medication Administration        ★★
                            1/27/16
D-762.   MHCAD 3685-86      Dr. Kemeny Fax to Dr. Lopez      ★★
                            2/2/16
D-763.   MHCAD 3688-94      Outpatient Orders 1/27/16        ★★
D-764.   MHCAD 3695-96      Solid Tumor GI Medicine          ★★
                            Disposition 1/27/16
D-765.   MHCAD 3697         Dr. Kemeny Letter to Dr. Lopez   ★★
                            1/27/16
D-766.   MHCAD 3706-07      1/26/16 CT of chest, abdomen,    ★★
                            and pelvis
D-767.   CD MSK Radiology   Accompanying 1/26/16 film        ★★
D-768.   MHCAD 3708         Medical Oncology Outpatient      ★★
                            Visit Sheet 1/27/16
D-769.   MHCAD 3709         Dr. Kemeny Letter to Dr. Lopez   ★★
                            1/25/16
D-770.   MHCAD 3710         Outpatient Orders 1/25/16        ★★
D-771.   MHCAD 3711-28      Dr. Lopez's Fax to Dr. Kemeny    ★★
                            1/4/16
D-772.   MHCAD 3729-30      GI Oncology Dr. Kemeny Visit     ★★
                            12/21/15
D-773.   MHCAD 3731         Medical Oncology Outpatient      ★★
                            Visit Sheet 12/21/15
D-774.   MHCAD 3732-34      Outpatient Nursing Assessment    ★★
                            12/21/15
D-775.   MHCAD 3735-37      Vital Signs 12/21/15             ★★
D-776.   MHCAD 3738         Medication Administration        ★★
                            12/21/15
D-777.   MHCAD 3749         Dr. Kemeny Letter to Dr. Lopez   ★★
                            12/21/15
D-778.   MHCAD 3750-51      Dr. Kemeny Fax to Dr. Lopez      ★★
                            12/29/15
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D-779.   MHCAD 3752-58      Outpatient Orders 12/21/15       ★★
D-780.   MHCAD 3759-60      Solid Tumor GI Medicine          ★★
                            Disposition 12/21/15
D-781.   MHCAD 3761         Nursing Telephone Call           ★★
                            12/18/15
D-782.   MHCAD 3762-79,     Dr. Lopez Fax to Dr. Kemeny      ★★
         3878-93            12/18/15
D-783.   MHCAD 3780-81      GI Oncology Dr. Kemeny Visit     ★★
                            11/18/15
D-784.   MHCAD 3782-83      HPB Surgery Dr. DeMatteo         ★★
                            Visit 11/18/15
D-785.   MHCAD 3784         Medical Oncology Outpatient      ★★
                            Visit Sheet 11/18/15
D-786.   MHCAD 3785-87      Outpatient Nursing Assessment    ★★
                            11/18/15
D-787.   MHCAD 3788-90      Vital Signs 11/18/15             ★★
D-788.   MHCAD 3791         Medication Administration        ★★
                            11/18/15
D-789.   MHCAD 3802         Dr. Kemeny Letter to Dr. Lopez   ★★
                            11/18/15
D-790.   MHCAD 3803-04      Dr. DeMatteo Fax to Dr. Lopez    ★★
                            11/27/15
D-791.   MHCAD 3805-06      Dr. Kemeny Fax to Dr. Lopez      ★★
                            12/10/15
D-792.   MHCAD 3808-13      Outpatient Orders 11/18/15       ★★
D-793.   MHCAD 3814-15      Solid Tumor GI Medicine          ★★
                            Disposition 11/18/15
D-794.   MHCAD 3816-17      HPB Disposition 11/18/15         ★★
D-795.   MHCAD 3823-24      11/17/15 CT of chest, abdomen,   ★★
                            and pelvis
D-796.   CD MSK Radiology   Accompanying 11/17/15 film       ★★
D-797.   MHCAD 3828         Fax to OHSU 11/13/15             ★★
D-798.   MHCAD 3829         Fax to OHSU 11/12/15             ★★
D-799.   MHCAD 3831         OHSU Letter 11/11/15             ★★
D-800.   MHCAD 3832         Letter to OHSU 11/12/15          ★★
D-801.   MHCAD 3833-40      OHSU Fax 11/12/15                ★★
D-802.   MHCAD 3841-46      OHSU Fax 12/18/15                ★★
D-803.   MHCAD 3847-48      GI Oncology Dr. Kemeny Visit     ★★
                            10/14/15
D-804.   MHCAD 3849         Medical Oncology Outpatient      ★★
                            Visit Sheet 10/14/15
D-805.   MHCAD 3850-52      Outpatient Nursing Assessment    ★★
                            10/14/15

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D-806.   MHCAD 3853-55      Vital Signs 10/14/15            ★★
D-807.   MHCAD 3856         Medication Administration       ★★
                            10/14/15
D-808.   MHCAD 3866         Dr. Kemeny Letter to Dr. Ko     ★★
                            10/14/15
D-809.   MHCAD 3867-68      Dr. Kemeny Fax to Dr. Ko        ★★
                            10/21/15
D-810.   MHCAD 3869-74      Outpatient Orders 10/14/15      ★★
D-811.   MHCAD 3875-76      Solid Tumor GI Medicine         ★★
                            Disposition 10/14/15
D-812.   MHCAD 3877         Fax to OHSU 9/28/15             ★★
D-813.   MHCAD 3894         Letter to OHSU 9/24/15          ★★
D-814.   MHCAD 3895         Dr. Kemeny Rx 9/21/15           ★★
D-815.   MHCAD 3896-97      GI Oncology Dr. Kemeny Visit    ★★
                            9/16/15
D-816.   MHCAD 3898         Medical Oncology Outpatient     ★★
                            Visit Sheet 9/16/15
D-817.   MHCAD 3899-3901    Outpatient Nursing Assessment   ★★
                            9/16/15
D-818.   MHCAD 3902-04      Vital Signs 9/16/15             ★★
D-819.   MHCAD 3905         Medication Administration       ★★
                            9/16/15
D-820.   MHCAD 3915         Dr. Kemeny Letter to Dr. Ko     ★★
                            9/16/15
D-821.   MHCAD 3916-21      Outpatient Orders 9/16/15       ★★
D-822.   MHCAD 3922-23      Solid Tumor GI Medicine         ★★
                            Disposition 9/16/15
D-823.   MHCAD 3937-38      9/15/15 CT of chest, abdomen,   ★★
                            and pelvis
D-824.   CD MSK Radiology   Accompanying 9/15/15 film       ★★
D-825.   MHCAD 3944-45      9/15/15 MRI of sacrum and       ★★
                            coccyx
D-826.   MHCAD 3946         Dr. Kemeny Email Chain          ★★
                            Ending 9/10/15
D-827.   MHCAD 3947         Nursing Telephone Call 9/9/15   ★★
D-828.   MHCAD 3948         Outpatient Orders 9/9/15        ★★
D-829.   MHCAD 3949-52      Express Scripts Letter May      ★★
                            2015
D-830.   MHCAD 3953-56      UCSF Fax 9/8/15                 ★★
D-831.   MHCAD 3957-60      UCSF Fax 9/4/15                 ★★
D-832.   MHCAD 3961-62      GI Oncology Dr. Kemeny Visit    ★★
                            8/19/15 signed 8/21/15


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D-833.   MHCAD 3963-64     GI Oncology Dr. Kemeny Visit    ★★
                           8/19/15 signed 9/1/15
D-834.   MHCAD 3965        Medical Oncology Outpatient     ★★
                           Visit Sheet 8/19/15
D-835.   MHCAD 3966-68     Outpatient Nursing Assessment   ★★
                           8/19/15
D-836.   MHCAD 3969-71     Vital Signs 8/19/15             ★★
D-837.   MHCAD 3972        Medication Administration       ★★
                           8/19/15
D-838.   MHCAD 3982        Dr. Kemeny Letter to Dr. Ko     ★★
                           8/19/15
D-839.   MHCAD 3983-84     Dr. Kemeny Fax to Dr. Ko        ★★
                           9/1/15
D-840.   MHCAD 3986-91     Outpatient Orders 8/19/15       ★★
D-841.   MHCAD 3992-93     Solid Tumor GI Medicine         ★★
                           Disposition 8/19/15
D-842.   MHCAD 3994-97     UCSF Fax 8/5/15                 ★★
D-843.   MHCAD 3998-99     Dr. Kemeny Visit 7/22/15        ★★
D-844.   MHCAD 4000        Medical Oncology Outpatient     ★★
                           Visit Sheet 7/22/15
D-845.   MHCAD 4001-03     Outpatient Nursing Assessment   ★★
                           7/22/15
D-846.   MHCAD 4004-06     Vital Signs 7/22/15             ★★
D-847.   MHCAD 4007        Medication Administration       ★★
                           7/22/15
D-848.   MHCAD 4016        Dr. Kemeny Letter to Dr. Ko     ★★
                           7/22/15
D-849.   MHCAD 4017-18     Dr. Kemeny Fax to Dr. Ko        ★★
                           7/28/15
D-850.   MHCAD 4019        Outpatient Nursing Encounter    ★★
                           7/22/15
D-851.   MHCAD 4020-25     Outpatient Orders 7/22/15       ★★
D-852.   MHCAD 4026-27     Solid Tumor GI Medicine         ★★
                           Disposition 7/22/15
D-853.   MHCAD 4028-4031   UCSF Fax 6/24/15                ★★
D-854.   MHCAD 4035        Dr. Kemeny Fax to Dr. Ko        ★★
                           7/21/15
D-855.   MHCAD 4038-39     7/21/15 CT of chest, abdomen,   ★★
                           and pelvis
D-856.   MHCAD 4043        Nursing Telephone Call 7/9/15   ★★
D-857.   MHCAD 4044        Air Transport Medical AZ        ★★
                           7/9/15
D-858.   MHCAD 4045        UCSF Fax 8/9/15                 ★★
D-859.   MHCAD 4046-47     Dr. Kemeny Visit 6/24/15        ★★
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D-860.   MHCAD 4048         Medical Oncology Outpatient     ★★
                            Visit Sheet 6/24/15
D-861.   MHCAD 4049-51      Outpatient Nursing Assessment   ★★
                            6/24/15
D-862.   MHCAD 4052-54      Vital Signs 6/24/15             ★★
D-863.   MHCAD 4055         Medication Administration       ★★
                            6/24/15
D-864.   MHCAD 4066         Dr. Kemeny Letter to Dr. Ko     ★★
                            6/24/15
D-865.   MHCAD 4067-68      Dr. Kemeny Fax to Dr. Ko        ★★
                            7/7/15
D-866.   MHCAD 4069         Outpatient Nursing Encounter    ★★
                            6/24/15
D-867.   MHCAD 4070-06      Outpatient Orders 6/24/15       ★★
D-868.   MHCAD 4077-78      Solid Tumor GI Medicine         ★★
                            Disposition 6/24/15
D-869.   MHCAD 4079-84      UCSF Fax 6/23/15                ★★
D-870.   MHCAD 4085         UCSF Fax 6/24/15                ★★
D-871.   MHCAD 4086         Portal Message 6/1/15           ★★
D-872.   MHCAD 4087-88      Dr. Kemeny Visit 5/27/15        ★★
D-873.   MHCAD 4089-90      Dr. DeMatteo Visit 5/27/15      ★★
D-874.   MHCAD 4091         Medical Oncology Outpatient     ★★
                            Visit Sheet 5/27/15
D-875.   MHCAD 4092-94      Outpatient Nursing Assessment   ★★
                            5/27/15
D-876.   MHCAD 4095-97      Vital Signs 5/27/15             ★★
D-877.   MHCAD 4098         Medication Administration       ★★
                            5/27/15
D-878.   MHCAD 4107-08      Dr. Kemeny Fax to Dr. Ko        ★★
                            6/4/15
D-879.   MHCAD 4109-14      Outpatient Orders 5/27/15       ★★
D-880.   MHCAD 4115-16      Solid Tumor GI Medicine         ★★
                            Disposition 5/27/15
D-881.   MHCAD 4117-18      HPB Disposition 5/27/15         ★★
D-882.   MHCAD 4128-29      5/26/15 CT of chest, abdomen,   ★★
                            and pelvis
D-883.   CD MSK Radiology   Accompanying 5/26/15 film       ★★
D-884.   MHCAD 4130-32      5/26/15 Body FDG PET/CT         ★★
D-885.   CD MSK Radiology   Accompanying 5/26/15 film       ★★
D-886.   MHCAD 4133         Outpatient Orders 5/21/15       ★★
D-887.   MHCAD 4134         Nursing Telephone Call 5/7/15   ★★
D-888.   MHCAD 4135         UCSF Fax 8/9/15                 ★★
D-889.   MHCAD 4136-39      UCSF Fax 4/30/15                ★★
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D-890.   MHCAD 4140-41      Dr. Kemeny Visit 4/29/15         ★★
D-891.   MHCAD 4142         Medical Oncology Outpatient      ★★
                            Visit Sheet 4/29/15
D-892.   MHCAD 4143-45      Outpatient Nursing Assessment    ★★
                            4/29/15
D-893.   MHCAD 4146-48      Vital Signs 4/29/15              ★★
D-894.   MHCAD 4149         Medication Administration        ★★
                            4/29/15
D-895.   MHCAD 4159         Dr. Kemeny Letter to Dr. Ko      ★★
                            4/29/15
D-896.   MHCAD 4160-66      Outpatient Orders 4/29/15        ★★
D-897.   MHCAD 4167-68      Solid Tumor GI Medicine          ★★
                            Disposition 4/29/15
D-898.   MHCAD 4169         UCSF Fax 8/9/15                  ★★
D-899.   MHCAD 4170         Outpatient Orders 4/28/15        ★★
D-900.   MHCAD 4171         Nursing Telephone Call 4/15/15   ★★
D-901.   MHCAD 4172-76      UCSF Fax 4/17/15                 ★★
D-902.   MHCAD 4177         Nursing Telephone Call 4/6/15    ★★
D-903.   MHCAD 4178-79      Dr. Kemeny Visit 4/1/15          ★★
D-904.   MHCAD 4180         Medical Oncology Outpatient      ★★
                            Visit Sheet 4/1/15
D-905.   MHCAD 4181-83      Vital Signs 4/1/15               ★★
D-906.   MHCAD 4184-87      Chemotherapy Assessment          ★★
                            Record 4/1/15
D-907.   MHCAD 4188         Medication Administration        ★★
                            4/1/15
D-908.   MHCAD 4192         Dr. Kemeny Letter to Dr. Ko      ★★
                            4/1/15
D-909.   MHCAD 4193-98      Outpatient Orders 4/1/15         ★★
D-910.   MHCAD 4199-4200    Solid Tumor GI Medicine          ★★
                            Disposition 4/1/15
D-911.   MHCAD 4208-09      3/31/15 CT of chest, abdomen,    ★★
                            and pelvis
D-912.   CD MSK Radiology   Accompanying 3/31/15 film        ★★
D-913.   MHCAD 4210-11      3/31/15 hepatic pump             ★★
                            scintigraphy
D-914.   CD MSK Radiology   Accompanying 3/31/15 film        ★★
D-915.   MHCAD 4214         Nursing Telephone Call 3/10/15   ★★
D-916.   MHCAD 4215-16      Dr. Ko Email to Dr. Kemeny       ★★
                            3/5/15
D-917.   MHCAD 4217         Nursing Telephone Call 3/5/15    ★★
D-918.   MHCAD 4218-21      UCSF Fax 3/21/15                 ★★
D-919.   MHCAD 4222-23      Dr. Kemeny Visit 2/4/15          ★★
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D-920.   MHCAD 4224          Medical Oncology Outpatient    ★★
                             Visit Sheet 2/4/15
D-921.   MHCAD 4225-27       Vital Signs 2/4/15             ★★
D-922.   MHCAD 4228-31       Chemotherapy Assessment        ★★
                             Record 2/4/15
D-923.   MHCAD 4232          Medication Administration      ★★
                             2/4/15
D-924.   MHCAD 4236          Dr. Kemeny Letter to Dr. Ko    ★★
                             2/4/15
D-925.   MHCAD 4237-42       Oupatient Orders 2/4/15        ★★
D-926.   MHCAD 4243-44       Solid Tumor GI Medicine        ★★
                             Disposition 2/4/15
D-927.   MHCAD 4249-50       2/3/15 CT of chest, abdomen,   ★★
                             and pelvis
D-928.   CD MSK Radiology    Accompanying 2/3/15 film       ★★
D-929.   MHCAD 4254-58       UCSF Fax 12/13/01              ★★
D-930.   MHCAD 4259-64       UCSF Fax 1/8/15                ★★
D-931.   MHCAD 4265-66,      UCSF Fax 11/20/01              ★★
         4819
D-932.   MHCAD 4267          Outpatient Orders 12/9/14      ★★
D-933.   MHCAD 4268-69,      UCSF Fax 10/23/01              ★★
         4275
D-934.   MHCAD 4270-74     UCSF Fax 12/5/14                 ★★
D-935.   MHCAD 4276        Nursing Telephone Call           ★★
                           11/25/14
D-936.   MHCAD 4277        Nursing Telphone Call 11/20/14   ★★
D-937.   MHCAD 4278-79     Dr. Kemeny Visit 11/19/14        ★★
D-938.   MHCAD 4280        Medical Oncology Outpatient      ★★
                           Visit Sheet 11/19/14
D-939.   MHCAD 4281-83     Vital Signs 4281-83              ★★
D-940.   MHCAD 4284-87     Chemotherapy Assessment          ★★
                           Record 11/19/14
D-941.   MHCAD 4288        Medication Administration        ★★
                           11/19/14
D-942.   MHCAD 4292-93     Dr. Kemeny Fax to Dr. Ko         ★★
                           11/27/14
D-943.   MHCAD 4294-98     Outpatient Orders 11/19/14       ★★
D-944.   MHCAD 4299-4300 Solid Tumor GI Medicine            ★★
                           Disposition 11/19/14
D-945.   MHCAD 4301, 4310- UCSF Fax 11/19/14                ★★
         15
D-946.   MHCAD 4305-06     11/18/14 CT of chest, abdomen,   ★★
                           and pelvis

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D-947.   CD MSK Radiology   Accompanying 11/18/14 film       ★★
D-948.   MHCAD 4309         Dr. Kemeny Letter to Dr. Ko      ★★
                            11/19/14
D-949.   MHCAD 4316         Dr. Kemeny Fax to Dr. Ko         ★★
                            10/23/14
D-950.   MHCAD 4317-18      Dr. Kemeny Visit 10/22/14        ★★
D-951.   MHCAD 4319         Medical Oncology Outpatient      ★★
                            Visit Sheet 10/22/14
D-952.   MHCAD 4320-22      Vital Signs 10/22/14             ★★
D-953.   MHCAD 4323-26      Chemotherapy Assessment          ★★
                            Record 10/22/14
D-954.   MHCAD 4327         Medication Administration        ★★
                            10/22/14
D-955.   MHCAD 4331         Dr. Kemeny Letter to Dr. Ko      ★★
                            10/22/14
D-956.   MHCAD 4332         Outpatient Orders 10/22/14       ★★
D-957.   MHCAD 4337         Dr. Kemeny Rx 10/22/14           ★★
D-958.   MHCAD 4338-39      Solid Tumor GI Medicine          ★★
                            Disposition 10/22/14
D-959.   MHCAD 4341-46      Dr. Ko Visit Note 10/8/14        ★★
D-960.   MHCAD 4347-51      UCSF Fax 10/10/14                ★★
D-961.   MHCAD 4352-55,     UCSF Fax 8/25/01 (really dated   ★★
         4358-59, 4817-18   10/10/14)
D-962.   MHCAD 4356-57      UCSF Labs 10/8/14 and            ★★
                            10/18/14
D-963.   MHCAD 4360-61      Chemotherapy Treatment           ★★
                            Assessment 9/24/14
D-964.   MHCAD 4363         Dr. Kemeny Rx 9/25/14            ★★
D-965.   MHCAD 4364-65      Dr. Kemeny Visit 9/24/14         ★★
D-966.   MHCAD 4366-67      Dr. DeMatteo Visit 9/24/14       ★★
D-967.   MHCAD 4368         Dr. Garcia-Aguilar Visit         ★★
                            9/24/14
D-968.   MHCAD 4369         Medical Oncology Outpatient      ★★
                            Visit Sheet 9/24/14
D-969.   MHCAD 4370-72      Vital Signs 9/24/14              ★★
D-970.   MHCAD 4373-76      Chemotherapy Assessment          ★★
                            Record 9/24/14
D-971.   MHCAD 4377         Medication Administration        ★★
                            9/24/14
D-972.   MHCAD 4380         Dr. Kemeny Letter to Dr. Ko      ★★
                            9/24/14
D-973.   MHCAD 4381-82      Dr. DeMatteo Fax to Dr. Ko       ★★
                            10/15/14

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D-974.    MHCAD 4383-87      Outpatient Orders 9/24/14        ★★
D-975.    MHCAD 4388-89      Solid Tumor GI Medicine          ★★
                             Disposition 9/24/14
D-976.    MHCAD 4390-91      HPB Disposition 9/24/14          ★★
D-977.    MHCAD 4392-93      Colorectal Disposition 9/24/14   ★★
D-978.    MHCAD 4394-4401    Chemotherapy Learning Needs      ★★
                             Assessment 9/24/14
D-979.    MHCAD 4405-06      9/23/14 CT of chest, abdomen,    ★★
                             and pelvis
D-980.    CD MSK Radiology   Accompanying 9/23/14 film        ★★
D-981.    MHCAD 4412         Intra Operative Note 9/11/14     ★★
D-982.    MHCAD 4413         Low Nutrition Risk Assessment    ★★
                             9/12/14
D-983.    MHCAD 4414-15      New Patient Evaluation Dr.       ★★
                             Garcia-Aguilar 9/11/14
D-984.    MHCAD 4416         Pain Note 9/19/14                ★★
D-985.    MHCAD 4417         Surgery Note 9/19/14             ★★
D-986.    MHCAD 4418-19      HPB Surgery Note 9/19/14         ★★
D-987.    MHCAD 4420-22      Discharge Summary 9/19/14        ★★
D-988.    MHCAD 4423-27      Discharge Orders 9/11/14 -       ★★
                             9/19/14
D-989.    MHCAD 4428-39      Vital Signs 9/11/14 - 9/19/14    ★★
D-990.    MHCAD 4440-55      Medication Administration        ★★
                             Record 9/11/14 - 9/18/14
D-991.    MHCAD 4456-89      I&O Flowsheets 9/11/14 -         ★★
                             9/19/14
D-992.    MHCAD 4496-98      Part 2 Pre-Surgery Adult         ★★
                             Assessment 9/11/14
D-993.    MHCAD 4499-4502    Pre-Procedure Assessment         ★★
                             9/11/14
D-994.    MHCAD 4503-05      Nursing Ongoing Assessment       ★★
                             9/19/14 AM
D-995.    MHCAD 4506-08      Nursing Focused Assessment       ★★
                             9/11/14 - 9/19/14
D-996.    MHCAD 4572-73      PACU Admission & Discharge       ★★
                             Assessment 9/11/14
D-997.    MHCAD 4576         PACU Flow Sheet 9/11/14          ★★
D-998.    MHCAD 4577         PACU Progress Notes 9/11/14      ★★
D-999.    MHCAD 4579         Anesthesia Perioperative         ★★
                             Record Part 3 9/11/14
D-1000.   MHCAD 4580-4635    Orders 9/11/14 - 9/19/14         ★★
D-1001.   MHCAD 4637         Intraoperative Medication        ★★
                             Orders 9/11/14

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D-1002.   MHCAD 4640-41      Pain Note 9/18/14                ★★
D-1003.   MHCAD 4642-43      HPB Surgery Note 9/18/14         ★★
D-1004.   MHCAD 4644-46      Nursing Ongoing Assessment       ★★
                             9/18/14 PM
D-1005.   MHCAD 4647-49      Nursing Ongoing Assessment       ★★
                             9/18/14 AM
D-1006.   MHCAD 4651-52      Pain Note 9/17/14                ★★
D-1007.   MHCAD 4653-54      Social Work Note 9/17/14         ★★
D-1008.   MHCAD 4655         Event Note 9/17/14               ★★
D-1009.   MHCAD 4656-57      HPB Surgery Note 9/17/14         ★★
D-1010.   MHCAD 4658         Case Management Discharge        ★★
                             Plan 9/17/14
D-1011.   MHCAD 4659-62      Nursing Ongoing Assessment       ★★
                             9/17/14 PM
D-1012.   MHCAD 4663-67      Nursing Ongoing Assessment       ★★
                             9/17/14 AM
D-1013.   MHCAD 4670-71      Pain Note 9/16/14                ★★
D-1014.   MHCAD 4672-73      Social Work Note 9/16/14         ★★
D-1015.   MHCAD 4674-75      HPB Surgery Note 9/16/14         ★★
D-1016.   MHCAD 4676-79      Nursing Ongoing Assessment       ★★
                             9/16/14 PM
D-1017.   MHCAD 4680-82      Nursing Ongoing Assessment       ★★
                             9/16/14 AM
D-1018.   MHCAD 4685-86      9/16/14 hepatic pump             ★★
                             scintigraphy
D-1019.   CD MSK Radiology   Accompanying 9/16/14 film        ★★
D-1020.   MHCAD 4687-88      Protocol Eligibility Checklist   ★★
                             9/10/14
D-1021.   MHCAD 4689-90      Pain Note 9/15/14 AM             ★★
D-1022.   MHCAD 4691-92      Pain Note 9/15/14 PM             ★★
D-1023.   MHCAD 4693-94      Massage Therapy Note 9/15/14     ★★
D-1024.   MHCAD 4695-96      HPB Surgery Note 9/15/14         ★★
D-1025.   MHCAD 4697-98      Nursing Event Note 9/15/14       ★★
D-1026.   MHCAD 4699-4702    Nursing Ongoing Assessment       ★★
                             9/15/14 AM
D-1027.   MHCAD 4703-05      Nursing Ongoing Assessment       ★★
                             9/15/14 PM
D-1028.   MHCAD 4706-07      Solid Tumor GI Medicine          ★★
                             Disposition 9/15/14
D-1029.   MHCAD 4711-12      Pain Note 9/14/14                ★★
D-1030.   MHCAD 4713-15      HPB Surgery Note 9/14/14         ★★
D-1031.   MHCAD 4716-18      Nursing Ongoing Assessment       ★★
                             9/14/14 PM
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D-1032.   MHCAD 4719-21    Nursing Ongoing Assessment       ★★
                           9/14/14 AM
D-1033.   MHCAD 4724-25    Pain Note 9/13/14                ★★
D-1034.   MHCAD 4726-28    HPB Surgery Note 9/13/14         ★★
D-1035.   MHCAD 4729-30    Dr. DeMatteo Fax to Dr. Ko       ★★
                           9/15/14
D-1036.   MHCAD 4731-34    Nursing Ongoing Assessment       ★★
                           9/13/14 PM
D-1037.   MHCAD 4734-36    Nursing Ongoing Assessment       ★★
                           9/13/14 AM
D-1038.   MHCAD 4737-39    Hepatobiliary Operative Report   ★★
                           9/13/14
D-1039.   MHCAD 4742-43    Pain Note 9/12/14                ★★
D-1040.   MHCAD 4744-45    Initial Social Work Note         ★★
                           9/12/14
D-1041.   MHCAD 4746-47    HPB Surgery Note 9/12/14         ★★
D-1042.   MHCAD 4748-50    Colorectal Surgery Note          ★★
                           9/12/14
D-1043.   MHCAD 4751       Home Medication List 9/12/14     ★★
D-1044.   MHCAD 4752-55    Initial Nursing Assessment       ★★
                           Post-Surgery 9/12/14
D-1045.   MHCAD 4756       Nursing Event Note 9/12/14       ★★
                           1:03 AM
D-1046.   MHCAD 4757       Nursing Event Note 9/12/14       ★★
                           12:41 AM
D-1047.   MHCAD 4758-60    Nursing Ongoing Assessment       ★★
                           9/12/14 PM
D-1048.   MHCAD 4761-63    Nursing Ongoing Assessment       ★★
                           9/12/14 AM
D-1049.   MHCAD 4764-65    Outpatient Orders 9/12/14        ★★
D-1050.   MHCAD 4771-72    Pain Note 9/11/14                ★★
D-1051.   MHCAD 4773       Initial Visit - Chaplaincy       ★★
                           Service 9/11/14
D-1052.   MHCAD 4774-84    Medication Administration        ★★
                           9/11/14 - 9/19/14
D-1053.   MHCAD 4785-86    Dr. DeMatteo Fax to Dr. Ko       ★★
                           9/22/14
D-1054.   MHCAD 4787-88    Dr. Garcia-Aguilar Fax to Dr.    ★★
                           Ko 9/12/14
D-1055.   MHCAD 4789-90    Dr. DeMatteo Fax to Dr. Ko       ★★
                           9/18/14
D-1056.   MHCAD 4791-92    Colorectal Operative Report      ★★
                           9/11/14


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D-1057.   MHCAD 4793-4800    Operating Room Record              ★★
                             9/11/14
D-1058.   MHCAD 4801         Brief Operative Note 9/11/14       ★★
D-1059.   MHCAD 4802-13      Anesthesia Record 9/11/14          ★★
D-1060.   MHCAD 4814-16      Procedure Time-Out 9/11/14         ★★
D-1061.   MHCAD 4820-25      Surgical Pathology Report          ★★
                             9/11/14 Procedure
D-1062.   MHCAD 1826-27      Molecular Pathology Report         ★★
                             9/11/14 Procedure
D-1063.   MHCAD 4828         Patient Consent 9/10/14            ★★
D-1064.   MHCAD 4830-31      Dr. Kemeny Visit 9/10/14           ★★
D-1065.   MHCAD 4832-33      Dr. DeMatteo Initial               ★★
                             Consultation 9/10/14
D-1066.   MHCAD 4834         Pre-Surgical Testing Visit Sheet   ★★
                             9/10/14
D-1067.   MHCAD 4835         Medical Oncology Outpatient        ★★
                             Visit Sheet 9/10/14
D-1068.   MHCAD 4836-37      Pre-Surgical Screening Note        ★★
                             9/10/14
D-1069.   MHCAD 4839         Vital Signs 9/10/14                ★★
D-1070.   MHCAD 4843-44      Dr. Kemeny Fax to Dr. Ko           ★★
                             9/23/14
D-1071.   MHCAD 4845-46      Dr. DeMatteo Fax to Dr. Ko         ★★
                             9/22/14
D-1072.   MHCAD 4847-48      Part 1 Pre-Procedure Nursing       ★★
                             9/10/14
D-1073.   MHCAD 4849-51      Anesthesia Perioperative           ★★
                             Evaluation 9/10/14
D-1074.   MHCAD 4852-54      Outpatient Orders 9/10/14          ★★
D-1075.   MHCAD 4855-56      Solid Tumor GI Medicine            ★★
                             Disposition 9/10/14
D-1076.   MHCAD 4857-58      HPB Disposition 9/10/14            ★★
D-1077.   MHCAD 4859-67      Informed Consent for Clinical      ★★
                             Research and Forms 9/10/14
D-1078.   MHCAD 4868-69      Protocol Eligibility Checklist     ★★
                             9/10/14
D-1079.   MHCAD 4872         Outpatient Orders 9/9/14           ★★
D-1080.   MHCAD 4874-75      9/9/14 CT of chest, abdomen,       ★★
                             and pelvis
D-1081.   CD MSK Radiology   Accompanying 9/9/14 film           ★★
D-1082.   MHCAD 4879         Patient Consent 9/8/14             ★★
D-1083.   MHCAD 4881         Dr. Garcia-Aguilar Visit 9/8/14    ★★


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D-1084.   MHCAD 4883-84      Part 1 Pre-Procedure Nursing       ★★
                             9/8/14
D-1085.   MHCAD 4885-87      Outpatient Orders 9/8/14           ★★
D-1086.   MHCAD 4888-89      Colorectal Disposition 9/8/14      ★★
D-1087.   MHCAD 4890         Nursing Telephone Call 9/4/14      ★★
D-1088.   MHCAD 4891         Nursing Telephone Call 8/18/14     ★★
D-1089.   MHCAD 4892-93      HPB Disposition 8/7/14             ★★
D-1090.   MHCAD 4895         Patient Questionnaire for IV       ★★
                             Contrast 7/30/14
D-1091.   MHCAD 4898-99      Informed Consent for MSK-          ★★
                             IMPACT Test 7/30/14
D-1092.   MHCAD 4900-01,     New Patient Evaluation Dr.         ★★
          4912-15            Garcia-Aguilar 7/30/14
D-1093.   MHCAD 4902-06      Initial Consultation Dr. Kemeny    ★★
                             7/30/14
D-1094.   MHCAD 4907-09      Initial Consultation Dr. Garcia-   ★★
                             Aguilar 7/30/14
D-1095.   MHCAD 4910         Dr. Kemeny Progress Note           ★★
                             7/30/14
D-1096.   MHCAD 4916         Medical Oncology Outpatient        ★★
                             Visit Sheet 7/30/14
D-1097.   MHCAD 4917         Vital Signs 7/30/14                ★★
D-1098.   MHCAD 4919         Home Medication List 7/30/14       ★★
D-1099.   MHCAD 4922-23      Dr. Kemeny Fax to Dr. Ko           ★★
                             8/7/14
D-1100.   MHCAD 4924-27      Outpatient Orders 7/30/14          ★★
D-1101.   MHCAD 4929-30      Solid Tumor GI Medical             ★★
                             Disposition 7/30/14
D-1102.   MHCAD 4931-32      Colorectal Disposition 7/30/14     ★★
D-1103.   MHCAD 4933         Molecular Pathology Report         ★★
                             7/30/14 Procedure
D-1104.   MHCAD 4934-35      7/30/14 CT of Chest, abdomen       ★★
                             and pelvis with liver
                             angiography
D-1105.   CD MSK Radiology   Accompanying 7/30/14 film          ★★
D-1106.   MHCAD 4939-40      Molecular Pathology Report         ★★
                             4/21/14 Procedure
D-1107.   MHCAD 4941-44      Outpatient Orders 7/23/14          ★★
D-1108.   MHCAD 4946         Pathology Report 4/21/14           ★★
                             Procedure
D-1109.   MHCAD 4947         Molecular Pathology Report         ★★
                             4/10/14 Procedure
D-1110.   MHCAD 4949         Dr. Kemeny Email Chain             ★★
                             Ending 7/21/14
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D-1111.   MHCAD 4951            Dr. Kemeny Email Chain             ★★
                                Ending 7/17/14
D-1112.   MHCAD 4952            Outpatient Orders 7/17/14          ★★
D-1113.   MHCAD 4953            Pathology Report 4/10/14           ★★
                                Procedure
D-1114.   MHCAD 4954-57         CPMC Release of Pathology          ★★
D-1115.   MHCAD 4958-71,        Powers Fax to Jeban 7/1/14         ★★
          4975-5016, 5018-35,
          5037-46, 5050-57
D-1116.   MHCAD 4972-74         UCSF CT Abdomen Pelvis             ★★
                                6/24/14
D-1117.   MHCAD 5017            Sutter Health Admission Sheet      ★★
                                4/30/14
D-1118.   MHCAD 5036            Sutter Health Surgical             ★★
                                Pathology Report 4/21/14
                                Procedure
D-1119.   MHCAD 5047-49         Sutter Health Surgical             ★★
                                Pathology Report 4/10/14
                                Procedure
D-1120.   CPMC Sutter Health    US Pelvis 4/2/14                   ★★
          386
D-1121.   CPMC Sutter Health    CT Abdomen Pelvis 4/8/14           ★★
          401-02
D-1122.   CD CPMC Radiology     Accompanying 4/8/14 film           ★★
D-1123.   CPMC Sutter Health    IR History and Physical 4/10/14    ★★
          422-24
D-1124.   CPMC Sutter Health    Hospitalist History and Physical   ★★
          424-431               4/10/14
D-1125.   CPMC Sutter Health    IR Post Procedure Note 4/10/14     ★★
          466-67
D-1126.   CPMC Sutter Health    4/10/14 CT Abdomen                 ★★
          501-02                Retroperitoneal Mass Biopsy
D-1127.   CD CPMC Radiology     Accompanying 4/10/14 film          ★★
D-1128.   CPMC Sutter Health    4/11/14 US Abdomen                 ★★
          502-03
D-1129.   CD CPMC Radiology     Accompanying 4/11/14 film          ★★
D-1130.   CPMC Sutter Health    Surgical Pathology 4/10/14         ★★
          503-05                Procedure
D-1131.   CPMC Sutter Health    Internal Medicine Progress Note    ★★
          970-77                4/14/14
D-1132.   CPMC Sutter Health    Oncology Note 4/14/14              ★★
          978-81
D-1133.   CPMC Sutter Health    Progress Note 4/13/14              ★★
          986-87


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D-1134.   CPMC Sutter Health   Progress Note 4/15/14            ★★
          987-88
D-1135.   CPMC Sutter Health   GI Progress Note 4/15/14         ★★
          996
D-1136.   CPMC Sutter Health   Consent to Procedure 4/10/14     ★★
          1030
D-1137.   CPMC Sutter Health   Surgical Pathologoy CT-guided    ★★
          1151-52              core biopsy #1 liver
D-1138.   CPMC Sutter Health   Colonoscopy 4/21/14              ★★
          1164-66
D-1139.   CPMC Sutter Health   Surgical Pathology Colonoscopy   ★★
          1170-71
D-1140.   CPMC Sutter Health   4/21/14 Admission Information    ★★
          1241
D-1141.   CPMC Sutter Health   Discharge Summary 4/22/14        ★★
          1241-46
D-1142.   CPMC Sutter Health   ED Provider Note 4/21/14         ★★
          1247-51
D-1143.   UCSF 37-42           Discharge Summary 5/7/14         ★★
D-1144.   UCSF 128-33          ED Note 6/3/14                   ★★
D-1145.   UCSF 209-14          ED Note 10/18/14                 ★★
D-1146.   UCSF 353             RN Note 4/5/15                   ★★
D-1147.   UCSF 379             RN Note 5/3/15                   ★★
D-1148.   UCSF 401             Admission Orders 5/31/15         ★★
D-1149.   UCSF 434-35          Luriko Ajari Note 12/4/12        ★★
D-1150.   UCSF 442-47          Dr. Ko Note 4/23/14              ★★
D-1151.   UCSF 447-48          FOLFOX Chemotherapy Patient      ★★
                               Education 4/28/14
D-1152.   UCSF 448-51          Dr. Ko Note 5/15/14              ★★
D-1153.   UCSF 451-55          Amie M Blanco, MS Note 5/23/14   ★★
D-1154.   UCSF 455-57          Dr. Ko Note 5/29/14              ★★
D-1155.   UCSF 458-60          Dr. Elnachef Note 6/6/14         ★★
D-1156.   UCSF 460-63          Dr. Ko Note 6/12/14              ★★
D-1157.   UCSF 463-66          Amie M Blanco, MS Note 6/19/14   ★★
D-1158.   UCSF 466-69          Dr. Ko Note 6/25/14              ★★
D-1159.   UCSF 469-72          Dr. Woeber Note 7/9/14           ★★
D-1160.   UCSF 472-75          Dr. Ko Note 7/24/14              ★★
D-1161.   UCSF 476-80          Dr. Ko Note 8/11/14              ★★
D-1162.   UCSF 480-83          Dr. Ko Note 8/21/14              ★★
D-1163.   UCSF 483-87          Dr. Ko Note 10/8/14              ★★
D-1164.   UCSF 489-93          NP Weber Note 10/8/14            ★★
D-1165.   UCSF 493-98          Dr. Finlayson Note 10/14/14      ★★

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D-1166.   UCSF 502-05       Dr. Ko Note 11/6/14                 ★★
D-1167.   UCSF 505-09       Dr. Ko Note 12/4/14                 ★★
D-1168.   UCSF 509-13       NP Weber Note 12/4/14               ★★
D-1169.   UCSF 513-18       NP Weber Note 12/18/14              ★★
D-1170.   UCSF 522-26       Dr. Ko Note 1/8/15                  ★★
D-1171.   UCSF 526-30       NP Weber Note 1/21/15               ★★
D-1172.   UCSF 537-40       Dr. Ko Note 2/5/15                  ★★
D-1173.   UCSF 541-45       NP Weber Note 2/18/15               ★★
D-1174.   UCSF 545-47       Dr. Chen Note 3/3/15                ★★
D-1175.   UCSF 548-53       NP Weber Note 3/4/15                ★★
D-1176.   UCSF 553-57       Dr. Siegel Note 3/5/15              ★★
D-1177.   UCSF 557-60       Dr. Carnevale Note 4/15/15          ★★
D-1178.   UCSF 560-63       Dr. Ko Note 4/30/15                 ★★
D-1179.   UCSF 563-67       NP Weber Note 5/13/15               ★★
D-1180.   UCSF 567-71       NP Weber Note 6/11/15               ★★
D-1181.   UCSF 572-76       Dr. Carnevale Note 6/17/15          ★★
D-1182.   UCSF 576-79       Dr. Ko Note 7/8/15                  ★★
D-1183.   UCSF 579-82       NP Weber Note 7/9/15                ★★
D-1184.   UCSF 582-87       Hospital Medicine Initial Consult   ★★
                            Note 7/11/15
D-1185.   UCSF 587-92       Dr. Appelle Note 7/13/15            ★★
D-1186.   UCSF 592-94       Dr. Ko Note 8/5/15                  ★★
D-1187.   UCSF 594-98       NP Weber Note 8/9/15                ★★
D-1188.   UCSF 598-602      NP Weber Note 9/2/15                ★★
D-1189.   UCSF 602-05       Dr. Carnevale Note 9/2/15           ★★
D-1190.   UCSF 605-09       Dr. Woeber Note 9/9/15              ★★
D-1191.   UCSF 609-12       Dr. Carnevale Note 9/30/15          ★★
D-1192.   UCSF 612-16       NP Weber Note 9/30/15               ★★
D-1193.   UCSF 616-19       Dr. Carnevale Note 10/28/15         ★★
D-1194.   UCSF 620-24       NP Weber Note 10/29/15              ★★
D-1195.   UCSF 980-81       Surgical Pathology Report 6/10/14   ★★
                            Procedure
D-1196.   UCSF 990-91       4/28/14 CT Chest                    ★★
D-1197.   UCSF 991-93       6/24/14 CT Abdomen/Pelvis           ★★
D-1198.   ZAK_NY 7041       OHSU Telephone Note 4/18/17         ★★
D-1199.   ZAK_NY 7041-2     OHSU RN Maccini Note 4/18/17        ★★
D-1200.   ZAK_NY 7045-46    OHSU RN Baker Note 4/5/17           ★★
D-1201.   ZAK_NY 7046       OHSU Chemotherapy Nurse Note        ★★
                            4/5/17
D-1202.   ZAK_NY 7055-62    OHSU Dr. Lopez Note 4/5/17          ★★
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D-1203.   ZAK_NY 7095        OHSU RN Maccini Note 4/5/17       ★★
D-1204.   ZAK_NY 7099-7106   OHSU ED Note 4/5/17               ★★
D-1205.   ZAK_NY 7160        OHSU Telephone Note 4/4/17        ★★
D-1206.   ZAK_NY 7163-64     OHSU Chemotherapy Nurse Note      ★★
                             3/24/17
D-1207.   ZAK_NY 7262        OHSU Telephone Note 3/22/17       ★★
D-1208.   ZAK_NY 7262-63     OHSU RN Schaefer Note 3/22/17     ★★
D-1209.   ZAK_NY 7348-49     OHSU Chemotherapy Nurse Note      ★★
                             2/24/17
D-1210.   ZAK_NY 7367-76     OHSU PA Smith Note 2/24/17        ★★
D-1211.   ZAK_NY 7411        OHSU Message re Labs 2/20/17      ★★
D-1212.   ZAK_NY 7429-32     OHSU Dermatology Dr. Rojek Note   ★★
                             2/17/17
D-1213.   ZAK_NY 7460-61     OHSU Chemotherapy Nurse Note      ★★
                             2/10/17
D-1214.   ZAK_NY 7481-90     OHSU PA Smith Note 2/10/17        ★★
D-1215.   ZAK_NY 7518-19     OHSU Messages re Rash 2/6/17 -    ★★
                             2/15/17
D-1216.   ZAK_NY 7533        OHSU Telephone Note 2/2/17        ★★
D-1217.   ZAK_NY 7533-34     OHSU RN Maccini Notes 2/2/17      ★★
D-1218.   ZAK_NY 7541-48     OHSU Dr. Lopez Note 2/1/17        ★★
D-1219.   ZAK_NY 7575-76     OHSU Chemotherapy Nurse Note      ★★
                             1/27/17
D-1220.   ZAK_NY 7598-7601   OHSU NP Benedict Note 1/27/17     ★★
D-1221.   ZAK_NY 7630-33     OHSU Dermatology Dr. Arthur       ★★
                             Note 1/20/17
D-1222.   ZAK_NY 7645-46     OHSU Chemotherapy Nurse Note      ★★
                             1/13/17
D-1223.   ZAK_NY 7689-90     OHSU Chemotherapy Nurse Note      ★★
                             12/30/16
D-1224.   ZAK_NY 7735-36     OHSU Chemotherapy Nurse Note      ★★
                             12/16/16
D-1225.   ZAK_NY 7756-59     OHSU Dr. Lopez Note 12/14/16      ★★
D-1226.   ZAK_NY 7806-07     OHSU Chemotherapy Nurse Note      ★★
                             12/2/16
D-1227.   ZAK_NY 7827-28     OHSU Chemotherapy Nurse Note      ★★
                             11/18/16
D-1228.   ZAK_NY 7854        OHSU RN Mead Note 11/16/16        ★★
D-1229.   ZAK_NY 7868-71     OHSU PA Smith Note 11/16/16       ★★
D-1230.   ZAK_NY 7902-03     OHSU Chemotherapy Nurse Note      ★★
                             11/4/16
D-1231.   ZAK_NY 7923        OHSU RN Hansen Note 11/2/16       ★★
D-1232.   ZAK_NY 7972        OHSU Dr. Yoo Note 11/1/16         ★★

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D-1233.   ZAK_NY 7983-84    OHSU Chemotherapy Nurse Note    ★★
                            10/21/16
D-1234.   ZAK_NY 8027-28    OHSU Chemotherapy Nurse Note    ★★
                            10/19/16
D-1235.   ZAK_NY 8051-52    OHSU RN Maccini Note 10/13/16   ★★
D-1236.   ZAK_NY 8064-65    OHSU Chemotherapy Nurse Note    ★★
                            10/7/16
D-1237.   ZAK_NY 8086-90    OHSU NP Benedict Note 10/7/16   ★★
D-1238.   ZAK_NY 8110-11    OHSU Chemotherapy Nurse Note    ★★
                            9/28/16
D-1239.   ZAK_NY 8152-54    OHSU Dr. Yoo Note 9/27/16       ★★
D-1240.   ZAK_NY 8174-75    OHSU Chemotherapy Nurse Note    ★★
                            9/23/16
D-1241.   ZAK_NY 8196-99    OHSU NP Johnson Note 9/22/16    ★★
D-1242.   ZAK_NY 8218-19    OHSU Chemotherapy Nurse Note    ★★
                            9/14/16
D-1243.   ZAK_NY 8231-32    OHSU Chemotherapy Nurse Note    ★★
                            9/9/16
D-1244.   ZAK_NY 8253       OHSU Telephone Encounter & RN   ★★
                            Maccini Note 8/31/16
D-1245.   ZAK_NY 8271       OHSU Telephone Encounter & RN   ★★
                            Maccini Note 8/23/16
D-1246.   ZAK_NY 8275-76    OHSU Telephone Encounter & RN   ★★
                            Maccini Note 8/18/16
D-1247.   ZAK_NY 8280-81    OHSU Chemotherapy Nurse Note    ★★
                            8/5/16
D-1248.   ZAK_NY 8304-05    OHSU Chemotherapy Nurse Note    ★★
                            8/3/16
D-1249.   ZAK_NY 8322-23    OHSU Chemotherapy Nurse Note    ★★
                            7/22/16
D-1250.   ZAK_NY 8378-79    OHSU Telephone Encounter        ★★
                            7/19/16
D-1251.   ZAK_NY 8390-91    OHSU Chemotherapy Nurse Note    ★★
                            7/8/16
D-1252.   ZAK_NY 8421-24    OHSU Dr. Lopez Note 7/6/16      ★★
D-1253.   ZAK_NY 8445-46    OHSU Chemotherapy Nurse Note    ★★
                            7/6/16
D-1254.   ZAK_NY 8458-60    OHSU Chemotherapy Nurse Note    ★★
                            6/24/16
D-1255.   ZAK_NY 8519-20    OHSU Chemotherapy Nurse Note    ★★
                            6/10/16
D-1256.   ZAK_NY 8520-21    OHSU RN Orlowsky Note 6/10/16   ★★
D-1257.   ZAK_NY 8550-55    OHSU Dr. Lopez Note 6/8/16      ★★
D-1258.   ZAK_NY 8603       OHSU RN Tope Note 5/29/16       ★★


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D-1259.   ZAK_NY 8611-12     OHSU Chemotherapy Nurse Note      ★★
                             5/27/16
D-1260.   ZAK_NY 8680-83     OHSU Genetic Counselor Note       ★★
                             5/19/16
D-1261.   ZAK_NY 8694        OHSU RN Dang Note 5/15/16         ★★
D-1262.   ZAK_NY 8704-05     OHSU Chemotherapy Nurse Note      ★★
                             5/13/16
D-1263.   ZAK_NY 8749        OHSU RN Hansen Note 5/11/16       ★★
D-1264.   ZAK_NY 8763-66     OHSU Dr. Lopez Note 5/4/16        ★★
D-1265.   ZAK_NY 8794-99     OHSU Dr. Mayo Note 5/4/16         ★★
D-1266.   ZAK_NY 8815        OHSU RN Tope Note 5/1/16          ★★
D-1267.   ZAK_NY 8825-26     OHSU Chemotherapy Nurse Note      ★★
                             4/29/16
D-1268.   ZAK_NY 8888-94     OHSU ED Notes 4/21/16 - 4/22/16   ★★
D-1269.   ZAK_NY 8941-44     OHSU Messages re PET Scan         ★★
                             4/20/16 - 4/21/16
D-1270.   ZAK_NY 9009-11     OHSU Telephone Encounter &        ★★
                             Notes 3/22/16
D-1271.   ZAK_NY 9014-15     OHSU Telephone Encounter &        ★★
                             Notes 3/17/16
D-1272.   ZAK_NY 9018-22     OHSU Dr. Li Note 3/15/16          ★★
D-1273.   ZAK_NY 9045        OHSU RN Tope Note 3/12/16         ★★
D-1274.   ZAK_NY 9112-13     OHSU Telephone Encounter & RN     ★★
                             Maccini Note 3/9/16
D-1275.   ZAK_NY 9119-22     OHSU PA Smith Note 3/2/16         ★★
D-1276.   ZAK_NY 9145        OHSU Telephone Encounter & RN     ★★
                             Maccini Note 2/29/16
D-1277.   ZAK_NY 9148        OHSU RN Lauka Note 2/28/16        ★★
D-1278.   ZAK_NY 9162-65     OHSU PA Smith Note 2/26/16        ★★
D-1279.   ZAK_NY 9198-9201   OHSU Dr. Lopez Note 2/23/16       ★★
D-1280.   ZAK_NY 9227-28     OHSU Telephone Encounter & RN     ★★
                             Maccini Note 2/22/16
D-1281.   ZAK_NY 9255-56     OHSU RN Sterling Note 2/12/16     ★★
D-1282.   ZAK_NY 9280-84     OHSU Dr. Mayo Note 2/10/16        ★★
D-1283.   ZAK_NY 9319-22     OHSU Dr. Lopez Note 2/2/16        ★★
D-1284.   ZAK_NY 9336        OHSU RN Hall Note 1/13/16         ★★
D-1285.   ZAK_NY 9475        OHSU RN Orlowsky Note 1/4/16      ★★
D-1286.   ZAK_NY 9494        OHSU RN Maccini Note 12/30/15     ★★
D-1287.   ZAK_NY 9507-08     OHSU Chemotherapy Nurse Note      ★★
                             12/29/15
D-1288.   ZAK_NY 9569        OHSU RN Browne Note 12/10/15      ★★
D-1289.   ZAK_NY 9578-79     OHSU LCSW Macuiba Note            ★★
                             12/8/15
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D-1290.   ZAK_NY 9606       OHSU RN Orlowsky Note 12/2/15   ★★
D-1291.   ZAK_NY 9663       OHSU RN Lauka Note 11/22/15     ★★
D-1292.   ZAK_NY 9675-76    OHSU RN Gramberg Note           ★★
                            11/20/15
D-1293.   ZAK_NY 9679-80    OHSU Chemotherapy Nurse Note     ★★
                            11/20/15                         ★★
                                                             ★★
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                                                                 ★★
                                                                 ★★
D-1294.   ZAK_NY 9704         OHSU Telephone Encounter          ★★
                              11/20/15
D-1295.   ZAK_NY 9819-28      OHSU Dr. Mayo Note 11/11/15       ★★
D-1296.   ZAK_NY 9877-80      UCSF NP Weber Note 8/9/15         ★★
D-1297.   ZAK_NY 9970-71      OHSU LCSW Macuiba Note            ★★
                              11/10/15
D-1298.   ZAK_NY 9974-82      OHSU Dr. Lopez Note 11/10/15      ★★
D-1299.   ZAK_NY 023-26       OHSU MRI Interpretation           ★★
                              10/26/18 Reported 11/9/18
D-1300.   ZAK_NY 028-31       OHSU PET Interpretation 9/25/18   ★★
                              Reported 11/8/18
D-1301.   ZAK_NY 034-35       OHSU Telephone Encounters         ★★
                              7/11/18
D-1302.   ZAK_NY 040          OHSU Notes 6/4/18                 ★★
D-1303.   ZAK_NY 100-06       OHSU Dr. Pommier Note 5/26/18     ★★
D-1304.   ZAK_NY 107-11       OHSU Dr. Mayo Note 5/29/18        ★★
D-1305.   ZAK_NY 111-17       OHSU Dr. Forrest Note 5/27/18     ★★
D-1306.   ZAK_NY 129-35       OHSU Dr. Campos Note 5/27/18      ★★
D-1307.   ZAK_NY 135-38       OHSU Dr. Woelber Note 5/27/18     ★★
D-1308.   ZAK_NY 177-78       OHSU US Abdomen limited           ★★
                              5/29/18
D-1309.   CD OHSU Radiology   Accompanying 5/29/18 film         ★★
D-1310.   ZAK_NY 293-300      OHSU Dr. Schultz Note 5/12/18     ★★
D-1311.   ZAK_NY 300-05       OHSU Dr. Mayo Note 5/14/18        ★★
D-1312.   ZAK_NY 305-10       OHSU Dr. Sukerman Note 5/13/18    ★★
D-1313.   ZAK_NY 310-18       OHSU Dr. Li Note 5/14/18          ★★
D-1314.   ZAK_NY 325-326      OHSU Dr. Addicott Note 5/13/16    ★★
D-1315.   ZAK_NY 326-29       OHSU Dr. Mayo Note 5/14/18        ★★
D-1316.   ZAK_NY 591          OHSU Telephone Encounter & RN     ★★
                              Maccini Note 4/24/18
D-1317.   ZAK_NY 804-08       OHSU Dr. Pasko Note 4/2/18        ★★
D-1318.   ZAK_NY 808-11       OHSU RN Tobin-Shubin Note         ★★
                              4/2/18
D-1319.   ZAK_NY 816-17       OHSU Brief IR Procedure Note      ★★
                              4/2/18
D-1320.   ZAK_NY 844-46       OHSU Biliary tube exchange        ★★
                              4/2/18
D-1321.   ZAK_NY 993-94       OHSU Telephone Encounter & RN     ★★
                              Maccini Note 3/22/18
D-1322.   ZAK_NY 1113-17      OHSU Discharge Summary 3/2/18     ★★

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D-1323.   ZAK_NY 1117-25      OHSU Dr. Hum & Dr. Zaman Notes     ★★
                              2/26/18
D-1324.   ZAK_NY 1126-36      OHSU Dr. Boothby & Dr. Maier       ★★
                              Notes 2/26/18
D-1325.   ZAK_NY 1191-93      OHSU Dr. Shabrang & Dr. Farsad     ★★
                              Notes 2/28/18
D-1326.   ZAK_NY 1193-96      OHSU Dr. Mitra & Dr. Otaki Notes   ★★
                              2/28/18
D-1327.   ZAK_NY 1196-1200    OHSU Dr. Jedrzejewski & Dr. Mayo   ★★
                              Notes 2/28/18
D-1328.   ZAK_NY 1200-03      OHSU Dr. Pasko & Dr. Mayo Notes    ★★
                              3/1/18
D-1329.   ZAK_NY 1203-04      OHSU RN Parrish Note 2/26/18       ★★
D-1330.   ZAK_NY 1514-26      OHSU ED Notes 2/14/18              ★★
D-1331.   ZAK_NY 1550-55      OHSU Discharge Summary             ★★
                              2/15/18
D-1332.   ZAK_NY 1560-65      OHSU Dr. Gilliam & Dr. Mayo        ★★
                              Notes 2/14/18
D-1333.   ZAK_NY 1568-73      OHSU Dr. Khalsa Note 2/14/18       ★★
D-1334.   ZAK_NY 1573-76      OHSU Dr. Jedrzejewski & Dr. Mayo   ★★
                              Notes 2/15/18
D-1335.   ZAK_NY 1576-77      OHSU Dr. Kaufman Note 2/15/18      ★★
D-1336.   ZAK_NY 1615-18      OHSU CTA Abdomen and Pelvis        ★★
                              2/14/18
D-1337.   CD OHSU Radiology   Accompanying 2/14/18 film          ★★
D-1338.   ZAK_NY 1838-45      OHSU Discharge Summary 2/6/18      ★★
D-1339.   ZAK_NY 1846-53      OHSU PA Wogu & Dr. Lee Notes       ★★
                              2/5/18
D-1340.   ZAK_NY 1859         OHSU Brief IR Procedure Note       ★★
                              2/5/18
D-1341.   ZAK_NY 1860-63      OHSU Brief Vascular and IR         ★★
                              Progress Note 2/6/18
D-1342.   ZAK_NY 1887-89      OHSU Bilateral Biliary Tube        ★★
                              Exchange 2/5/18
D-1343.   ZAK_NY 1989-1990    OHSU Telephone Encounter           ★★
                              2/2/18
D-1344.   ZAK_NY 2045-52      OHSU Discharge Summary 2/1/18      ★★
D-1345.   ZAK_NY 2069-73      OHSU Dr. Duvall & Dr. Bensch       ★★
                              Notes 2/1/18
D-1346.   ZAK_NY 2085-88      OHSU Dr. Ando & Dr. Kelley Notes   ★★
                              1/31/18
D-1347.   ZAK_NY 2088-89      OHSU Dr. Sullivan Note 1/31/18     ★★
D-1348.   ZAK_NY 2089-90      OHSU Dr. Addicott Note 1/31/18     ★★
D-1349.   ZAK_NY 2095-97      OHSU Dr. Nesmith Note 2/1/18       ★★

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D-1350.   ZAK_NY 2097-99      OHSU Brief Vascular and IR          ★★
                              Progress Note 2/1/18
D-1351.   ZAK_NY 2132-33      OHSU CT abdomen 1/31/18             ★★
D-1352.   CD OHSU Radiology   Accompanying 1/31/18 film           ★★
D-1353.   ZAK_NY 2289         OHSU Telephone Encounter            ★★
                              1/30/18 RN
D-1354.   ZAK_NY 2489-96      OHSU Dr. Levander Note 1/13/18      ★★
D-1355.   ZAK_NY 2496-2502    OHSU Discharge Summary              ★★
                              1/16/18
D-1356.   ZAK_NY 2519-21      OHSU Dr. Ando & Dr. Collins Notes   ★★
                              1/14/18
D-1357.   ZAK_NY 2532-37      OHSU Dr. Khalsa Note 1/15/18        ★★
D-1358.   ZAK_NY 2537         OHSU Dr. Mayo Note 1/16/18          ★★
D-1359.   ZAK_NY 2716         OHSU Dr. Cetnar Note 1/12/18        ★★
D-1360.   ZAK_NY 2889-90      OHSU LCSW Macuiba Note              ★★
                              12/27/17
D-1361.   ZAK_NY 2944-55      OHSU ED Provider Notes 12/16/17     ★★
D-1362.   ZAK_NY 2993-94      OHSU CT abdomen and pelvis          ★★
                              12/16/17
D-1363.   CD OHSU Radiology   Accompanying 12/16/17 film          ★★
D-1364.   ZAK_NY 3034-35      OHSU Telephone Encounter            ★★
                              12/16/17
D-1365.   ZAK_NY 3043-45      OHSU Dr. Mayo Note 12/15/17         ★★
D-1366.   ZAK_NY 3048-49      OHSU Dr. Mayo Note 12/14/17         ★★
D-1367.   ZAK_NY 3072-73      OHSU CT Multiphase Liver and        ★★
                              Pelvis 11/21/17
D-1368.   ZAK_NY 3074-75      OHSU Upper GI Endoscopy 9/1/17      ★★
D-1369.   ZAK_NY 3079         OHSU Telephone Encounter            ★★
                              12/13/17
D-1370.   ZAK_NY 3087         OHSU LCSW Macuiba Note              ★★
                              12/12/17
D-1371.   ZAK_NY 3093-98      OHSU Dr. Addicott Note 12/10/17     ★★
D-1372.   ZAK_NY 3098-99      OHSU Dr. Addicott Note 12/11/17     ★★
D-1373.   ZAK_NY 3105-06      OHSU bilateral bilary catheter      ★★
                              checks 12/11/17
D-1374.   ZAK_NY 3179-86      OHSU Dr. Mayo 12/6/17               ★★
D-1375.   ZAK_NY 3235-36      OHSU Chemotherapy Nurse Note        ★★
                              12/5/17
D-1376.   ZAK_NY 3268-80      OHSU PA Johnston Note 12/5/17       ★★
D-1377.   ZAK_NY 3320-21      OHSU Telephone Encounter & RN       ★★
                              Schafer Note 12/5/17
D-1378.   ZAK_NY 3331         OHSU Telephone Encounter            ★★
                              11/30/17

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D-1379.   ZAK_NY 3349-51      OHSU Liver protocol CT abdomen,   ★★
                              CT pelvis 11/21/17
D-1380.   CD OHSU Radiology   Accompanying 11/21/17 film        ★★
D-1381.   ZAK_NY 3388-93      OHSU Dr. Shabrang Note 11/14/17   ★★
D-1382.   ZAK_NY 3394-95      OHSU Dr. Shabrang Note 11/15/17   ★★
D-1383.   ZAK_NY 3396-98      OHSU biliary tube exchange        ★★
                              11/15/17
D-1384.   ZAK_NY 3539-52      OHSU PA Smith Note 11/10/17       ★★
D-1385.   ZAK_NY 3568         OHSU CTA Chest                    ★★
D-1386.   ZAK_NY 3581         OHSU Telephone Encounter          ★★
                              11/9/17
D-1387.   ZAK_NY 3612-13      OHSU CT chest, abdomen and        ★★
                              pelvis 11/1/17
D-1388.   CD OHSU Radiology   Accompanying 11/1/17 film         ★★
D-1389.   ZAK_NY 3629         OHSU Message 10/31/17             ★★
D-1390.   ZAK_NY 3630         OHSU Message 10/29/17             ★★
D-1391.   ZAK_NY 3642-43      OHSU Messages re Thyroid          ★★
                              Medication 10/25/17 - 10/26/17
D-1392.   ZAK_NY 3663-64      OHSU Chemotherapy Nurse Note      ★★
                              10/24/17
D-1393.   ZAK_NY 3680-89      OHSU Dr. Lopez Note 10/24/17      ★★
D-1394.   ZAK_NY 3722         OHSU Telephone Encounter          ★★
                              10/20/17
D-1395.   ZAK_NY 3729-34      OHSU Dr. Pasko & Dr. Mayo Notes   ★★
                              10/18/17
D-1396.   ZAK_NY 3805         OHSU Message 10/6/17              ★★
D-1397.   ZAK_NY 3855-56      OHSU Chemotherapy Nurse Note      ★★
                              10/3/17
D-1398.   ZAK_NY 3975-80      OHSU Dr. Mayo Note 9/27/17        ★★
D-1399.   ZAK_NY 4002-13      OHSU Dr. Lopez Note 9/27/17       ★★
D-1400.   ZAK_NY 4064-68      OHSU Dr. West Note 9/20/17        ★★
D-1401.   ZAK_NY 4068-69      OHSU Dr. West Note 9/21/17        ★★
D-1402.   ZAK_NY 4069-71      OHSU Biliary tube exchange        ★★
                              9/21/17
D-1403.   ZAK_NY 4134         OHSU Telephone Encounter          ★★
                              9/19/17
D-1404.   ZAK_NY 4161-62      OHSU CT chest, abdomen and        ★★
                              pelvis 9/18/17
D-1405.   CD OHSU Radiology   Accompanying 9/18/17 film         ★★
D-1406.   ZAK_NY 4207-15      OHSU Dr. Strasfeld Note 9/13/17   ★★
D-1407.   ZAK_NY 4239-43      OHSU Dr. Mayo Note 9/13/17        ★★
D-1408.   ZAK_NY 4301-02      OHSU Telephone Encounter          ★★
                              9/8/17

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D-1409.   ZAK_NY 4321-27      OHSU PA Wogu Note 9/6/17          ★★
D-1410.   ZAK_NY 4328-33      OHSU Dr. Mayo Note 9/7/17         ★★
D-1411.   ZAK_NY 4334-37      OHSU Dr. Mayo Note 9/8/17         ★★
D-1412.   ZAK_NY 4366-70      OHSU Dr. Camos Note 9/5/17        ★★
D-1413.   ZAK_NY 4371-72      OHSU Dr. Shabrang Note 9/5/17     ★★
D-1414.   ZAK_NY 4383-84      OHSU Brief Vascular and IR        ★★
                              Progress Note 9/8/17
D-1415.   ZAK_NY 4458-59      OHSU External biliary drainage    ★★
                              catheter placement 9/5/17
D-1416.   ZAK_NY 4460-61      OHSU Fluoroscopically guided      ★★
                              biliary tube check and exchange
                              9/5/17
D-1417.   ZAK_NY 4630-36      OHSU ED Provider Notes 9/1/17     ★★
D-1418.   ZAK_NY 4646-51      OHSU Dr. Mayo Note 9/1/17         ★★
D-1419.   ZAK_NY 4667-68      OHSU Liver protocol CT of the     ★★
                              abdomen, CT pelvis 9/1/17
D-1420.   CD OHSU Radiology   Accompanying 9/1/17 film          ★★
D-1421.   ZAK_NY 4693-95      OHSU CT abdomen and pelvis        ★★
                              9/1/17
D-1422.   CD OHSU Radiology   Accompanying 9/1/17 film          ★★
D-1423.   ZAK_NY 4710         OHSU Dr. Bakis Note 9/1/17        ★★
D-1424.   ZAK_NY 4753         OHSU Dr. Blanke Note 8/31/17      ★★
D-1425.   ZAK_NY 4775-84      OHSU Dr. Lopez Note 8/30/17       ★★
D-1426.   ZAK_NY 4807-12      OHSU Dr. Mayo Note 8/30/17        ★★
D-1427.   ZAK_NY 4868         OHSU Telephone Encounter          ★★
                              8/24/17
D-1428.   ZAK_NY 4890-97      OHSU Dr. Pasko & Dr. Mayo Notes   ★★
                              8/23/17
D-1429.   ZAK_NY 4949-53      OHSU Dr. Pasko Note 8/17/17       ★★
D-1430.   ZAK_NY 4953-56      OHSU Discharge Summary            ★★
                              8/20/17
D-1431.   ZAK_NY 4991-93      OHSU conversion external to       ★★
                              internal-external drain 8/18/17
D-1432.   ZAK_NY 5100-03      OHSU CT chest, abdomen and        ★★
                              pelvis 8/17/17
D-1433.   CD OHSU Radiology   Accompanying 8/17/17 film         ★★
D-1434.   ZAK_NY 5128-30      OHSU Dr. Pasko Note 8/16/17       ★★
D-1435.   ZAK_NY 5270-71      OHSU PET scan 8/7/17              ★★
D-1436.   ZAK_NY 5305-11      OHSU Dr. Mayo Note 8/2/17         ★★
D-1437.   ZAK_NY 5383-88      OHSU Dr. Mayo Note 7/28/17        ★★
D-1438.   ZAK_NY 5388-95      OHSU Discharge Summary            ★★
                              7/29/17
D-1439.   ZAK_NY 5404-10      OHSU ID Note 7/29/17              ★★
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D-1440.   ZAK_NY 5434         OHSU Focused US LLQ abdominal     ★★
                              wall 7/27/17
D-1441.   CD OHSU Radiology   Accompanying 7/27/17 film         ★★
D-1442.   ZAK_NY 5435-38      OHSU Liver protocol CT of the     ★★
                              abdomen, CT pelvis 7/27/17
D-1443.   CD OHSU Radiology   Accompanying 7/27/17 film         ★★
D-1444.   ZAK_NY 5439-40      OHSU US-Guided Aspiration         ★★
                              7/28/17
D-1445.   CD OHSU Radiology   Accompanying 7/28/17 film         ★★
D-1446.   ZAK_NY 5534-41      OHSU Dr. Mayo Note 7/26/17        ★★
D-1447.   ZAK_NY 5581-90      OHSU Dr. Lopez Note 7/25/17       ★★
D-1448.   ZAK_NY 5627-28      OHSU Brief Operative Note         ★★
                              7/24/17
D-1449.   ZAK_NY 5635-36      OHSU Surgical Pathology 7/24/17   ★★
                              Procedure
D-1450.   ZAK_NY 5835-41      OHSU Dr. Strasfeld Note 7/11/17 ★★
D-1451.   ZAK_NY 5876-83      OHSU ED Provider Notes 7/4/17   ★★
D-1452.   ZAK_NY 5902-05      OHSU Discharge Summary 7/7/17   ★★
D-1453.   ZAK_NY 5905-10      OHSU Dr. Wieck Note 7/4/17      ★★
D-1454.   ZAK_NY 5910-16      OHSU Dr. Thompson Note 7/5/17   ★★
D-1455.   ZAK_NY 5938         OHSU Dr. Addicott Note 7/4/17   ★★
D-1456.   ZAK_NY 5938-42      OHSU Dr. Vetto Note 7/4/17      ★★
D-1457.   ZAK_NY 5942-47      OHSU Dr. Addicott Note 7/4/17   ★★
D-1458.   ZAK_NY 5947-48      OHSU Post Procedure Note 7/4/17 ★★
D-1459.   ZAK_NY 5949-50      OHSU Dr. Vetto Note 7/5/17      ★★
D-1460.   ZAK_NY 5950-54      OHSU Dr. Walker Note 7/5/17     ★★
D-1461.   ZAK_NY 5954-59      OHSU Dr. Maki Note 7/5/17       ★★
D-1462.   ZAK_NY 5959-60      OHSU Dr. Maki Note 7/6/17       ★★
D-1463.   ZAK_NY 5960-64      OHSU Dr. Miller Note 7/6/17     ★★
D-1464.   ZAK_NY 5964-67      OHSU Dr. Walker Note 7/7/17     ★★
D-1465.   ZAK_NY 5967-68      OHSU Dr. Vetto Note 7/7/17      ★★
D-1466.   ZAK_NY 5968-71      OHSU Dr. Hum Note 7/7/17        ★★
D-1467.   ZAK_NY 6027-28      OHSU CT abdomen and pelvis      ★★
                              7/4/17
D-1468.   CD OHSU Radiology   Accompanying 7/4/17 film          ★★
D-1469.   ZAK_NY 6029-31      OHSU Visceral angiogram with      ★★
                              embolization 7/4/17
D-1470.   CD OHSU Radiology   Accompanying 7/4/17 film          ★★
D-1471.   ZAK_NY 6031-33      OHSU Drainage catheter exchange   ★★
                              7/6/17
D-1472.   ZAK_NY 6187-89      OHSU American Medical Response    ★★
                              7/4/17
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D-1473.   ZAK_NY 6194-95      OHSU Patient Informed Consent     ★★
                              7/4/17
D-1474.   ZAK_NY 6210-12      OHSU Liver Conference Report      ★★
                              6/27/17
D-1475.   ZAK_NY 6221-22      OHSU MDTB Recommendations         ★★
                              6/27/17
D-1476.   ZAK_NY 6227-33      OHSU PA Milanese Note 6/27/17     ★★
D-1477.   ZAK_NY 6258-59      OHSU Liver protocol CT of the     ★★
                              abdomen, CT pelvis 6/26/17
D-1478.   CD OHSU Radiology   Accompanying 6/26/17 film         ★★
D-1479.   ZAK_NY 6297         OHSU RN Maccini Note 6/22/17      ★★
D-1480.   ZAK_NY 6318-21      OHSU Microsatellite Instability   ★★
                              Analysis 6/27/17
D-1481.   ZAK_NY 6332-33      OHSU Chemotherapy Nurse Note      ★★
                              6/21/17
D-1482.   ZAK_NY 6349-57      OHSU Dr. Lopez Note 6/21/17       ★★
D-1483.   ZAK_NY 6391-98      OHSU Amended Solid Tumor Panel    ★★
                              Report 6/19/17
D-1484.   ZAK_NY 6398-6401    OHSU Solid Tumor Panel Report     ★★
                              6/29/17
D-1485.   ZAK_NY 6408-11      OHSU Dr. Strasfeld Note 6/15/17   ★★
D-1486.   ZAK_NY 6484-92      OHSU Dr. Strasfeld Note 6/14/17   ★★
D-1487.   ZAK_NY 6524-25      OHSU Dr. Strasfeld Note 6/13/17   ★★
D-1488.   ZAK_NY 6527-29      OHSU Abdomen MRI/MRCP             ★★
                              6/12/17
D-1489.   CD OHSU Radiology   Accompanying 6/12/17 film         ★★
D-1490.   ZAK_NY 6540-41      OHSU CT Chest 6/12/17             ★★
D-1491.   ZAK_NY 6589-90      OHSU Dr. Strasfeld Note 6/8/17    ★★
D-1492.   ZAK_NY 6594-95      OHSU Dr. Strasfeld Note 6/8/17    ★★
D-1493.   ZAK_NY 6635-37      OHSU Dr. Strasfeld Note 6/7/17    ★★
D-1494.   ZAK_NY 6644-45      OHSU Chemotherapy Nurse Note      ★★
                              6/7/17
D-1495.   ZAK_NY 6655-61      OHSU Dr. Mayo Note 6/7/17         ★★
D-1496.   ZAK_NY 6704-13      OHSU Dr. Strasfeld Note 6/6/17    ★★
D-1497.   ZAK_NY 6741-42      OHSU Abscessogram 6/6/17          ★★
D-1498.   ZAK_NY 6919-20      OHSU Messages re Hepatic drain    ★★
                              5/16/17
D-1499.   ZAK_NY 6924-26      OHSU Dr. Mayo Note 5/16/17        ★★
D-1500.   ZAK_NY 6945-53      OHSU Dr. Mayo Note 5/10/17        ★★
D-1501.   ZAK_NY 10129-34     OHSU Dr. Jedrzejewski Note        ★★
                              2/16/18
D-1502.   ZAK_NY 10134-39     OHSU Discharge Summary            ★★
                              2/23/18

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D-1503.   ZAK_NY 10139-51      OHSU Dr. Salberg Note 2/17/18     ★★
D-1504.   ZAK_NY 10158-62      OHSU Dr. Fontana Note 2/21/18     ★★
D-1505.   ZAK_NY 10162-64      OHSU Dr. Maier Note 2/22/18       ★★
D-1506.   ZAK_NY 10178-83      OHSU Dr. Shabrang Note 2/16/18    ★★
D-1507.   ZAK_NY 10187-88      OHSU Dr. Shabrang Note 2/17/18    ★★
D-1508.   ZAK_NY 10192-94      OHSU Dr. Shabrang Note 2/18/18    ★★
D-1509.   ZAK_NY 10287-88      OHSU US Abdomen 2/22/18           ★★
D-1510.   CD OHSU Radiology    Accompanying 2/22/18 film         ★★
D-1511.   ZAK_NY 10452-60      OHSU ED Provider Nnotes 5/16/17   ★★
D-1512.   ZAK_NY 10472-77      OHSU Dr. Mayo Note 5/16/17        ★★
D-1513.   ZAK_NY 10478-82      OHSU Dr. Mayo Note 6/5/17         ★★
D-1514.   ZAK_NY 10488-96      OHSU Dr. Nyendak Note 5/18/17     ★★
D-1515.   ZAK_NY 10496-10501   OHSU Dr. Stucky Note 5/19/17      ★★
D-1516.   ZAK_NY 10510-16      OHSU Dr. Stucky Note 5/22/17      ★★
D-1517.   ZAK_NY 10516-21      OHSU Dr. Stucky Note 5/23/17      ★★
D-1518.   ZAK_NY 10542-48      OHSU Dr. Stucky Note 5/29/17      ★★
D-1519.   ZAK_NY 10548-55      OHSU Dr. Salberg Note 5/30/17     ★★
D-1520.   ZAK_NY 10556-63      OHSU Dr. Salberg Note 5/31/17     ★★
D-1521.   ZAK_NY 10564-70      OHSU Dr. Salberg Note 6/1/17      ★★
D-1522.   ZAK_NY 10636-37      OHSU CSWA Wauters Note            ★★
                               5/31/17
D-1523.   ZAK_NY 10642-44      OHSU Dr. Mayo Note 5/23/17        ★★
D-1524.   ZAK_NY 10644-45      OHSU PICC Line Insertion          ★★
                               Procedure Note 6/1/17
D-1525.   ZAK_NY 10646-49      OHSU Dr. Mayo Note 5/17/17        ★★
D-1526.   ZAK_NY 10674-79      OHSU Dr. Mayo Note 5/22/17        ★★
D-1527.   ZAK_NY 10679-83      OHSU Dr. Mayo Note 5/23/17        ★★
D-1528.   ZAK_NY 10688-92      OHSU Dr. Mayo Note 5/25/17        ★★
D-1529.   ZAK_NY 10692-96      OHSU Dr. Mayo Note 5/26/17        ★★
D-1530.   ZAK_NY 10696-10700   OHSU Dr. Pothier Note 5/27/17     ★★
D-1531.   ZAK_NY 10700-04      OHSU Dr. Pothier Note 5/28/17     ★★
D-1532.   ZAK_NY 10704-08      OHSU Dr. Pothier Note 5/29/17     ★★
D-1533.   ZAK_NY 10708-13      OHSU Dr. Mayo Note 5/31/17        ★★
D-1534.   ZAK_NY 10713-17      OHSU Dr. Harrison Note 5/30/17    ★★
D-1535.   ZAK_NY 10719-23      OHSU Dr. Mayo Note 5/31/17        ★★
D-1536.   ZAK_NY 10724-28      OHSU Dr. Mayo Note 6/1/17         ★★
D-1537.   ZAK_NY 10729-33      OHSU Dr. Mayo Note 6/2/17         ★★
D-1538.   ZAK_NY 11119-20      OHSU CT abdomen and pelvis        ★★
                               5/17/17
D-1539.   CD OHSU Radiology    Accompanying 5/17/17 film         ★★
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D-1540.   ZAK_NY 11122-23     OHSU Abscess drain exchange     ★★
                              5/17/17
D-1541.   CD OHSU Radiology   Accompanying 5/17/17 film       ★★
D-1542.   ZAK_NY 11125        OHSU 5/18/17 Abdomen MRI        ★★
D-1543.   CD OHSU Radiology   Accompanying 5/18/17 film       ★★
D-1544.   ZAK_NY 11127-28     OHSU Liver protocol CT of       ★★
                              abdomen. CT of pelvis 5/21/17
D-1545.   CD OHSU Radiology   Accompanying 5/21/17 film       ★★
D-1546.   ZAK_NY 11130-31     OHSU US Liver 5/27/17           ★★
D-1547.   CD OHSU Radiology   Accompanying 5/27/17 film       ★★
D-1548.   ZAK_NY 11133-34     OHSU CT abdomen and pelvis      ★★
                              5/28/17
D-1549.   CD OHSU Radiology   Accompanying 5/28/17 film       ★★
D-1550.   ZAK_NY 11135-36     OHSU US abdomen 5/30/17         ★★
D-1551.   CD OHSU Radiology   Accompanying 5/30/17 film       ★★
D-1552.   ZAK_NY 11136-37     OHSU Percutaneous drainage of   ★★
                              intrahepatic biloma 5/31/17
D-1553.   CD OHSU Radiology   Accompanying 5/31/17 film       ★★
D-1554.   ZAK_NY 15714        CC Call Note 12/13/17           ★★
D-1555.   ZAK_NY 15715-19     CC Dr. Menon Note 12/18/17      ★★
D-1556.   ZAK_NY 15724        CC Call Note 12/18/17           ★★
D-1557.   ZAK_NY 15728-31     CC Pre-Transplant               ★★
                              Pharmacotherapy Evaluation
                              12/18/17
D-1558.   ZAK_NY 15732-38     CC History & Physical Exam      ★★
                              12/19/17
D-1559.   ZAK_NY 15742-49     CC Psychosocial Evaluation      ★★
                              12/19/17
D-1560.   ZAK_NY 15750-51     CC Dr. Aucejo Note 12/19/17     ★★
D-1561.   ZAK_NY 15758-61     CC PET/CT 12/20/17              ★★
D-1562.   CD CC Radiology     Accompanying 12/20/17 film      ★★
D-1563.   ZAK_NY 15771-79     CC ID Liver PreTransplant       ★★
                              Evaluation 12/20/17
D-1564.   ZAK_NY 15789-92     CC Initial Consult Anesthesia   ★★
                              12/20/17
D-1565.   ZAK_NY 15803-04     CC Pre-op Teaching 12/20/17     ★★
D-1566.   ZAK_NY 15806-09     CC Medical Oncology Consult     ★★
                              12/21/17
D-1567.   ZAK_NY 15811        CC RN Glending Note 12/21/17    ★★
D-1568.   ZAK_NY 15813        CC D. Metz Note 1/9/18          ★★
D-1569.   ZAK_NY 15815        CC RN Glending Note 12/22/17    ★★
D-1570.   ZAK_NY 15819        CC RN Luciano Note 1/12/18      ★★

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D-1571.   ZAK_NY 15821         CC V. Best Note 1/18/18               ★★
D-1572.   ZAK_NY 15824-26      CC CT Chest 1/25/18                   ★★
D-1573.   ZAK_NY 15831-33      CC MRI Liver 1/25/18                  ★★
D-1574.   CD CC Radiology      Accompanying 1/25/18 film             ★★
D-1575.   ZAK_NY 15835         CC Call Note 2/2/18                   ★★
D-1576.   ZAK_NY 15837-38      CC J. Conkey Note 2/6/18              ★★
D-1577.   ZAK_NY 15878-79      CC Interpretation of 3/24/16 &        ★★
                               4/10/17 Pathology
D-1578.   ZAK_NY 15893-94      CC Informed Consent                   ★★
                               Immunotherapy
D-1579.   ZAK_NY 15944-47      CC Procedural Sedation Record         ★★
                               9/28/18
D-1580.   ZAK_NY 16095-16115   CC Anesthesia Record 8/22/19          ★★
D-1581.   ZAK_NY 16116-17      CC Informed Consent Transplant        ★★
D-1582.   ZAK_NY 16123         CC Call Note 6/14/18                  ★★
D-1583.   ZAK_NY 16125-26      CC Call Note 5/11/18                  ★★
D-1584.   ZAK_NY 16127         CC H. Block Note 5/14/18              ★★
D-1585.   ZAK_NY 16129         CC Call Note 5/14/15                  ★★
D-1586.   ZAK_NY 16131         CC Call Note 5/15/18                  ★★
D-1587.   ZAK_NY 16133         CC Call Note 5/16/18                  ★★
D-1588.   ZAK_NY 16139         CC Call Note 5/18/18 11:26 AM         ★★
D-1589.   ZAK_NY 16141         CC Call Note 5/18/18 12:20 PM         ★★
D-1590.   ZAK_NY 16143         CC Call Note 5/30/18 2:27 PM          ★★
D-1591.   ZAK_NY 16145         CC Call Note 5/30/18 2:30 PM          ★★
D-1592.   ZAK_NY 16160-62      CC Dr. Pelley Note 6/8/18             ★★
D-1593.   ZAK_NY 16203-05      CC LCSW Clay Note 6/7/18 -            ★★
                               redacting "is said to have seen her
                               story on CNN "my insurance was
                               denying my transplant" and
D-1594.   ZAK_NY 16213         CC Dr. Aucejo Note 6/11/18            ★★
D-1595.   ZAK_NY 16217-18      CC MELD Clinic Note 6/11/18           ★★
D-1596.   ZAK_NY 16223-26      CC Dr. Menon Note 6/12/18             ★★
D-1597.   ZAK_NY 16235         CC RN Short Note 6/12/18              ★★
D-1598.   ZAK_NY 16237         CC Cholangiogram 6/12/18              ★★
D-1599.   ZAK_NY 16266         CC Call Note 6/12/18                  ★★
D-1600.   ZAK_NY 16268         CC Call Note 6/15/18                  ★★
D-1601.   ZAK_NY 16270         CC Call Notes 6/21/18 & 7/3/18        ★★
D-1602.   ZAK_NY 16272         CC Call Note 6/21/18                  ★★
D-1603.   ZAK_NY 16282-85      CC PET/MR 6/27/18                     ★★
D-1604.   CD CC Radiology      Accompanying 6/27/18 film             ★★
D-1605.   ZAK_NY 16301-08      CC Dr. Mawhorter Note 6/28/18         ★★
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D-1606.   ZAK_NY 16316        CC Call Note 6/28/18              ★★
D-1607.   ZAK_NY 16338        CC Call Note 7/3/18               ★★
D-1608.   ZAK_NY 16344        CC Call Note 7/9/18               ★★
D-1609.   ZAK_NY 16351        CC Call Note 7/13/18              ★★
D-1610.   ZAK_NY 16371-73     CC Dr. Pelley Note 7/19/18        ★★
D-1611.   ZAK_NY 16418        CC Call Note 7/25/18              ★★
D-1612.   ZAK_NY 16424        CC Call Note 7/27/18              ★★
D-1613.   ZAK_NY 16475        CC Dr. Martin Note 8/1/18         ★★
D-1614.   ZAK_NY 16521-22     CC US Abdomen RUQ 8/1/18          ★★
D-1615.   CD CC Radiology     Accompanying 8/1/18 film          ★★
D-1616.   ZAK_NY 16652-53     CC Message 7/31/18                ★★
D-1617.   ZAK_NY 16654        CC Call Note 7/31/18              ★★
D-1618.   ZAK_NY 16693-97     CC Dr. Mawhorter Note 8/15/18     ★★
D-1619.   ZAK_NY 16702-05     CC Dr. Menon Note 8/17/18         ★★
D-1620.   ZAK_NY 16709        CC Call Note 8/17/18              ★★
D-1621.   ZAK_NY 16715        CC Call Note 8/21/18              ★★
D-1622.   ZAK_NY 16717-18     CC Call Notes 8/21/18 - 8/22/18   ★★
D-1623.   ZAK_NY 16722        CC Call Note 8/24/18              ★★
D-1624.   ZAK_NY 16746-47     Call Notes 8/28/18                ★★
D-1625.   ZAK_NY 16749        CC Call Note 8/29/18 9:07 AM      ★★
D-1626.   ZAK_NY 16751        CC Call Note 8/29/18 9:13 AM      ★★
D-1627.   ZAK_NY 16753-55     CC Dr. Pelley Note 8/31/18        ★★
D-1628.   ZAK_NY 16774        CC Call Note 9/10/18              ★★
D-1629.   ZAK_NY 16781        CC Call Note 9/17/18              ★★
D-1630.   ZAK_NY 16783-86     CC Dr. Menon Note 9/18/18         ★★
D-1631.   ZAK _NY 16799-800   CC RN Englert Note 9/21/18        ★★
D-1632.   ZAK_NY 16842-47     CC PET/CT 9/25/18                 ★★
D-1633.   CD CC Radiology     Accompanying 9/25/18 film         ★★
D-1634.   ZAK_NY 16850        CC Call Note 9/26/18 10:23 AM     ★★
D-1635.   ZAK_NY 16852        CC Call Note 9/26/18 10:30 AM     ★★
D-1636.   ZAK_NY 16858        CC Call Notes 9/26/18 - 9/27/18   ★★
D-1637.   ZAK_NY 16926        CC Dr. Martin Note 9/27/18        ★★
D-1638.   ZAK_NY 16926-27     CC Dr. Mehta Note 9/28/18         ★★
D-1639.   ZAK_NY 17162        CC Call Notes 9/28/18 1:40 PM,    ★★
                              2:48 PM
D-1640.   ZAK_NY 17164        CC Call Note 9/28/18 2:27 PM      ★★
D-1641.   ZAK_NY 17170-71     CC CT Chest 10/4/18               ★★
D-1642.   ZAK_NY 17180        CC Call Note 10/5/18              ★★
D-1643.   ZAK_NY 17218        CC Call Note 10/16/18             ★★

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D-1644.   ZAK_NY 17222      CC NP Nelson Note 10/17/18         ★★
D-1645.   ZAK_NY 17235      CC Dr. Martin Note 10/19/18        ★★
D-1646.   ZAK_NY 17276      CC Brief Procedure Note 10/25/18   ★★
D-1647.   ZAK_NY 17291-92   CC MRI Chest Wall/Rib 10/26/18     ★★
D-1648.   ZAK_NY 17386      CC Call Notes 10/25/18 9:31 AM,    ★★
                            12:23 PM
D-1649.   ZAK_NY 17388      CC Call Note 10/25/18 9:57 AM      ★★
D-1650.   ZAK_NY 17393      CC Call Note 10/25/18 12:37 PM     ★★
D-1651.   ZAK_NY 17395      CC Call Note 10/26/18              ★★
D-1652.   ZAK_NY 17397      CC Call Note 10/29/18 11:32 AM     ★★
D-1653.   ZAK_NY 17399      CC Call Note 10/29/18 9:22 PM      ★★
D-1654.   ZAK_NY 17407      CC Call Note 10/31/18 3:24 PM      ★★
D-1655.   ZAK_NY 17411-13   CC Dr. Pelley Note 11/2/18         ★★
D-1656.   ZAK_NY 17450-51   CC Dr. Incledon Note 11/6/18       ★★
D-1657.   ZAK_NY 17453-56   CC Dr. Menon Note 11/6/18          ★★
D-1658.   ZAK_NY 17460      CC Call Note 11/7/18 10:19 AM      ★★
D-1659.   ZAK_NY 17468      CC Dr. Aucejo Note 11/8/18         ★★
D-1660.   ZAK_NY 17473      CC Call Note 11/8/18               ★★
D-1661.   ZAK_NY 17477      CC Call Note 11/14/18              ★★
D-1662.   ZAK_NY 17479      CC Call Note 11/19/18              ★★
D-1663.   ZAK_NY 17481-87   CC Dr. Murthy Note 11/21/18        ★★
D-1664.   ZAK_NY 17497      CC Call Note 11/21/18              ★★
D-1665.   ZAK_NY 17501-02   CC PA Taweel Note 11/23/18         ★★
D-1666.   ZAK_NY 17529      CC Call Note 11/23/18              ★★
D-1667.   ZAK_NY 17541      CC Call Note 11/30/18              ★★
D-1668.   ZAK_NY 17548-51   CC PET/CT 12/3/18                  ★★
D-1669.   ZAK_NY 17558-61   CC CT abdomen and pelvis           ★★
                            12/5/18
D-1670.   CD CC Radiology   Accompanying 12/5/18 film          ★★
D-1671.   ZAK_NY 17564      CC Call Note 12/6/18               ★★
D-1672.   ZAK_NY 17566      CC Call Note 12/7/18               ★★
D-1673.   ZAK_NY 17643-45   CC CT Abdomen and Pelvis           ★★
                            12/24/18
D-1674.   CD CC Radiology   Accompanying 12/14/18 film         ★★
D-1675.   ZAK_NY 17763      CC Call Note 1/3/19                ★★
D-1676.   ZAK_NY 17768-70   CC Dr. Pelley Note 1/4/19          ★★
D-1677.   ZAK_NY 17827-31   CC Dr. Menon Note 1/16/19          ★★
D-1678.   ZAK_NY 17837      CC RN English Note 1/16/19         ★★
D-1679.   ZAK_NY 17841      CC NP Sullinger Note 1/17/19       ★★
D-1680.   ZAK_NY 17855      CC Brief Procedure Note 1/18/19    ★★
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D-1681.   ZAK_NY 17892      CC Call Note 1/24/19            ★★
D-1682.   ZAK_NY 17897      CC NP Cotrell Note 1/25/19      ★★
D-1683.   ZAK_NY 17921-23   CC Dr. Estfan Note 1/25/19      ★★
D-1684.   ZAK_NY 17968-70   CC PA Pinkava Note 2/15/19      ★★
D-1685.   ZAK_NY 17994      CC Call Note 2/20/19            ★★
D-1686.   ZAK_NY 17995      CC Call Note 2/23/19 & 3/7/19   ★★
D-1687.   ZAK_NY 18008      CC Call Note 2/28/19            ★★
D-1688.   ZAK_NY 18012-16   CC Dr. Menon Note 3/1/19        ★★
D-1689.   ZAK_NY 18031-33   CC Dr. Estfan Note 3/8/19       ★★
D-1690.   ZAK_NY 18070      CC Call Note 3/14/19            ★★
D-1691.   ZAK_NY 18086-92   CC NP Oliver Note 3/26/19       ★★
D-1692.   ZAK_NY 18109-12   CC PA Pinkava Note 4/4/19       ★★
D-1693.   ZAK_NY 18137-38   CC NP Sullinger Note 4/3/19     ★★
D-1694.   ZAK_NY 18158      CC Brief Procedure Note 4/4/19  ★★
D-1695.   ZAK_NY 18192      CC Call Note 4/5/19             ★★
D-1696.   ZAK_NY 18217-22   CC Dr. Menon Note 4/30/19       ★★
D-1697.   ZAK_NY 18232      CC Dr. Martin Note 4/17/19      ★★
D-1698.   ZAK_NY 18274      CC Call Note 4/22/19            ★★
D-1699.   ZAK_NY 18278      CC Brief Procedure Note 4/23/19 ★★
D-1700.   ZAK_NY 18329-31   CC NP O'Brien Note 4/26/19      ★★
D-1701.   ZAK_NY 18366      CC Message 5/8/19               ★★
D-1702.   ZAK_NY 18376-80   CC PET/CT 5/16/19               ★★
D-1703.   CD CC Radiology   Accompanying 5/16/19 film       ★★
D-1704.   ZAK_NY 18383      CC Call Note 5/16/19 5:18 PM    ★★
D-1705.   ZAK_NY 18386      CC Call Note 5/16/19 8:28 AM    ★★
D-1706.   ZAK_NY 18397-99   CC PA Pinkava Note 5/19/19      ★★
D-1707.   ZAK_NY 18434-36   CC CT Liver/Pelvis 5/20/19      ★★
D-1708.   CD CC Radiology   Accompanying 5/20/19 film       ★★
D-1709.   ZAK_NY 18441      CC Call Note 5/21/19            ★★
D-1710.   ZAK_NY 18446      CC LISW Humberson Note 5/28/19 ★★
D-1711.   ZAK_NY 18448      CC Call Note 5/22/19            ★★
D-1712.   ZAK_NY 18450      CC Call Note 5/23/19            ★★
D-1713.   ZAK_NY 18459      CC Brief Procedure Note 5/24/19 ★★
D-1714.   ZAK_NY 18494      CC Call Notes 5/24/19 - 5/26/19 ★★
D-1715.   ZAK_NY 18499      CC Dr. Chauhan Note 5/28/19     ★★
D-1716.   ZAK_NY 18517      CC Call Note 5/30/19            ★★
D-1717.   ZAK_NY 18519-20   CC Call Notes 5/30/19 - 5/31/19 ★★
D-1718.   ZAK_NY 18535      CC Call Note 6/3/19             ★★
D-1719.   ZAK_NY 18537      CC Call Note 6/3/19             ★★
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D-1720.   ZAK_NY 18541-42   CC CT Neck 6/4/19                  ★★
D-1721.   ZAK_NY 18545      CC Call Note 6/4/19                ★★
D-1722.   ZAK_NY 18555-56   CC Fine Needle Aspiration 6/6/19   ★★
D-1723.   ZAK_NY 18572      CC Call Note 6/7/19                ★★
D-1724.   ZAK_NY 18577      CC Call Note 6/8/19                ★★
D-1725.   ZAK_NY 18579      CC Call Note 6/10/19               ★★
D-1726.   ZAK_NY 18538-85   CC Dr. Harris Note 6/10/19         ★★
D-1727.   ZAK_NY 18597      CC Call Note 6/20/19               ★★
D-1728.   ZAK_NY 18612      CC Call Note 6/24/19               ★★
D-1729.   ZAK_NY 18614      CC Call Note 6/26/19               ★★
D-1730.   ZAK_NY 18616-21   CC Dr. Menon Note 7/10/19          ★★
D-1731.   ZAK_NY 18631-33   CC Dr. Estfan Note 7/8/19          ★★
D-1732.   ZAK_NY 18641      CC Call Note 7/1/19                ★★
D-1733.   ZAK_NY 18644      CC Call Note 7/5/19                ★★
D-1734.   ZAK_NY 18658      CC Call Note 7/11/19               ★★
D-1735.   ZAK_NY 18660      CC Call Note 7/12/19               ★★
D-1736.   ZAK_NY 18662      CC Call Note 7/16/19               ★★
D-1737.   ZAK_NY 18685      CC Call Note 7/23/19               ★★
D-1738.   ZAK_NY 18687-97   CC Dr. Menon Note 7/25/19          ★★
D-1739.   ZAK_NY 18710      CC Call Note 7/25/19               ★★
D-1740.   ZAK_NY 18716      CC Call Note 7/29/19               ★★
D-1741.   ZAK_NY 18753-64   CC Dr. Lindenmeyer Note 7/30/19    ★★
D-1742.   ZAK_NY 19074      CC Call Note 8/2/19                ★★
D-1743.   ZAK_NY 19079      CC Call Note 8/5/19                ★★
D-1744.   ZAK_NY 19081-82   CC Order 8/6/19                    ★★
D-1745.   ZAK_NY 19087-88   CC Call Note 8/7/19                ★★
D-1746.   ZAK_NY 19094      CC Call Note 8/19/19               ★★
D-1747.   ZAK_NY 19096      CC Call Note 8/20/19 9:54 AM       ★★
D-1748.   ZAK_NY 19098      CC Call Note 8/20/19 12:11 PM      ★★
D-1749.   ZAK_NY 19100      CC Call Note 8/20/19 5:57 PM       ★★
D-1750.   ZAK_NY 19102-07   CC Dr. Menon Note 8/22/19          ★★
D-1751.   ZAK_NY 19115-16   CC Chest X-Ray 8/22/19             ★★
D-1752.   ZAK_NY 19122      CC Expiration Summary 8/23/19      ★★
D-1753.   ZAK_NY 19124-29   CC History & Physical 8/22/19      ★★
D-1754.   ZAK_NY 19132      CC RN Buck Note 8/22/19            ★★
D-1755.   ZAK_NY 19136-39   CC Dr. Hashimoto Operative         ★★
                            Report 8/22/19
D-1756.   ZAK_NY 19139-42   CC Dr. Aucejo Operative Report     ★★
                            8/22/19

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 D-1757.   ZAK_NY 19143            CC Post Anesthesia Evaluation      ★★
                                   Note 8/23/19
 D-1758.   ZAK_NY 19144-45         CC Brief Op Note 8/23/19           ★★
 D-1759.   ZAK_NY 19145-68         CC Surgery Summary 8/22/19         ★★
 D-1760.   ZAK_NY 19277            CC Call Note 8/22/19               ★★
 D-1761.   ZAK_NY 19281            CC Call Note 8/22/19               ★★
 D-1762.   ZAK_NY 19319-22         CC Surgical Pathology 8/22/19      ★★
                                   Procedure
 D-1763.   ZAK_NY 19326-29         CC Allogen Laboratories Report     ★★
                                   9/3/19
 D-1764.   ZAK_NY 19360-61         CC CT Volume Measurements          ★★
                                   5/10/19
 D-1765.   CD CC Radiology         Accompanying 5/10/19 films         ★★
 D-1766.   CV of Dr. Goldberg      reserving right depending on if    ★★
                                   Court allows CV of plaintiff's
                                   experts
 D-1767.   Rule 1006 summary                                          The parties have agreed
           of cancer treatment,                                       to exchange evidentiary
           hospitalizations,                                          summaries on March 7,
           surgeries, procedures                                      2023. Plaintiff reserves
           with supporting                                            his objections.
           documents
           referencing the
           medical record
 D-1768.   Rule 1006 summary                                          The parties have agreed
           of lab values with                                         to exchange evidentiary
           supporting                                                 summaries on March 7,
           documents                                                  2023. Plaintiff reserves
           referencing the                                            his objections.
           medical record


Defendants' Proposed List of Demonstratives
 Ex. No.   Title                                                Objections
                                                                FRE 801/802 report is
                                                                inadmissible hearsay. Further,
                                                                Dr. Israel was precluded by
                                                                Order of this Court. (Doc.
                                                                409). The parties have agreed
                                                                to exchange demonstratives
                                                                on March 7, 2023. Plaintiff
 DD-1      Dr. Israel's Expert Report                           reserves further objections.
           Dr. Sadler's Hepatic Arterial Image #1 7/30/14       The parties have agreed to
 DD-2      study                                                exchange demonstratives on

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                                                            March 7, 2023. Plaintiff
                                                            reserves his objections.
                                                            The parties have agreed to
                                                            exchange demonstratives on
        Dr. Sadler's Hepatic Arterial Image #2 7/30/14      March 7, 2023. Plaintiff
DD-3    study                                               reserves his objections.
                                                            The parties have agreed to
                                                            exchange demonstratives on
        Dr. Sadler's Hepatic Arterial Image #3 1/24/17      March 7, 2023. Plaintiff
DD-4    study                                               reserves his objections.
                                                            The parties have agreed to
        Anatomic diagrams of liver and treatment of the     exchange demonstratives on
        liver, including HAI pump, surgeries, ablations,    March 7, 2023. Plaintiff
DD-5    embolization, and transplant                        reserves his objections.
                                                            The parties have agreed to
                                                            exchange demonstratives on
                                                            March 7, 2023. Plaintiff
DD-6    Video animation of liver anatomy and lesions        reserves his objections.
                                                            The parties have agreed to
                                                            exchange demonstratives on
                                                            March 7, 2023. Plaintiff
DD-7    Illustration of sink effect                         reserves his objections.
                                                            The parties have agreed to
                                                            exchange demonstratives on
                                                            March 7, 2023. Plaintiff
DD-8    NeuWave illustration of Multi-Probe Synchrony       reserves his objections.
                                                            The parties have agreed to
        Radiographic images with measurements of            exchange demonstratives on
        distances from lesion to vessels and structures     March 7, 2023. Plaintiff
DD-9    within the liver                                    reserves his objections.
                                                            The parties have agreed to
                                                            exchange demonstratives on
        Radiographic images with measurements of post-      March 7, 2023. Plaintiff
DD-10   ablation zone                                       reserves his objections.
                                                            The parties have agreed to
        Radiographic images with references to liver        exchange demonstratives on
        interventions/treatments during course of Ms.       March 7, 2023. Plaintiff
DD-11   Zak's medical care                                  reserves his objections.
                                                            The parties have agreed to
                                                            exchange demonstratives on
                                                            March 7, 2023. Plaintiff
DD-12   Charts and graphs of various lab values             reserves his objections.
                                                            The parties have agreed to
                                                            exchange demonstratives on
        Timelines of relevant events in Ms. Zak's medical   March 7, 2023. Plaintiff
DD-13   care and treatment                                  reserves his objections.
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 (k) Admissions, interrogatory answers or other written discovery responses the parties
intend to offer into evidence, together with any objections to these materials;


Plaintiff:
 Request                             No.        Defendants’ objection
 Defendants’ Response to
 Plaintiff’s First Set of
 Interrogatories:

                                     1          Irrelevant, misleading, waste of time and
                                                prejudicial.

                                     2          Irrelevant, misleading, waste of time and
                                                prejudicial.
                                                Defendants’ interrogatory was palpably improper
                                                and outside the scope of SDNY Local Rule 33.3.

                                     11         Irrelevant, misleading, waste of time and
                                                prejudicial.
                                                Defendants’ interrogatory was palpably improper
                                                and outside the scope of SDNY Local Rule 33.3.
                                                Also sought information protected from
                                                disclosure by New York’s medical peer
                                                review/quality assurance review privilege.

                                     15         Irrelevant, misleading, waste of time and
                                                prejudicial given subsequent amendment.

 Defendants’ Amended
 Response to Plaintiff’s First Set
 of Interrogatories:
                                     15         Irrelevant, misleading, waste of time and
                                                prejudicial given subsequent amendment.

 Defendants’ Second
 Supplemental Response to
 Plaintiff’s First Set of
 Interrogatories:
                                     15         Cumulative and waste of time as information
                                                contained in witness testimony
                                                Improper use of impeachment evidence


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 Defendants’ Response to
 Plaintiff’s Admissions:
                                      37         Irrelevant, misleading, waste of time and
                                                 prejudicial
                                      38         Irrelevant, misleading, waste of time and
                                                 prejudicial
                                      39         Cumulative and waste of time as information
                                                 contained in witness testimony
                                      40         Waste of time as information contained in witness
                                                 testimony
                                                 Misleading and prejudicial
                                      41         Waste of time as information contained in witness
                                                 testimony
                                                 Misleading and prejudicial
                                      42         Waste of time as information contained in witness
                                                 testimony
                                                 Misleading and prejudicial
                                      43         Waste of time as information contained in witness
                                                 testimony
                                                 Misleading and prejudicial
                                      44         Waste of time as information contained in witness
                                                 testimony
                                                 Misleading and prejudicial
                                      45         Waste of time as information contained in witness
                                                 testimony and stipulated to
                                      54         Waste of time as information contained in witness
                                                 testimony
                                                 Misleading and prejudicial
                                      55         Waste of time as information contained in witness
                                                 testimony
                                                 Misleading and prejudicial


(l) List of in limine motions

The Court ruled on the parties motions in limine. See Doc. 407 (Plaintiff’s motions) and Doc. 409
(Defendants’ motions).

Plaintiff’s Motions in Limine:
    1.    Motion in Limine Number 1, exclude any mention of collateral sources of payment;
    2.    Motion in Limine Number 2, exclude the expert testimony of Dr. Skye Mayo;
    3.    Motion in Limine Number 3, exclude the testimony of Mr. Schefelker;
    4.    Motion in Limine Number 4, exclude any mention of Scott Powers’s dating relationship
          after the death of his wife;


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   5. Motion in Limine Number 5, exclude evidence or argument regarding: (1) Memorial Sloan
      Kettering Cancer Center (MSK)’s character or reputation in the community, (2) any
      potential adverse effect this suit may have on MSK, their doctors, or the community, and
      (3) Dr. Sofocleous’s character or reputation, and (4) any “apology” or expressions of
      sympathy by the Defendants;
   6. Motion in Limine Number 6, exclude evidence and/or argument pertaining to a prior
      ablation procedure; and
   7. Motion in Limine Number 7, admitting Erika Zak’s article posthumously published in the
      Washington Post.

Defendants’ Motions in limine:
No. 1 – to preclude NeuWave information and claims of spoliation (Docs. 289-290);
No. 2 – to preclude Plaintiff’s four “rebuttal” experts (Docs. 291-292);
No. 3 – to preclude Dr. DeMatteo’s testimony outside his expertise (Docs. 293-294);
No. 4 – to preclude Dr. DeMatteo’s non-disclosed expert testimony that is also without a factual
        basis (Docs. 295-296);
No. 5 – to preclude Plaintiff’s cumulative expert testimony (Docs. 297-298);
No. 6 – to preclude Plaintiff’s expert economist (Docs. 299-300);
No. 7 – to preclude claims against Dr. Kemeny (Docs. 301-302);
No. 8 – to preclude cured of cancer language (Docs. 303-304);
No. 9 – to preclude claim regarding multidisciplinary tumor board (Docs. 305-306);
No. 10 – to preclude alleged subsequent change in policies (Docs. 307-308);
No. 11 – to preclude UNOS hearsay record (Docs. 309-310);
No. 12 – to preclude ranking care on scale of 1-10 (Docs. 311-312);
No. 13 – to preclude cumulative and hearsay damages evidence (Docs. 313-314);
No. 14 – to preclude Memorial provided counsel to Dr. DeMatteo (Docs. 315-316);
No. 15 – to preclude irrelevant evidence (Docs. 317-318);
No. 16 – to preclude Dr. Goldberg’s deposition testimony (Doc. 319); and
No. 17 – to preclude certain treating physician testimony (Doc. 320-321).

(m) Stipulations of uncontested facts


   1. Erika Zak died on August 23, 2019.
   2. Scott Powers is the personal representative of the Estate of Erika Zak.
   3. Scott Powers is the legal and natural guardian of L.P.
   4. L.P. is the biological daughter of Erika Zak and Scott Powers.
   5. L.P. was born on January 8, 2014.
   6. Scott Powers and Erika Zak were married from October 31, 2009 until the day of her death,
      August 23, 2009.
   7. Scott Powers and L.P. are the surviving distributees of the Estate of Erika Zak.
   8. Dr. Constantinos Sofocleous is an employee of Memorial Sloan Kettering Cancer Center.
   9. See the parties arguments below regarding Local Rule 56.1 Statements



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Defendants’ argument
Defendants contend that there are numerous uncontested facts as set forth in the Local Rule 56.1
Statement (Doc. 235-1). A motion for summary judgment is the equivalent of a trial on paper, and
plaintiff did not contest numerous of facts as part of dispositive motion practice. Plaintiff objects
and advised Defendants to file a letter with the Court to address same, and Defendants will do so.
Plaintiff’s response
Plaintiff objects to this list being included here as “stipulations.” Defendants conflate the 56.1
statement response with stipulations. The purpose of the 56.1 statement is to have facts “deemed
to be admitted for purposes of the motion.” SDNY Local Rule 56.1(c) (emphasis added). Those
facts were admitted for the limited purpose of Defendants pending summary judgment motion.
They are not uncontested for the purposes of trial. A stipulation is, by its definition, an agreement
of the parties. Plaintiff has never agreed to stipulate to these facts. Plaintiff objects to Defendants
attempt to include these statements as “stipulations,” when no such stipulation has ever been
proposed, agreed to, or recorded.

(n) A statement of each element of damages and, except for intangible damages (e.g., pain
and suffering, mental anguish or loss of consortium), the dollar amount, including
prejudgment interest, punitive damages and attorneys’ fees;


 Element of Tangible Damages                    Amount                              Pre-judgment
                                                                                    interest
 Medical Expenses                               $1,471,577.03                       No.
 Loss of Earnings/ Impairment of Earning        $170,000                            No.
 Ability From Injury to Death
 Funeral Expenses                               $5,263.92                           Yes.
 Voluntary Assistance (Loss of the portion      $5,356,844.50                       Yes.
 of Erika’s earnings that she would have
 spent for the care and support of Scott and
 L.P.)
 Possible Inheritance by Decedents              $2,295,790.50                       Yes.
 (The amount Erika would have increased
 her estate from her earnings and thus
 added to the amount that would have been
 inherited from her.)
 Loss of Household Services (The services       $2,160,000.00                       Yes.
 Erika would have performed for her
 spouse and children in the care and
 management of the family home.)
 Services Superintending the Household          $175,000                            No.
 and Services Training the Child
 (Derivative action of Scott Powers.)


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(o) Other requested relief;

Plaintiff:
In addition to the tangible damages outlined above, Plaintiff requests damages for Erika’s pain and
suffering, including physical disfigurement, from the moment of physical injury to the moment of
death including Erika's reduced capacity to lead a normal life, loss of enjoyment of life, physical
pain, and emotional pain, (including shock and fright); Scott Power’s loss of consortium; and the
loss of nurture and guidance (the intellectual, moral and physical guidance and assistance Erika
would have given L.P. had Erika lived).

Defendants’ Objections:

Defendants object to Plaintiff improperly seeking pre-judgment interest on certain categories of
damages marked by “**” above. Pre-judgment interest only runs on pecuniary damages for
wrongful death. Defendants also object to Plaintiff seeking certain damages in the preceding
paragraph, including “shock and fright.”

(p) A statement whether the parties consent to less than a unanimous verdict.

The parties were unable to reach agreement to consent to less than a unanimous verdict.



Dated: February 28, 2023
                                                   Respectfully submitted,

                                                   HENDLER FLORES LAW, PLLC



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                                                  KAUFMAN BORGEEST & RYAN LLP

                                                     /s/ Betsy D. Baydala
                                                   _____________________________
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                                CERTIFICATE OF SERVICE

         I hereby certify that, on February 28, 2023, I electronically filed the foregoing document
with the Clerk of the Court using the CM/ECF system, which will send notice of electronic filing
to all counsel of record for Defendants.




                                                            Scott M. Hendler




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